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              a. Consolidated Tax Reporting

     The Internal Revenue Code allows affiliated corporations meeting certain requirements to
elect to file federal tax returns on a consolidated basis.1544 A principal policy objective of this
allowance is the mitigation of the distorting impact that the separate existence of affiliated
corporations has on their aggregate tax liability.1545 When the first consolidated tax return
statutes were enacted by Congress in 1918, the application of the statutes was mandatory to
applicable corporations, with the rationale being that “the principle of taxing as a business unit
what in reality is a business unit is sound and equitable . . . .”1546 Notwithstanding this
couching of the objective in terms of equity, Congress acknowledged that “its general and
permanent effect is to prevent evasion which cannot be successfully blocked in any other
way.”1547

      The consolidated return rules are designed to enable affiliated groups of corporations to
file substantively as if they were a single entity. This treatment, however, can provide
opportunities for related parties to engage in transactions that attempt to manipulate the
realization of gains and losses.1548 The current regulations generally handle this possibility by
requiring the deferral of gains and losses from intercompany transactions to prevent these
transactions from “creating, accelerating, avoiding, or deferring consolidated taxable income
(or consolidated tax liability).”1549 The intent is to produce tax results that would match the
results of comparable transactions between divisions of a single corporation.1550

      The filing of consolidated returns is now elective. Notwithstanding the government’s use
of the consolidated return rules to prevent certain forms of tax avoidance, taxpayers can obtain
valuable benefits by electing to file consolidated tax returns. The most important benefit is the
ability to use the losses of one member of the consolidated group against the income of
another member.1551 This offset ability can provide entities with the flexibility to join together




1544 See I.R.C. § 1501.

1545 See ANDREW J. DUBROFF ET AL., FEDERAL INCOME TAXATION OF CORPORATIONS FILING CONSOLIDATED

    RETURNS § 1.01, 1–2 (2d ed. 2012).
1546 S. REP. NO. 617, at 8–9 (1918); see also S. REP. NO. 960, at 13–15 (1928) (“The mere fact that by legal

    fiction several corporations owned by the same stockholders are separate entities should not obscure the fact
    that they are in reality one and the same business owned by the same individuals and operated as a unit.”).
1547 S. REP. NO. 617, at 8–9 (1918).

1548 See ANDREW J. DUBROFF ET AL., FEDERAL INCOME TAXATION OF CORPORATIONS FILING CONSOLIDATED

    RETURNS §§ 1.01, 31.01[1], 1–2, 31–4 to 31–5 (2d ed. 2012).
1549 Treas. Reg. § 1.1502–13(a)(1).

1550 See ANDREW J. DUBROFF ET AL., FEDERAL INCOME TAXATION OF CORPORATIONS FILING CONSOLIDATED

    RETURNS § 31.01[1], 31–7 (2d ed. 2012).
1551 See id. § 1.01, 1–2.



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risky businesses and mature businesses with the expectation that tax losses may be available
for current use while keeping each enterprise’s exposure to liability separate by insulating the
business activities under separate corporate entities.1552

      Only “affiliated groups” can elect to file consolidated tax returns.1553 An affiliated group
is a chain of “includible corporations” that has a common parent that owns at least 80% of the
stock of at least one other member in the chain and in which at least 80% of each member
other than the common parent is owned directly by one or more of the other members in the
chain.1554 An affiliated group that elects to file consolidated tax returns is called a
“consolidated group.”1555 The initial election to file consolidated tax returns requires all
includible corporations in the affiliated group to consent to the election on Internal Revenue
Service Form 1122.1556

      The consolidated return regulations require the consolidated group to be treated as a
single entity in some ways and as separate entities in other ways. The single entity approach
applies in numerous respects. First, all members of the consolidated group must use the same
taxable year.1557 Second, gains and losses of all members are aggregated in determining
consolidated taxable income or loss.1558 Third, realization of gains and losses on intercompany
transactions is deferred until the gain or loss can be matched with the offsetting item of the
other member party to the intercompany transaction or a member, or the asset in the
transaction, leaves the consolidated group.1559 The character and source of tax items are
determined on a separate group basis.1560 The separate entity approach also applies when
determining the amount and applicable accounting method of each member’s tax items
relating to intercompany transactions.1561




1552 See id. § 1.01, 1–3.

1553 I.R.C. § 1501.

1554 Id. § 1504(a)(1).

1555 Treas. Reg. § 1.1502–1(h).

1556 I.R.C.
         § 1501; Treas. Reg. § 1.1502–75(a)(1), (b)(1); ANDREW J. DUBROFF ET AL., FEDERAL INCOME
    TAXATION OF CORPORATIONS FILING CONSOLIDATED RETURNS § 13.02[1][a][i], at 13–4 (2d ed. 2012).
1557 Treas. Reg. § 1.1502–76(a).

1558 Id. § 1.1501–21.

1559 See id. § 1.1502–13.

1560 Id.
       § 1.1502–13(a)(2); see also ANDREW J. DUBROFF ET AL., FEDERAL INCOME TAXATION            OF
    CORPORATIONS FILING CONSOLIDATED RETURNS § 31.03[1][b], 31–26, 27 (2d ed. 2012).
1561 See Treas. Reg. § 1.1502–17; ANDREW J. DUBROFF ET AL., FEDERAL INCOME TAXATION OF CORPORATIONS

    FILING CONSOLIDATED RETURNS § 31.03[1][b], 31-26, 27 (2d ed. 2012).

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      To prepare the consolidated tax return, the separate taxable income is first computed for
each member of the consolidated group on a stand-alone basis with some modifications.1562
The amount of consolidated taxable income or consolidated NOL is then determined by
aggregating the separate taxable incomes and losses of all members, and then adding certain
tax items that are required to be computed on a consolidated basis.1563 Subject to certain
limitations, the consolidated group is allowed to use a carryover or carryback of its members’
separate NOLs from taxable years when they were not part of the consolidated group towards
its available consolidated NOL deduction.1564

      If a member leaves the consolidated group, the portion of the consolidated NOL that is
attributable to the member, determined for each year by the proportion of the member’s
separate NOL for such year on a stand-alone basis to the consolidated NOL for such year, can
be carried over for use by the departing member in a future year.1565

     Regulations require certain methods of allocation of the consolidated tax liability among
the members for tax accounting purposes. These rules are necessary to enable each member to
keep track of adjustments to basis1566 and adjustments to earnings and profits.1567 In contrast,
the consolidated return regulations do not impose any requirements on how the members of
the consolidated group allocate the financial responsibility for tax liabilities and rights to tax
refunds. These cash flow concerns are usually handled through tax allocation agreements.

             b. Tax Allocation Agreements

     Parents and subsidiaries in consolidated groups frequently enter into tax allocation
agreements to allocate the responsibilities for payments of tax liabilities and the right to
receive tax refunds.1568 The common parent of the consolidated group generally serves as a
common agent for all the members of the group in making the tax payments to the IRS and
receiving tax refunds.1569 These rules, however, do not limit how the members of the group
can divide the tax liabilities and refunds among themselves. A parent often will want to enter
into a tax allocation agreement with a subsidiary member of the group to obtain a right as a




1562 Treas. Reg. § 1.1502–12.

1563 Id. §§ 1.1502–11(a), 21(e).

1564 Id. § 1.1502–21(a).

1565 Id. § 1.1502–21(b).

1566 Id. § 1.1502–32(b).

1567 I.R.C. § 1552; Treas. Reg. §§ 1.1502–33(d).

1568 See ANDREW J. DUBROFF ET AL., FEDERAL INCOME TAXATION OF CORPORATIONS FILING CONSOLIDATED

    RETURNS § 41.01, 41–5 (2d ed. 2012).
1569 Treas. Reg. § 1.1502–77(a).



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creditor to reimbursement for the subsidiary’s share of tax liabilities because the subsidiary
may have liabilities held by third-party creditors that take priority over the parent’s equity
position.1570

     There are no statutory or regulatory limitations on the division of rights and
responsibilities for taxes among members of consolidated groups. The consolidated return
regulations mandate allocations of tax liability for purposes of determining adjustments to
earnings and profits and tax basis but are irrelevant in determining cash flow rights.1571

     The terms of tax allocation agreements vary widely. Often, a subsidiary will be required
to pay a parent for the amount of the subsidiary’s stand-alone positive tax liability. As for the
subsidiary’s right to receive a payment, a typical arrangement would have the parent pay to
the subsidiary an amount equal to the tax savings attributable to a tax benefit generated by the
subsidiary that the parent was able to use.1572 A variation on this theme could also take into
account whether the subsidiary would be able to use the tax benefit on a stand-alone basis; the
amount of the payment could be reduced if it appears unlikely that the subsidiary will be able
to use the tax benefit on a stand-alone basis in the future.1573 Similarly, the agreement could
provide that the parent’s payment to the subsidiary for a tax benefit currently used by the
parent would be postponed until a year when the subsidiary would have been able to use the
tax benefit on a stand-alone basis.1574 Another fairly common arrangement is to treat the
subsidiary as a stand-alone taxpayer for all purposes. Thus, if the subsidiary would be entitled
to a tax refund on a stand-alone basis, the parent would pay an amount equal to such tax
refund to the subsidiary even if the parent cannot use the subsidiary’s tax benefits in the
current year.

     Generally, business entities are classified as either corporations or pass-through entities
under federal income tax law.1575 A pass-through entity with a single owner is called a
disregarded entity because it is treated as a branch or division of its owner rather than as a
separate taxable entity from its owner.1576 Nevertheless, a disregarded entity is a separate legal
entity for non-tax purposes. A pass-through entity with multiple owners is treated as a
partnership for tax purposes.1577 Business entities that are not required to be classified as
corporations for federal income tax purposes, which include limited liability companies, can



1570 See ANDREW J. DUBROFF ET AL., FEDERAL INCOME TAXATION OF CORPORATIONS FILING CONSOLIDATED

    RETURNS § 71.02[4], 71–195 (2d ed. 2012).
1571 See id. § 71.02[4][a], 71–195.

1572 See id. § 41.01, 41–5 n.9.

1573 Id.

1574 Id.

1575 See Treas. Reg. § 301.7701–2(a).

1576 Id.

1577 Id.



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elect to be treated as either corporations or pass-through entities.1578 The default classification
for such business entities that are organized in the U.S. is to be treated as pass-through
entities.1579 Thus, a single-member limited liability company is treated as a disregarded entity
unless it elects to be taxed as a corporation. As noted above, the parent may want to be
reimbursed for taxes it pays on the disregarded entity’s income. Further, there may be
different lending groups at the parent and disregarded entity levels who want the parent and
disregarded entity to agree to a specific tax arrangement. There is no reason why a disregarded
entity for federal income tax purposes cannot enter into a tax allocation agreement with its
owner. In lieu of a tax allocation agreement, distributions by the disregarded entity to its
owner of its stand-alone tax liability are not unusual.

    2. ResCap Tax Sharing Arrangements

             a. Chronology Of ResCap’s Tax Classification And Tax Allocation Agreements

     ResCap was first incorporated as a Delaware corporation on August 20, 2004,1580 but it
did not begin conducting operations until subsidiaries were transferred to it in March 2005.1581
From March 2005 through November 30, 2006, ResCap was included in the GM consolidated
federal income tax return.1582 The Implemented 2005 Tax Allocation Agreement between AFI
and ResCap was in effect for this period.1583 Entry into the tax allocation agreement was
required under the 2005 Operating Agreement, dated June 24, 2005,1584 and the Implemented
2005 Tax Allocation Agreement was executed on that same date.1585 Despite ResCap having
no operations until March 2005, the Implemented 2005 Tax Allocation Agreement was made
effective as of January 1, 2005, because GM’s tax department believed splitting up the 2005


1578 Id. § 301.7701–3(a).

1579 Id. § 301.7701–3(b)(1).

1580 See Certificate of Conversion to Limited Liability Company of Residential Capital Corporation to Residential

    Capital, LLC, dated Oct. 24, 2006, at ALLY_0003762 [ALLY_0003761].
1581 Residential Capital Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 2.

1582 See
       Memorandum, Final Tax Liabilities Allocated from GM, dated Jan. 25, 2008, at ALLY_0208456
    [ALLY_0208456]; see also Tax Classification and Allocation History, prepared by AFI, at ALLY_0178779
    [ALLY_0178779]; Implemented 2005 Tax Allocation Agreement, at ALLY_0178780 [ALLY_0178779].
1583 Implemented    2005 Tax Allocation Agreement, § 6.08 [ALLY_0178779]. Section 6.08 of the agreement
    states that the agreement generally “shall continue in effect until the ResCap Group is no longer included in
    the consolidated Federal income tax return of the [AFI] Group . . . .” Since GM, not AFI, was the common
    parent of the affiliated group that filed consolidated federal income tax returns, the Examiner assumes that
    the parties to the agreement intended for it to remain in effect until the ResCap Group, as defined in the
    agreement, was no longer included in either the GM consolidated federal income tax return or the “GMAC
    Group,” as defined in the agreement.
1584 See 2005 Operating Agreement, § 2(b)(iii) [MELZER.004869] (“ResCap and [AFI] shall maintain in effect

    an income tax allocation agreement that shall provide for two-way sharing payments based on the separately
    calculated tax liability or benefit of ResCap.”).
1585 Implemented 2005 Tax Allocation Agreement, at ALLY_0178786 [ALLY_0178779].



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tax year between allocations under the Implemented 2005 Tax Allocation Agreement and
allocations under the tax allocation agreements previously in place with ResCap’s subsidiaries
before they were transferred to ResCap would be unduly burdensome.1586

     As required by the Cerberus PSA, under which 51% of AFI was to be sold to
Cerberus,1587 ResCap converted to a limited liability company on October 24, 2006.1588 Upon
conversion, ResCap initially elected to be taxable as a corporation for U.S. federal income tax
purposes.1589 Shortly thereafter, but before the Cerberus transaction closed, ResCap elected to
change its federal tax classification to an entity disregarded as separate from GM (AFI had
also elected to become an entity disregarded as separate from GM) effective as of
November 21, 2006.1590 The change in classification required consent from AFI.1591 The
election of disregarded entity status was treated as a tax-free liquidation of ResCap into
GM,1592 and all of ResCap’s tax attributes were transferred to GM in the deemed liquidation.
The sale of 51% of AFI to Cerberus closed on November 30, 2006.1593 From ResCap’s
perspective, the Cerberus transaction was treated for federal income tax purposes as Cerberus
purchasing 51% of ResCap’s assets followed by Cerberus and GM making tax-free
contributions of ResCap assets to the new AFI tax partnership, with ResCap becoming a
disregarded entity treated as a branch or division of the AFI partnership.1594 As a result of the
Cerberus transaction, ResCap and AFI were no longer part of the GM consolidated group,1595
which had the effect of terminating the Implemented 2005 Tax Allocation Agreement.1596

1586 See E-mail from B. Belfore (Apr. 28, 2005) [EXAM11839057] (“GM Tax Department would like to make

    the agreement effective Jan.1.2005. Although the 2 operating companies weren’t transferred to ResCap until
    Mar.30.2005, I am told it is extremely difficult to split up the year and try to allocate it 2 different ways.”).
1587 Cerberus PSA, § 2.3(a) [CERB000521].

1588 Certificate of Conversion to Limited Liability Company of Residential Capital Corporation to Residential

    Capital, LLC, dated Oct. 24, 2006 [ALLY_0003761].
1589 See
       Memorandum, Final Tax Liabilities Allocated from GM, dated Jan. 25, 2008, at ALLY_0208456
    [ALLY_0208456].
1590 Id.

1591 Treas. Reg. § 301.7701–3(c)(2).

1592 I.R.C. § 337(a) (no recognition of gain or loss by liquidating corporation on distributions to 80% distributee);

    Treas. Reg. § 301.7701–3(g)(iii) (election to change classification from association taxable as a corporation
    to disregarded entity treated as liquidation of corporation).
1593 See
       Memorandum, Final Tax Liabilities Allocated from GM, dated Jan. 25, 2008, at ALLY_0208457
    [ALLY_0208456].
1594 I.R.C. § 721(a) (no recognition of gain or loss on contribution of property to partnership); Treas.
    Reg. § 301.7701–3(b)(1)(i), (f)(2) (addition of member to disregarded entity turns entity into partnership);
    Rev. Rul. 99–5, 1991–1 C.B. 434 (When an owner of a disregarded entity sells part of its interest in the
    disregarded entity to a buyer, the buyer and seller are treated as contributing their shares of the disregarded
    entity’s assets to a new partnership in exchange for interests in the partnership.).
1595 I.R.C. § 1504(a)(1).

1596 Implemented 2005 Tax Allocation Agreement, § 6.08 [ALLY_0178779].



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      From December 1, 2006 through June 30, 2009, ResCap remained a disregarded entity
treated as a division of AFI.1597 AFI was a partnership owned by GM and Cerberus for tax
purposes throughout this period.1598 The 2006 Tax Allocation Agreement between AFI and
ResCap was in place for this period for state and local jurisdictions that did not follow the
disregarded entity classification rules under federal tax law.1599 A tax allocation agreement
was required to be in effect for this period by the 2006 Amended Operating Agreement.1600
The 2006 Tax Allocation Agreement, however, was not fully executed until December 9,
2008. The parties did not act upon the requirement in the 2006 Amended Operating
Agreement until they noted that the requirement was referenced in a May 5, 2008 offering
memorandum for an exchange of outstanding ResCap notes for newly issued notes.1601 Since
AFI was a partnership for tax purposes, all of ResCap’s income, loss, and other tax attributes
during this period passed up to AFI’s partners—Cerberus and GM—pursuant to the GMAC
LLC Agreement.

      ResCap became a partnership for federal income tax purposes on July 1, 2009.1602 This
change in federal tax classification was not the result of any tax election made by ResCap.
Rather, the change was because ResCap gained an additional member. ResCap’s direct owner,
GMAC Mortgage Group LLC, contributed a one percent interest in ResCap to GMAC
Mortgage Group LLC’s newly-incorporated wholly-owned subsidiary, ResCap Investments
Inc., on June 29, 2009.1603 ResCap’s ownership structure as a partnership resulting from these
steps is provided in Exhibit V.D.2.a, below.

1597 See Tax Classification and Allocation History, prepared by AFI, at ALLY_0178779 [ALLY_0178779].

1598 See id.

1599 See 2006 Tax Allocation Agreement, at ALLY_0178791 [ALLY_0178779]. Although the 2006 Tax
    Allocation Agreement makes some passing references to a few federal tax concepts, such as the Internal
    Revenue Service and the Internal Revenue Code, the agreement apparently did not apply with respect to
    federal income taxes. It was intended to apply with respect to income taxes in only those state and local
    jurisdictions that did not treat ResCap as a disregarded entity. See Letter from W. Marx to J. Young (Nov. 13,
    2008), at ALLY_0178792 [ALLY_0178779] (“[T]his agreement is effective only with respect to those very
    few jurisdictions that treat ResCap as a taxable entity and only where ResCap would file a combined or
    unitary return with [AFI].”).
1600 See 2006 Amended Operating Agreement, § 2(b)(iii) [ALLY_0041818] (“ResCap and [AFI] shall maintain

    in effect an income tax allocation agreement that shall provide for two-way sharing payments based on the
    separately calculated tax liability or benefit of ResCap.”).
1601 See Letter from W. Marx to J. Young (Nov. 13, 2008), at ALLY_0178792 [ALLY_0178779] (“[W]e saw

    little need for a new tax allocation agreement between [AFI] and ResCap. Until now. Page 110 of the
    Offering Memorandum for the recent ResCap bond swap describes the ResCap Operating Agreement . . . .
    To comply with the terms of the Operating Agreement, we have drafted the attached new tax allocation
    agreement . . . .”); see also Residential Capital, LLC, Offering Memorandum (May 5, 2008), at 110
    [ALLY_0103305] (describing the 2006 Amended Operating Agreement, including its requirement to have a
    tax allocation agreement providing for two-way sharing payments in effect between ResCap and AFI).
1602 See Tax Classification and Allocation History, prepared by AFI, at ALLY_0178779 [ALLY_0178779].

1603 See Memorandum, Year-End Transaction Regarding Mortgage Assets and Mortgage Companies, dated Jan.

    27, 2010, at EXAM00220204 [EXAM00220202].

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     Thus, ResCap went from having a single tax-regarded member, AFI, to having two tax-
regarded members, AFI and ResCap Investments Inc. This change in the number of members
automatically converted ResCap from a disregarded entity to a partnership for federal income tax
purposes.1604 But ResCap was still a pass-through entity not responsible for the payment of
federal income taxes under federal tax law. ResCap filed a federal partnership tax return for a tax




1604 Treas. Reg. § 301.7701–3(b)(1)(i), (f)(2).



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year beginning on July 1, 2009 and ending on November 1, 2009,1605 and the 2006 Tax
Allocation Agreement for state and local income tax purposes was treated by AFI and ResCap
as remaining in effect for this period.1606 The additional member was added to make ResCap a
partnership prior to AFI’s conversion to a Delaware corporation on June 30, 2009.1607 AFI was
concerned that had ResCap remained a disregarded entity when AFI was incorporated,
ResCap would have been required to record on its book balance sheet a net current tax
expense, a net deferred tax liability, and an offsetting decrease in net equity.1608 By making
ResCap a partnership prior to AFI’s incorporation, the tax liabilities and reduction in net
equity were recorded on AFI’s book balance sheet instead of ResCap’s.1609

    ResCap became disregarded as separate from AFI once again on November 2, 2009
because of an election by ResCap’s 1% owner to become disregarded as separate from AFI for




1605 Residential Capital, LLC, U.S. Return of Partnership Income (I.R.S. Form 1065) [ALLY_0337795]. The

    Examiner notes that ResCap probably became a partnership on June 30, 2009, the day after the June 29, 2009
    contribution of 1% of ResCap to ResCap Investments Inc. The Examiner assumes that ResCap’s income for
    the day of June 30, 2006 was reported directly on AFI’s federal partnership tax return for its tax year ending
    June 30, 2006 for administrative convenience, instead of having ResCap file a one-day federal partnership
    tax return for June 30, 2006 in addition to its federal partnership tax return for its short tax year beginning on
    July 1, 2006 and ending on November 1, 2006.
1606 See Residential Capital, LLC U.S. Federal, State, and Local Tax Allocations Analysis, prepared by AFI

    [ALLY_PEO_0079527]; see also Residential Capital, LLC Tax Allocation Payment Detail Analysis,
    prepared by AFI [ALLY_PEO_0079528].
1607 See Memorandum, Year-End Transaction Regarding Mortgage Assets and Mortgage Companies, dated
    Jan. 27, 2010, at EXAM00220204 [EXAM00220202].
1608 See E-mail from S. Cohen (June 24, 2009), at EXAM12059274 [EXAM12059274] (“Upon conversion of

    [AFI] from LLC to C Corp on June 30, paragraph 28 of FAS 109 (and SAB Topic 1B) will require ResCap to
    record a tax a [sic] expense of $1.0 billion and a deferred tax liability of $1.0 billion (temporary tax
    difference).”); see also Memorandum, Agreements for Allocation of Taxes, dated Aug. 6, 2010, at 2
    [RC40016362] (“If ResCap had remained a tax-disregarded LLC, it was estimated that it would have been
    required to book deferred tax assets and liabilities up to the corporate tax rate at the ResCap level of
    approximately $150 million, reducing its reported net equity.”); E-mail from J. Aretakis (July 14, 2009), at
    EXAM12429610 [EXAM12429609] (“[H]ad ResCap remained an LLC subsidiary of a corporate [AFI],
    deferred taxes would have been required. The net DTL at ResCap would have triggered a P&L hit at
    ResCap.”).
1609 See E-mail from J. Aretakis (July 14, 2009), at EXAM12429610 [EXAM12429609] (“As a partnership,

    ResCap need not book any deferred taxes on various items on its balance sheet, most notably MSRs. . . .
    [The] hit was instead taken at the [AFI] level.”); see also E-mail from T. Baker (June 29, 2009), at
    EXAM12421559 [EXAM12421559] (“We understand that PWC has concluded that if ResCap is converted
    to a tax partnership prior to incorporating [AFI] . . . . [AFI’s] book/tax basis difference in its investment in
    the newly created ResCap partnership would give rise to a net deferred tax asset or liability at the [AFI] level
    . . . .”); Memorandum, Agreements for Allocation of Taxes, dated Aug. 6, 2010, at 2 [RC40016362] (“As a
    partnership, ResCap was not required to record deferred taxes[;] rather, its parent company was.”).

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federal income tax purposes.1610 ResCap Investments Inc. had converted into a Delaware
limited liability company on September 11, 20091611 and initially had elected to be treated as a
corporation for federal income tax purposes.1612 On December 30, 2009, ResCap Investments
LLC changed its federal tax classification to disregarded entity status with a retroactive
effective date of November 2, 2009.1613 This change resulted in ResCap again having only one
member, AFI, for federal income tax purposes.1614 Accordingly, ResCap automatically
became a disregarded entity under federal income tax law as of November 2, 2009.1615

     AFI decided to return ResCap to disregarded entity status effective as of November 2,
2009 to preserve substantial tax losses that would be generated by Ally Bank and GMACB
Asset Management Corporation, a wholly-owned subsidiary of Ally Bank. These tax losses
arose from AFI’s intercompany purchase of certain loans from Ally Bank and GMACB Asset
Management Corporation and subsequent contribution of those loans to ResCap.1616 AFI
wanted to transfer those loans out of Ally Bank to “strengthen the asset quality profile of Ally
Bank.”1617 If ResCap had remained a partnership at the time of the sale and contribution of the
loans, then deductions for Ally Bank’s and GMACB Asset Management Corporation’s losses
from the sale, estimated as of November 13, 2009 to be approximately $650 million,1618 would
have been permanently disallowed under federal income tax law because ResCap would have
been a related party transferee but would not have been part of the same “controlled group” of




1610 See Memorandum, Year-End Transaction Regarding Mortgage Assets and Mortgage Companies, dated
    Jan. 27, 2010, at EXAM00220204 [EXAM00220202].
1611 Certificate of Conversion to Limited Liability Company of ResCap Investments Inc. to ResCap Investments

    LLC, dated Sept. 11, 2009 [RC40006869].
1612 See Memorandum, Year-End Transaction Regarding Mortgage Assets and Mortgage Companies, dated
    Jan. 27, 2010, at EXAM00220204 [EXAM00220202].
1613 See id.

1614 See id.

1615 Treas. Reg. § 301.7701–3(b)(1)(i), (f)(2).

1616 See Memorandum, Agreements for Allocation of Taxes, dated Aug. 6, 2010, at 2 [RC40016362]; see also

    Memorandum, Year-End Transaction Regarding Mortgage Assets and Mortgage Companies, dated Jan. 27,
    2010, at EXAM00220204–05 [EXAM00220202].
1617 Memorandum, Year-End Transaction Regarding Mortgage Assets and Mortgage Companies, dated Jan. 27,

    2010, at EXAM00220203 [EXAM00220202].
1618 See E-mail from J. Aretakis (Nov. 13, 2009), at ALLY_0381586 [ALLY_0381585] (“Purchase of Bank loans

    by [AFI] and contribution to ResCap will generate a deferred tax loss . . . . Consolidated [AFI] will record a
    DTA (est. $650 million) for the deferred tax benefit.”).

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corporations as Ally Bank and GMACB Asset Management Corporation.1619 By making
ResCap a disregarded entity prior to the sale and contribution of the loans, the final transferee
was considered to be AFI for federal income tax purposes, and the deductions for Ally Bank’s
and GMACB Asset Management Corporation’s losses were merely deferred, instead of
permanently disallowed, until ResCap disposed of the loans to a person outside the AFI
consolidated group.1620

      Since November 2, 2009, ResCap has been a disregarded entity owned by AFI through
other disregarded entities, GMAC Mortgage Group LLC and ResCap Investments LLC.1621
AFI has been a corporation since July 1, 2009.1622 The Second 2009 Tax Allocation
Agreement among GMAC Mortgage Group LLC, ResCap Investments LLC, and ResCap,
effective as of November 1, 2009, was fully executed on January 26, 2011.1623 This agreement
is still putatively in effect.1624

             b. Drafting And Approval Processes For The Tax Allocation Agreements

                 (1) Implemented 2005 Tax Allocation Agreement And Other 2005 Tax
                     Allocation Agreement

    It is unclear when the process of drafting the Implemented 2005 Tax Allocation
Agreement between ResCap and AFI was initiated and which party created the first draft. On

1619 See Treas. Reg. § 1.267(f)–1(c)(1)(iii), (j) Ex. 6; see also Memorandum, Year-End Transaction Regarding

    Mortgage Assets and Mortgage Companies, dated Jan. 27, 2010, at EXAM00220204 [EXAM00220202];
    E-mail from J. Aretakis (Nov. 13, 2009), at ALLY_0381586 [ALLY_0381586] (“The tax loss would be
    permanently disallowed if we leave ResCap in partnership form.”); E-mail from J. Aretakis (July 14, 2009),
    at EXAM12429610 [EXAM12429609] (“Going forward, in general, tax gains on [AFI]/ResCap
    intercompany sales will be fully taxable, but tax losses will be disallowed. Tax losses subject to the
    disallowance rule are usually permanently disallowed, not merely deferred.”).
1620 See I.R.C. § 267(f)(2); see also Treas. Reg. § 1.1502–13(c); Memorandum, Year-End Transaction Regarding

    Mortgage Assets and Mortgage Companies, dated Jan. 27, 2010, at EXAM00220204–05 [EXAM00220202].
1621 See Tax Classification and Allocation History, prepared by AFI, at ALLY_0178779 [ALLY_0178779]; see

    also Second 2009 Tax Allocation Agreement, at 1 [RC00028796]. ResCap Investments LLC merged into
    GMAC Mortgage Group LLC with GMAC Mortgage Group LLC surviving on July 31, 2011. See Debtor’s
    Motion for Interim and Final Orders Under Bankruptcy Code Sections 105(a), 363, 506(a), 507(a)(8), 541,
    and 1129 and Bankruptcy Rule 6003 Authorizing Payment of Taxes and Regulatory Fees [Docket No. 37] at
    8; see also Consent to Action of the Sole Director of ResCap Investments LLC, dated July 25, 2011, at
    RC40006896 [RC40006869].
1622 See
       Ally Financial Inc. & Subs., U.S. Corporation Income Tax Return (I.R.S. Form 1120), at
    ALLY_0388747 [ALLY_0388745]; see also Tax Classification and Allocation History, prepared by AFI, at
    ALLY_0178779 [ALLY_0178779].
1623 Second 2009 Tax Allocation Agreement [RC00028796].

1624 See Debtor’s Motion for Interim and Final Orders Under Bankruptcy Code Sections 105(a), 363, 506(a),

    507(a)(8), 541, and 1129 and Bankruptcy Rule 6003 Authorizing Payment of Taxes and Regulatory Fees
    [Docket No. 37] at 8–9; see also Tax Classification and Allocation History, prepared by AFI, at
    ALLY_0178779 [ALLY_0178779].

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April 28, 2005, GM sent to ResCap and AFI a revised draft of the Implemented 2005 Tax
Allocation Agreement.1625 GM notified ResCap that the revisions were designed to “deny
ResCap a tax benefit for [three] specific tax attributes (foreign tax credits, capital losses, or net
operating losses) until both GM and [AFI] could also enjoy the benefit.”1626 The revisions
were proposed by GM because it wanted to “[p]revent cash from being ‘trapped’ in ResCap
([i.e.,] prevent GM from paying ResCap for tax losses that GM cannot use).”1627 GM also
noted that ResCap does not have to be able to use the tax benefits on a stand-alone basis to
receive payment from GM as long as both GM and AFI can use the tax benefits.1628

      In late May 2005, PwC, the auditor of ResCap’s financial reports for 2005, gave
comments to ResCap on the draft of the Implemented 2005 Tax Allocation Agreement
suggesting that ResCap push back on the requirement that both GM and AFI have to use tax
benefits for ResCap to receive payment.1629 ResCap’s Chief Financial Officer at the time,
Davee Olson, expressed concerns about being able to push back because the terms of the 2005
Operating Agreement were still being negotiated by GM and AFI.1630 ResCap continued to
negotiate with GM and AFI over the terms of the Implemented 2005 Tax Allocation
Agreement in late May and early June 2005.1631 James Young, Chief Accounting Officer of
ResCap at that time, made comments that focused on internal consistency in the agreement
regarding the requirement that both GM and AFI had to use ResCap’s losses for ResCap to be
entitled to compensation and stated that he wanted the provisions to be “consistent (even if not
in ResCap’s best interest).”1632 It appears that all or most of the parties signed off on the
provisions of the Implemented 2005 Tax Allocation Agreement by June 3, 2005.1633

    The ResCap Board delegated the negotiation and final approval of the terms of the
Implemented 2005 Tax Allocation Agreement to certain officers. In a unanimous written
consent dated June 15, 2005, the ResCap Board authorized certain officers to “negotiate,

1625 See E-mail from B. Belfore (Apr. 28, 2005) [EXAM11839057], attaching draft of Implemented 2005 Tax

    Allocation Agreement [EXAM11839059].
1626 E-mail from B. Belfore (Apr. 28, 2005), at EXAM11839057 [EXAM11839057].

1627 Id.

1628 See E-mail from J. Aretakis (Apr. 29, 2005), at EXAM10183493 [EXAM10183493].

1629 See E-mail from S. Mooradian (May 21, 2005), at EXAM11738506 [EXAM11738506] (“I would push back

    and at least get a cash benefit if [AFI] is in a taxable position even if GM is not.”).
1630 See E-mail from D. Olson (May 23, 2005), at EXAM11864785 [EXAM11864785] (Pushing back to get a

    cash benefit even if only AFI can use the tax benefit is “a problem getting in place until GM and [AFI] get
    real about their operating agreement.”).
1631 See
       E-mail from J. Young (June 1, 2005) [EXAM10182754]; E-mail from J. Young (May 31, 2005)
    [EXAM10220414].
1632 E-mail from J. Young (May 31, 2005) [EXAM10220414].

1633 See Task List regarding ResCap Open Items as of June 24, 2005, at EXAM12180173 [EXAM12180165]

    (“Received signoffs from majority of reviewers, including Kevin Nowlan (GM). The 6/1/05 draft should be
    considered final. Need to obtain signatures.”).

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execute and deliver in the name of and on behalf of ResCap . . . the Tax Allocation Agreement
. . . substantially in the form described to the Board and in such form as the Authorized
Persons executing the same may approve, such approval to be conclusively evidenced by the
execution thereof.”1634 The Implemented 2005 Tax Allocation Agreement was later executed
on June 24, 2005.1635

     In addition to the Implemented 2005 Tax Allocation Agreement, there was another tax
allocation agreement purportedly executed on June 24, 2005, the Other 2005 Tax Allocation
Agreement.1636 The Other 2005 Tax Allocation Agreement requires only AFI to use ResCap
tax benefits for ResCap to receive payment from AFI.1637 It is unclear why two different tax
allocation agreements between AFI and ResCap were executed for the 2005 tax year and
whether each agreement was actually signed on the same date, but the Other 2005 Tax
Allocation Agreement is far more favorable to ResCap than the Implemented 2005 Tax
Allocation Agreement. The Other 2005 Tax Allocation Agreement was an exhibit in the first
amendment to ResCap’s registration statement for a $4 billion notes exchange offer filed with
the SEC on September 2, 2005.1638 ResCap later filed a second amendment to that registration
statement on September 20, 2005 in which the Implemented 2005 Tax Allocation Agreement
was included as an exhibit.1639 The parties’ use of the Implemented 2005 Tax Allocation
Agreement resulted in ResCap not being compensated for some of its 2006 losses because GM
had sufficient losses from its other subsidiaries to shield its income through 2006 on a
consolidated basis.1640

                   (2) 2006 Tax Allocation Agreement

    Under the 2006 Amended Operating Agreement, a tax allocation agreement between AFI
and ResCap was required to be in effect even after Cerberus’s acquisition of 51% of AFI on
November 30, 2006.1641 Accordingly, AFI and ResCap had in place the 2006 Tax Allocation
Agreement from December 1, 2006 through November 1, 2009 for state and local jurisdictions



1634 Unanimous Consent to Action of the Board of Directors of Residential Capital Corporation, June 15, 2006, at

    2 [RC40005468].
1635 Implemented 2005 Tax Allocation Agreement, at ALLY_0178786 [ALLY_0178779].

1636 Other 2005 Tax Allocation Agreement [MELZER.009035].

1637 See id. § 1.03E.

1638 Residential Capital Corporation, Amendment No. 1 to Registration Statement (Form S-4/A) (Sept. 2, 2005),

    Ex. 10.3.
1639 Residential Capital Corporation, Amendment No. 2 to Registration Statement (Form S-4/A) (Sept. 20, 2005),

    Ex. 10.3.
1640 See Section V.D.2.c(1).

1641 See 2006 Amended Operating Agreement, § 2(b)(iii) [ALLY_0041818] (“ResCap and [AFI] shall maintain

    in effect an income tax allocation agreement that shall provide for two-way sharing payments based on the
    separately calculated tax liability or benefit of ResCap.”).

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 that did not follow the disregarded entity classification rules under federal tax law.1642 The
2006 Amended Operating Agreement is unclear as to whether the agreement had to apply to
federal income taxes, or state and local income taxes, or both. The 2006 Tax Allocation
Agreement, however, was not executed until late 2008. Neither AFI nor ResCap acted upon
the requirement in the 2006 Amended Operating Agreement until William Marx, AFI’s
Director of Tax Operations and Analysis, noticed that the requirement was referenced in a
May 5, 2008 offering memorandum for an exchange of outstanding ResCap notes for newly
issued notes. He then wrote to David DeBrunner, AFI’s Chief Accounting Officer, on
September 30, 2008 about the need to get a tax allocation agreement in place to comply with
the 2006 Amended Operating Agreement.1643 On November 3, 2008, DeBrunner signed the
2006 Tax Allocation Agreement that AFI had prepared and that Marx had attached to his
September 30, 2008 letter. Marx then sent the partially executed 2006 Tax Allocation
Agreement to Young, ResCap’s Chief Financial Officer at that time, for his review and
signature on November 13, 2008.1644 Young signed the 2006 Tax Allocation Agreement on
December 9, 2008.

     The Investigation has not uncovered any record in the minutes of the ResCap Board or
Executive Committee or written consent of the ResCap Board that authorized Young to execute
the 2006 Tax Allocation Agreement. Further, the Investigation has not uncovered any evidence
that the ResCap Board was ever informed of the existence of the 2006 Tax Allocation
Agreement prior to Young signing it. The only evidence of any kind of review of the provisions
of the 2006 Tax Allocation Agreement comes from Marx’s letters to DeBrunner and Young, in
which Marx states that the “agreement has been reviewed and accepted by Dina Shapiro,
relevant ResCap Legal Staff and Bond Counsel (see attached e-mail).”1645




1642 See 2006 Tax Allocation Agreement, at ALLY_0178791 [ALLY_0178779]. Although the 2006 Tax
    Allocation Agreement makes some passing references to a few federal tax concepts, such as the IRS and the
    Internal Revenue Code, the agreement apparently did not apply with respect to federal income taxes. It was
    intended to apply with respect to income taxes in only those state and local jurisdictions that did not treat
    ResCap as a disregarded entity. See Letter from W. Marx to J. Young (Nov. 13, 2008), at ALLY_0178792
    [ALLY_0178779] (“[T]his agreement is effective only with respect to those very few jurisdictions that treat
    ResCap as a taxable entity and only where ResCap would file a combined or unitary return with [AFI].”).
1643 See Letter from W. Marx to D. DeBrunner (Sept. 30, 2008), at ALLY_0178793 [ALLY_0178779] (“[W]e

    saw little need for a new tax allocation agreement between [AFI] and ResCap. Until now. Page 110 of the
    Offering Memorandum for the recent ResCap bond swap describes the ResCap Operating Agreement . . . .
    To comply with the terms of the Operating Agreement, we have drafted the attached new tax allocation
    agreement . . . .”); see also Residential Capital, LLC, Offering Memorandum (May 5, 2008), at 110
    [ALLY_0103305] (describing the 2006 Amended Operating Agreement, including its requirement to have a
    tax allocation agreement providing for two-way sharing payments in effect between ResCap and AFI).
1644 See Letter from W. Marx to J. Young (Nov. 13, 2008), at ALLY_0178792 [ALLY_0178779] (almost an

    exact copy of the letter from W. Marx to D. DeBrunner dated September 30, 2008).
1645 Id.; Letter from W. Marx to D. DeBrunner (Sept. 30, 2008), at ALLY_0178793 [ALLY_0178779].



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                 (3) First 2009 Tax Allocation Agreement And Second 2009 Tax Allocation
                     Agreement

     In connection with the discussions in December 2009 about making ResCap a
disregarded entity for federal tax purposes effective around November 1, 2009, AFI drafted
the First 2009 Tax Allocation Agreement between ResCap and AFI (and GMAC Mortgage
Group LLC) to be effective as of November 1, 2009.1646 AFI stated that since ResCap will
become a member of the AFI consolidated tax return as a result of converting to a disregarded
entity, “tax allocation agreements are required to be in place to document the method of tax
allocation.”1647 AFI drafted the First 2009 Tax Allocation Agreement to treat ResCap
generally as if ResCap were a stand-alone taxpayer. The agreement, however, was more
favorable to ResCap than a pure stand-alone agreement or being left as a disregarded entity
without a federal income tax allocation agreement in place because it entitled ResCap to be
paid for its tax benefits that AFI could currently use even if ResCap could not yet use the tax
benefits on a stand-alone basis.1648 AFI intentionally drafted the First 2009 Tax Allocation
Agreement to provide this benefit to ResCap. As described in an e-mail from Marx to ResCap
management and AFI management, on which DeBrunner and Young were copied, attaching a
draft of the agreement:

                 If ResCap or any of its relevant sub-groups or subsidiaries
                 generates foreign tax credits, net operating losses, or capital
                 losses that it would not be able to use on a stand-alone basis in
                 the current period, but the [AFI] group can utilize the benefits
                 on the consolidated [AFI] return, then the ResCap entity will be
                 paid currently for those benefits. This deviation from strict
                 stand-alone accounting will in all cases be either neutral or more
                 beneficial to ResCap than strict stand-alone. [AFI] drafted the
                 agreements in this manner to be consistent with other allocation
                 agreements in the Group (Bank and Insurance have similar
                 agreements already in place).1649

     This provision was present not only in tax allocation agreements that AFI had in effect
with Ally Bank and AFI’s insurance subsidiaries, but also in the Implemented 2005 Tax
Allocation Agreement and in the tax allocation agreement that was in effect between GM and



1646 See Dec. 6, 2009 Draft of First 2009 Tax Allocation Agreement [EXAM12308207]; see also Int. of W. Marx,

    Apr. 18, 2013, at 36:24–37:16 (stating that Marx was the “primary drafter” of the First 2009 Tax Allocation
    Agreement among a group of people at AFI). As of the December 6, 2009 draft, only GMAC Mortgage
    Group LLC and ResCap were included as parties to the agreement. AFI and ResCap Investments LLC were
    added as parties in later versions of the agreement.
1647 See E-mail from W. Marx (Dec. 6, 2009) [EXAM12308200].

1648 See id.

1649 Id.



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AFI from November 1, 2000 to November 30, 2006.1650 Another reason for the inclusion of
the provision was to see if creating this contractual right for ResCap would allow ResCap to
report an “equity bump” for its net deferred tax assets that were otherwise subject to a
valuation allowance that resulted in no “equity bump.”1651 AFI had explored the possibility of
taking this position with its external auditors.1652

     The First 2009 Tax Allocation Agreement went through a series of revisions that resulted
in substantial changes to its operative provisions. First, Morrison & Foerster, counsel to
ResCap, and Morrison Cohen, counsel to the Independent Directors, reviewed a December 14,
2009 draft and submitted their collective comments on December 23, 2009.1653 Their
comments appear to have been rejected by AFI.1654 Second, AFI made a set of changes and on
July 19, 2010 sent a revised draft dated July 8, 20101655 to ResCap that incorporated some
changes previously discussed between AFI and ResCap.1656 Consideration of the agreement
appears to have been a low priority for ResCap and AFI in early 2009, resulting in the six-
month span that passed from the lawyers’ submission of their collective comments to AFI on
December 23, 2009 to AFI’s revision of the draft agreement on July 8, 2010.1657 The changes
made in the July 8, 2010 draft of the First 2009 Tax Allocation Agreement were largely
formatting changes and corrections of factual errors in the recitals as opposed to substantive
changes to operative provisions. A few substantive changes, however, were made providing
that ResCap would be compensated based on AFI’s use of ResCap’s tax benefits, not
hypothetical use by GMAC Mortgage Group LLC, a disregarded entity, and that AFI would
reimburse GMAC Mortgage Group LLC to the extent that GMAC Mortgage Group LLC
would have to compensate ResCap for AFI’s use of ResCap’s tax benefits.1658

    ResCap asked Morrison & Foerster to review and comment on the July 8, 2010 draft, and
Morrison & Foerster provided comments in a memorandum dated July 11, 2010.1659 The
comments included that “[GMAC Mortgage Group LLC/AFI] only compensates ResCap for



1650 See Implemented 2005 Tax Allocation Agreement, §§ 1.03F, 3.03 [ALLY_0178779]; Agreement for the

    Allocation of United States Federal Income Taxes, made effective as of December 8, 1994, by and between
    GM and AFI, as amended and in effect from November 1, 2000 to November 30, 2006 [ALLY_0434993].
1651 See Int. of W. Marx, Apr. 18, 2013, at 29:12–31:10.

1652 See id.

1653 See Memorandum, Revised Tax Allocation Agreement Draft, dated July 11, 2010, at 1 [EXAM20269709].

1654 See id.

1655 July 8, 2010 Draft of First 2009 Tax Allocation Agreement [EXAM20132706].

1656 See E-mail from W. Marx (July 19, 2010) [EXAM20132705].

1657 See Int. of W. Marx, Apr. 18, 2013, at 44:12–46:5.

1658 Compare July 8, 2010 Draft of First 2009 Tax Allocation Agreement, § 1.03D [EXAM20132706], with Dec.

    6, 2009 Draft of First 2009 Tax Allocation Agreement, § 1.03C [EXAM12308207].
1659 Memorandum, Revised Tax Allocation Agreement Draft, dated July 11, 2010 [EXAM20269709].



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ResCap tax losses and credits that [GMAC Mortgage Group LLC/AFI] can actually use during
the same taxable year” and reiterated that Morrison & Foerster and Morrison Cohen’s
previous “suggestion that ResCap be compensated to the extent such items create carrybacks
and carryovers was not adopted.”1660 AFI had viewed such comment as an unnecessary change
to the agreement because it believed the terms of the agreement already clearly provided for
compensation based on tax attributes that ResCap could carry back or carry forward.1661

      At an August 6, 2010 meeting, the ResCap Board “authorized and empowered” ResCap’s
officers to execute the First 2009 Tax Allocation Agreement.1662 The version approved
included some minor edits from the July 8, 2010 draft but no changes regarding Morrison &
Foerster’s suggestion to add clarifying language that ResCap would receive compensation for
its carrybacks and carryovers. The First 2009 Tax Allocation Agreement was distributed to the
ResCap Board the day before its August 6, 2010 meeting, in a package containing the meeting
agenda and supporting materials,1663 as an exhibit to the Joint ResCap-AFI Tax Memorandum
to ResCap Board.1664 The Joint ResCap-AFI Tax Memorandum, which was co-authored by
Marx, Young, and Hamzehpour, summarized the history of ResCap’s federal tax classification
and provided a detailed analysis of the terms of the First 2009 Tax Allocation Agreement,
ResCap’s deferred tax position, and governance requirements relevant to the decision to
approve the agreement.1665 The benefit that AFI included in the first draft it sent to Young on
December 6, 2009, that provided for ResCap to receive payments to the extent that AFI would
use ResCap’s tax benefits, remained in the version of the First 2009 Tax Allocation
Agreement presented to the ResCap Board on August 6, 2010. The Joint ResCap-AFI Tax
Memorandum explained and highlighted this benefit to the ResCap Board:

                  The [First 2009 Tax Allocation Agreement] generally provide[s]
                  that ResCap will be allocated income taxes under a hypothetical
                  calculation that assumes ResCap to be a stand-alone taxpayer,
                  filing its own tax returns, with full rights to make all accounting
                  method choices and tax elections available under the law.
                  However, in cases where the consolidated return regulations
                  allow the [AFI] group of companies to benefit from net
                  operating losses, capital losses or foreign tax credits before

1660 Id. at 2.

1661 See Int. of W. Marx, Apr. 18, 2013, at 40:17–43:8.

1662 See Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Aug. 6, 2010, at

    RC40018820–22 [RC40018729].
1663 See Agenda and Supporting Materials for the Regular Meeting of the Board of Directors of Residential

    Capital, LLC, Aug. 6, 2010 [RC40016362].
1664 Joint ResCap–AFI Tax Memorandum to ResCap Board, at RC40016374–84 [RC40016362].

1665 See Joint ResCap–AFI Tax Memorandum to ResCap Board, at RC40016375–78 [RC40016362]. Marx
    prepared the language in the memorandum that explained the tax issues; Hamzehpour and Young prepared
    the language regarding ResCap governance requirements and ResCap management’s recommendation to the
    ResCap Board. See Int. of W. Marx, Apr. 18, 2013, at 46:8–47:16, 50:19–54:12.

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                  ResCap could benefit from them on a stand-alone basis, the
                  Agreement requires [AFI] to pay [GMAC Mortgage Group
                  LLC] and [GMAC Mortgage Group LLC] to currently pay
                  ResCap for those tax attributes. This is the only provision that
                  differs from stand-alone treatment for ResCap, and in all cases
                  can only be beneficial to ResCap, i.e. it may allow the
                  monetization of tax benefits either earlier, or in some cases
                  where the benefits would have expired and been permanently
                  lost by ResCap, if it had filed as a stand-alone taxpayer.1666

     In the Joint ResCap-AFI Tax Memorandum to the ResCap Board, it was noted that
ResCap’s legal staff believed that the First 2009 Tax Allocation Agreement was “on terms
consistent with those that parties at arms’ length would agree to and for fair value.”1667
ResCap’s legal staff also suggested that the ResCap Board “exclude [the First 2009 Tax
Allocation Agreement] from its prior delegation of affiliate agreements to the Special
Committee of independent directors . . . .”1668 The ResCap Board accepted this analysis,
excluded the agreement from the requirement that affiliate agreements get recommended by
the Special Committee before the ResCap Board considers them, and found that the First 2009
Tax Allocation Agreement was “on terms not more disadvantageous in any material respect to
the holders of [ResCap’s] notes than those existing tax allocation agreement(s) [it is] intended
to replace[.]”1669

     When the ResCap Board approved the First 2009 Tax Allocation Agreement on
August 6, 2010 and authorized officers to execute it, the Board “assumed that [the officers]
would execute and deliver the agreement.”1670 However, as of October 13, 2010,
notwithstanding the ResCap Board’s approval of the First 2009 Tax Allocation Agreement
and its very favorable nature to ResCap, all parties except for ResCap had signed the
agreement.1671 The ResCap Board resolution did not specifically designate Young as ResCap’s
signatory on the First 2009 Tax Allocation Agreement, but there does not appear to be a
question that Young would be the ResCap officer signing. Young testified that “it would make
perfect sense that I was the one signing a tax allocation agreement being that I’m the chief
financial officer of the company.”1672 Young’s name appeared on the signature block for

1666 Joint ResCap-AFI Tax Memorandum to ResCap Board, at RC40016377 [RC40016362].

1667 Id. at RC40016378.

1668 Id.

1669 Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Aug. 6, 2010, at

    RC40018822 [RC40018729].
1670 Int. of P. West, Apr. 16, 2013, at 58:1–19.

1671 See E-mail from W. Marx (Oct. 13, 2010), at ALLY_0245484 [ALLY_0245484] (“Under proposed and

    partially executed tax allocation agreements (Jim Young has not yet executed on behalf of ResCap), [AFI]
    would be required to pay ResCap for losses used by other members of the group.”).
1672 Int. of J. Young, Apr. 22, 2013, at 200:12–201:9.



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ResCap in the version of the agreement that was presented to the ResCap Board at the
August 6, 2010 board meeting, and he was the signatory on prior tax allocation agreements, as
well as the signatory on the Second 2009 Tax Allocation Agreement.1673

     The chain of events after the ResCap Board’s approval of the First 2009 Tax Allocation
Agreement on August 6, 2010 appears to have been as follows. On September 9, 2010, about a
month after the ResCap Board approved the agreement, Marx prepared a memorandum to
DeBrunner, Young, Dondzila, and Quenneville setting out instructions for signing the First
2009 Tax Allocation Agreement and similar tax allocation agreements between AFI and
GMAC Mortgage Group LLC and between ResCap’s subsidiaries.1674 Marx also had binders
created containing the First 2009 Tax Allocation Agreement and the other tax allocation
agreements for signature. In the memorandum, Marx stated that the First 2009 Tax Allocation
Agreement “has been reviewed by outside legal counsel representing the ResCap Board and
by Tammy Hamzehpour of the ResCap Legal Staff, and has been approved by the ResCap
Board,” that “no additional governance is required at the [AFI] level” and that the agreement
had been “previously circulated to [AFI] Accounting Policy, David DeBrunner, Cathy
Dondzila, Jim Young and others.”1675 The Investigation has not uncovered a copy of the
partially executed First 2009 Tax Allocation Agreement, but Marx and DeBrunner have
confirmed that the memorandum and the binder of tax allocation agreements were hand-
delivered to DeBrunner and that DeBrunner signed the First 2009 Tax Allocation Agreement
on behalf of AFI around September 13, 2010.1676 Marx was responsible for obtaining
signatures for the First 2009 Tax Allocation Agreement and believed that the terms of
agreement were final at the time he delivered the agreement to DeBrunner for signature.1677
Marx did not expect any changes to its terms to be presented by either AFI or ResCap.1678




1673 See First 2009 Tax Allocation Agreement, at RC40016384 [RC40016362]; see also 2006 Tax Allocation

    Agreement, at ALLY_0178791 [ALLY_0178779]; Second 2009 Tax Allocation Agreement, at 6
    [RC00028796].
1674 Memorandum, Action Required – ResCap Tax Allocation Agreements for Execution, dated Sept. 9, 2010

    [ALLY_0435003].
1675 Id.

1676 See Int. of D. DeBrunner, Apr. 18, 2013, at 110:14–111:19, 115:11–116:22 (“Bill Marx told me that I would

    be getting a binder of tax allocation agreements that needed to be executed by an officer of [AFI] . . . . So, I
    signed those agreements, I gave the binder back or sent the binder back to Bill.”); Int. of W. Marx, Apr. 18,
    2013, at 57:20–58:9 (“So Monday the 13th, I believe I walked he binder down to David’s office . . . . I don’t
    recall exactly how long it was before I got it back. It might have been a day or two, or he might have gotten it
    back to me the same day.”).
1677 See Int. of W. Marx, Apr. 18, 2013, at 54:13–55:20 (“The expectation was that once these were executed that

    that would be the agreement.”).
1678 See id. at 55:12–55:24 (“We weren’t expecting any additional edits at that point.”).



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AFI, however, apparently failed to deliver a copy of the memorandum and the binder
containing the tax allocation agreements to Young for signature on behalf of ResCap in
September 2010.1679 AFI eventually mailed the binder to Young around (but most likely
shortly before) October 15, 2010.1680

      On September 15, 2010, AFI filed its consolidated federal income tax return for the tax
year ending on December 31, 2009.1681 Then, as required by the First 2009 Tax Allocation
Agreement,1682 AFI immediately started to calculate the amount it would have to pay to
ResCap by October 31, 2010 under the agreement for ResCap’s tax year beginning on
November 2, 2009 and ending on December 31, 2009.1683 In doing the calculation, AFI
realized that the required payments to ResCap for 2009 and 2010 tax results would be
substantial, perhaps as high as $250 million for 2009 and $400 million for 2010.1684

     From October 13, 2010 to October 15, 2010, Marx communicated with AFI’s Chief
Financial Officer, Mackey, about the monetary impact to AFI of the First 2009 Tax Allocation
Agreement. Marx discussed the possibility of proposing a less favorable tax allocation
agreement to ResCap in an e-mail chain under the subject line “High Priority-Tax Allocation-




1679 See id. at 57:1–59:18, 63:10–65:19, 90:22–92:7.

1680 See Int. of J. Young, Apr. 22, 2013, at 101:4–104:23 (“I do not remember when I got the binder. . . . I would

    suspect that it was a relatively short period of time between the time I got the binder and the time that I was
    informed that [AFI] . . . had not gone through their appropriate governance with respect to the transaction.”);
    see also Int. of W. Marx, Apr. 18, 2013, at 57:1–59:18, 63:10–65:19, 90:22–92:7.
1681 See E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424661 [ALLY_0424660].

1682 See First 2009 Tax Allocation Agreement, § 3.02 [RC40016362]. Section 3.02 of the agreement provides as

    follows:
         Within forty-five (45) days following the filing of the [AFI] Group consolidated Federal income tax
         return . . . [GMAC Mortgage Group LLC] shall notify ResCap of the amount of the Separate ResCap
         Group Tax Liability. Within fifteen (15) days after such notification, Rescap shall pay to [GMAC
         Mortgage Group LLC] or [GMAC Mortgage Group LLC] will pay to ResCap as the circumstances
         warrant, the difference between the Separate ResCap Group Tax Liability and the estimated tax payments
         previously made by ResCap.
1683 See E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424661 [ALLY_0424660] (“Calculations were started

    immediately upon filing the first consolidated return on September 15.”); see also E-mail from W. Marx
    (Oct. 13, 2010), at ALLY_0245484 [ALLY_0245484] (“[P]ayment may be on the order of $200 to $250m,
    due 10/31.”).
1684 See E-mail from W. Marx (Oct. 13, 2010), at ALLY_0245484 [ALLY_0245484] (“Calculations are still in

    process, but the payment may be on the order of $200 to $250m, due 10/31 (Additional $300 to $400m
    would likely be due for the 2010 tax year, payable at this time next year).”).

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Large Payment Possibly due October 30.”1685 AFI, however, was aware that the ResCap Board
had already approved the First 2009 Tax Allocation Agreement,1686 and Marx believed that
“[p]eople at ResCap think the method of allocation has been resolved and we are just
finalizing docs and the allocation will follow”1687 and that Young “has been in the loop on the
development of [the First 2009 Tax Allocation Agreement and other tax allocation
agreements] and thinks they are done.”1688 Marx testified that, at the time, he suggested a new
method of allocation because he was concerned that AFI may want to retain discretion in
deciding when to inject more capital into ResCap rather than be subject to contractual
obligations that mandate payments by AFI to ResCap.1689 AFI had already made a total of
about $2.9 billion in cash capital contributions to ResCap from 2007 to 2009 to keep ResCap
afloat.1690 Marx testified that ResCap’s consideration of a new and less favorable tax
allocation agreement “would likely require a fairness opinion of outside counsel” and “will
likely be unpopular as the Board has already been presented and approved a more beneficial
agreement.”1691 Marx suggested that they let Young and DeBrunner know that AFI senior
financial management is reconsidering the tax allocation approach and will get back to them
in November 2010 with its modification plan.1692 Mackey agreed that he did not want to make




1685 See E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424661 [ALLY_0424660]; E-mail from J. Mackey

   (Oct. 15, 2010), at ALLY_0424661 [ALLY_0424660]; E-mail from W. Marx (Oct. 15, 2010), at
   ALLY_0424661 [ALLY_0424660]; E-mail from J. Mackey (Oct. 15, 2010), at ALLY_0424661–62
   [ALLY_0424660]; E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424662 [ALLY_0424660]; E-mail
   from J. Mackey (Oct. 15, 2010), at ALLY_0424662–63 [ALLY_0424660]; E-mail from W. Marx (Oct. 15,
   2010), at ALLY_0424663 [ALLY_0424660]; E-mail from J. Mackey (Oct. 15, 2010), at ALLY_0424663
   [ALLY_0424660]; E-mail from W. Marx (Oct. 13, 2010), at ALLY_0424663–64 [ALLY_0424660].
1686 See E-mail from W. Marx (Oct. 13, 2010), at ALLY_0245484 [ALLY_0245484] (“The [First 2009 Tax

   Allocation Agreement] was reviewed and approved by the ResCap Board. There is sensitivity here regarding
   arms-length dealings with affiliates.”).
1687 E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424663 [ALLY_0424660].

1688 Id. at ALLY_0424662.

1689 See E-mail from W. Marx (Oct. 13, 2010), at ALLY_0245484 [ALLY_0245484] (“Today, it is not clear to

   me that [AFI] would desire to inject capital into ResCap or, once in, whether we could get it back out.”); see
   also E-mail from W. Marx (Nov. 3, 2010), at EXAM10432503 [EXAM10432501] (“Current management
   does not want to put in place an allocation agreement that could compel capital contributions. Rather,
   capitalization of ResCap should be left to the discretion of the [AFI] Board.”); E-mail from J. Mackey (Oct.
   15, 2010), at ALLY_0424663 [ALLY_0424660] (“What happens if we just ignore this for now[?] Not sure I
   can get focus from decision makers by the end of the month. I don’t really want to put in more capital . . . .”).
1690 See Capital Contributions to ResCap Legal Entity as of Jan. 31, 2012, [ALLY_PEO_0075634]; see also

   Residential Capital Company, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 50 (“[As of
   September 30, 2007], we have received $2.0 billion in capital contributions from GMAC, excluding the
   contribution to the auto division of GMAC Bank[.]”).
1691 E-mail from W. Marx (Oct. 13, 2010), at ALLY_0245484 [ALLY_0245484].

1692 E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424663 [ALLY_0424660].



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payments to ResCap,1693 and he asked Marx, “Do we have to go back to them [ResCap,] or
can we just ignore it[?] Jim Y and team are very focused on other things[,] so they may not
even think about it.”1694 Marx replied, “At some point, we will need formal agreements in
place to document the timing of payments in both directions. Without such agreements, we
may not be able to compel ResCap to pay its taxes up to [AFI]. In fact, under a strict stand-
alone approach, they [ResCap] would owe [AFI] $6m this year.”1695 Marx later explained to
Mackey the timeline of how Marx became aware of the potentially large payments that AFI
would owe to ResCap under the First 2009 Tax Allocation Agreement: “Calculations were
started immediately upon filing the first consolidated return on September 15. . . . During our
deep dive review, [Mackey] commented on the need to tie into the cash forecasting team,
raising our sensitivity. . . . [W]e realized that we might be locking up cash inside ResCap and
raised the alarm.”1696 Mackey then stated, “We should consider how everything would look if
we never execute the agreement. There will be resistance.”1697 Then Marx replied that:

                 Things today would look just like they are currently booked.
                 ResCap has a payable to [AFI] for about $6m related to excess
                 inclusion income, which is a quirky type of REMIC income that
                 results in current tax even though the company is in a deep
                 overall loss. . . . Bottom line: [AFI] has a small receivable that
                 ResCap may resist paying. [AFI] would avoid booking a large
                 Q4 capital contribution.1698

     When DeBrunner signed the First 2009 Tax Allocation Agreement, he believed he was
acting under “delegated authority.”1699 AFI had an accounting policy in place since
December 23, 2009 providing that “[a]ll tax sharing agreements must be approved by the
respective boards of directors or appropriate management designee.”1700




1693 E-mail from J. Mackey (Oct. 15, 2010), at ALLY_0424663 [ALLY_0424660].

1694 E-mail from J. Mackey (Oct. 15, 2010), at ALLY_0424662–63 [ALLY_0424660].

1695 E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424662 [ALLY_0424660].

1696 E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424661 [ALLY_0424660].

1697 E-mail from J. Mackey (Oct. 15, 2010), at ALLY_0424661 [ALLY_0424660].

1698 E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424661 [ALLY_0424660].

1699 See Int. of D. DeBrunner, Apr. 18, 2013, at 125:9–126:9 (“As an officer of the company, they asked me to be

   the signer on it. My recollection is it had been reviewed with multiple parties around the company and I was
   asked to sign on that. . . . So, again, you know, there was a delegated authority.”).
1700 AFI Accounting Policy 3330: Accounting for Income Taxes, effective Oct. 1, 2010, at EXAM12354094, –

   101 [EXAM12354093].

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     Marx, on his own initiative, decided to hold up the process of completing execution of
the First 2009 Tax Allocation Agreement after DeBrunner had signed the agreement:

                  Some time in that early October timeframe, there was a first
                  pass made at tax calculations. And it was at that point that we
                  realized that . . . this is going to result in a very large payment
                  down to ResCap that would be characterized [ ] it would be a
                  capital contribution. And knowing all the focus that had been on
                  the capital structure of ResCap over the prior year, I thought,
                  gee, you know, this is not something that we’ve really vetted
                  with our senior management on this side. And my senses went
                  off and said I’m not sure we should be doing this. . . .

                  ...

                  It was kind of a late realization that, of you know what? We’re
                  putting something in place here that probably is beyond our
                  authority to make decisions. And that’s when we raised the issue
                  with Jim Mackey. As you can see through the tone of the e-
                  mails, this was news to him. . . . So, there was, in my view,
                  certainly a kind of overstepping on our part in tax of moving this
                  thing along on the [AFI] side. You know, we saw the
                  governance going on on the ResCap side. We weren’t doing the
                  same thing on the [AFI] side.1701

      Although Marx believed that the First 2009 Tax Allocation Agreement was not binding
because it had not been fully executed, he never sought legal advice on the issue.1702 Marx
testified that, based on this belief that the agreement was not binding, the copies that had been
partially executed were discarded.1703

     On October 18, 2010, Marx sent Young and Hamzehpour an e-mail, with Mackey copied,
explaining AFI’s current thinking that it may propose “changes to the tax allocation agreement
recently approved by the ResCap Board (but not yet executed).”1704 Marx testified that he
probably called Young regarding holding off on signing the First 2009 Tax Allocation




1701 Int. of W. Marx, Apr. 18, 2013, at 60:5–61:14, 126:2–126:25; see also id. at 75:1–75:12 (“I simply didn’t

    consider the ramifications of putting an agreement in place that could compel very large capital contributions
    when that’s something the board was very focused on.”).
1702 See id. at 144:1–144:13.

1703 See id. at 141:8–141:20 (“My recollection is once they were retrieved from their trip to Minneapolis, they

    were discarded. We didn’t believe them to be effective because they weren’t executed. They weren’t going to
    be the final agreement. They were not retained.”).
1704 E-mail from W. Marx (Oct. 18, 2010) [ALLY_0424659].



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Agreement shortly before sending the October 18, 2010 e-mail.1705 In the e-mail, Marx
explained the reason for the potential modification as follows: “The proposed agreement was
initially drafted and proposed under a previous [AFI] senior financial management team. In
light of the potentially large capital contributions that could result under such an agreement, I
have requested review and approval by [AFI’s] current senior leadership.”1706 It appears that
Marx was referring to Mackey becoming AFI’s Interim Chief Financial Officer effective on
April 2, 2010.1707 Mackey then sent an e-mail to Young on the same day (October 18, 2010)
stating “Jim, we should discuss. None of this has been discussed at the [AFI] level[,] so I think
there needs to be a ton of socialization.”1708 Young replied on the same day:

                  Agreed, if not discussed at [AFI], should get clear at that level.
                  Since all tax benefits will ultimately belong to [AFI], this is
                  more about how to managerially show the tax impacts on the
                  legal entity of ResCap LLC. ResCap board would only be
                  concerned if cash was being extracted from LLC in an “unfair”
                  way via the tax allocation agreement . . . but I don’t see that
                  happening.1709

     During interviews with the Examiner’s Professionals, Young was asked about the events
surrounding his receipt of the execution copy of the First 2009 Tax Allocation Agreement and
any communications he had with AFI or with ResCap directors, officers, and counsel
regarding AFI’s desire to modify the terms of the agreement.1710 His recollection of these
events was limited.1711 Young did not have any recollection of the timeline with respect to
when he received the execution copy of the First 2009 Tax Allocation Agreement as compared
to when he was contacted by AFI officers and told not to execute the agreement.1712 In fact,
Young initially could not even recall whether he ever signed the First 2009 Tax Allocation
Agreement.1713 Thereafter, at a follow-up interview on April 22, 2013, he believed that he
never signed the First 2009 Tax Allocation Agreement.1714


1705 See Int. of W. Marx, Apr. 18, 2013, at 94:10–95:17 (“And there probably had been a phone call saying, ‘Hold

    on. We’ve got some issues at our end.’ And then I imagine this was a follow-up email . . . .”).
1706 E-mail from W. Marx (Oct. 18, 2010) [ALLY_0424659].

1707 See Minutes of a Regular Meeting of the Board of Directors of GMAC Inc., Apr. 30, 2010, at
    ALLY_PEO_0017627 [ALLY_PEO_0017568] (appointing Mackey as Interim Chief Financial Officer,
    effective as of April 2, 2010); Int. of W. Marx, Apr. 18, 2013, at 98:8–23.
1708 E-mail from J. Mackey (Oct. 18, 2010), at EXAM20317195 [EXAM20317195].

1709 E-mail from J. Young (Oct. 18, 2010), at EXAM20317195 [EXAM20317195].

1710 See Int. of J. Young, Apr. 22, 2013, at 101:4-104:23; see also Int. of J. Young, Mar. 15, 2013, at 37:8-22.

1711 See Int. of J. Young, Apr. 22, 2013, at 101:4-104:23; see also Int. of J. Young, Mar. 15, 2013, at 37:8-22.

1712 See Int. of J. Young, Apr. 22, 2013, at 101:4-104:23.

1713 See Int. of J. Young, Mar. 15, 2013, at 37:8-22.

1714 See Int. of J. Young, Apr. 22, 2013, at 146:19–147:4.



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     Young testified that he believed that the August 6, 2010 ResCap Board resolution
provided him with discretion not to sign the First Tax Allocation Agreement if in reviewing
the final document “there was something amiss.”1715 Young’s decision not to sign the
agreement was largely influenced by a high-ranking AFI officer, perhaps Mackey, informing
Young that the agreement had not been properly vetted or approved within AFI.1716 Young
apparently never considered signing the agreement after being told this:

                   I found out that [AFI] had not gone through the proper level of
                   governance from their perspective. . . . [A]lthough I don’t know
                   their governance process . . . I was informed that whoever
                   signed the documents didn’t have the authority to do so. And, as
                   you know, of course I’m not going to enter into a transaction
                   where it’s not going to stand up.1717

     He testified that he “had no reason to believe that what [he] was being told was not
true,”1718 and that he “took [AFI’s] word that they understood their governance and that they
were being honest and truthful of which [he] never had a reason to doubt.”1719

     Furthermore, Young testified that he was concerned that compelling AFI to follow
through on the terms of the First 2009 Tax Allocation Agreement would have harmed
ResCap’s relationship with AFI, which he viewed as important because of ResCap’s reliance
on AFI for its capital needs:

                   [S]omewhere along the line before these agreements were
                   executed, we learned that our counterparty hadn’t vetted it. And
                   this counterparty by the way is very important to us. They were
                   providing capital and liquidity to separate transactions for a long
                   period of time where we couldn’t go to third parties. Very
                   important for us. And the fact that they hadn’t gone through
                   their process, certainly as a businessperson at that time, given
                   the importance of this counterparty, we weren’t going to talk
                   about a short-term forcing them into a transaction that could
                   ultimately turn off our ability to do further transactions with
                   them.1720




1715 Int. of J. Young, Apr. 22, 2013, at 92:6-20.

1716 See id. at 10:14-11:10, 97:11-21, 160:14-162:13.

1717 Id. at 97:13-21.

1718 Id. at 98:5-15.

1719 Id. at 162:9-13.

1720 Id. at 160:18-161:10 (emphasis added).



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Young, however, testified that AFI never told him that if ResCap were to pursue a course of
trying to hold AFI to the terms of the First 2009 Tax Allocation Agreement, there would be
negative consequences for ResCap in its ongoing relationship with AFI.1721

     In addition, Young testified that he did not intend for the First 2009 Tax Allocation
Agreement to be binding until he signed the agreement and that he did not believe that anyone
on the ResCap side intended for ResCap to be bound by the agreement until it was signed by a
ResCap officer.1722 Although he could not recall any specific discussions he had as to whether
the agreement would have been enforceable had he signed it, he believes that he may have
discussed this issue with Tammy Hamzehpour, ResCap’s General Counsel at the time.1723

     After AFI informed Young and Hamzehpour that it may propose a new tax allocation
agreement in place of the First 2009 Tax Allocation Agreement, Marx called Young on
November 1, 2010 and explained in more detail why AFI was proposing changes to the tax
allocation agreement and what the monetary impact would be to ResCap:

                   I shared with him the reason why we stopped the execution of
                   the draft agreements, i.e., they would have compelled large
                   capital contributions to ResCap on the order of hundreds of
                   millions for 2009 and 2010 tax years, versus a cash payment to
                   [AFI] of $6m if we removed the beneficial language with
                   respect to NOL’s, capital losses and foreign tax credits. He
                   understood the reason and did not think changing the draft
                   agreements was disadvantageous to ResCap. Jim’s view was
                   that we need to move ahead and present a revised, stand-alone
                   agreement to the ResCap Board for approval and than an
                   executed agreement would be required to allow remittance of
                   funds. I plan to eliminate the clauses in question and start the
                   Board review process.1724

     The Investigation has uncovered no evidence that Young vetted the issue of the proposed
changes in the tax allocation arrangement and the monetary impact to ResCap with anyone
else on the ResCap Board or in ResCap senior management prior to telling Mackey and Marx
that he did not see anything unfair with the changes AFI was proposing and suggesting that


1721 See id. at 173:16–22. (“[Q:] Did anyone at [AFI] ever suggest in words or substance to you that if ResCap

    sought to enforce the [First 2009 Tax Allocation Agreement], that there would be consequences to doing so?
    [A:] No discussion like that ever occurred.”).
1722 See id. at 209:20–210:10.

1723 See id. at 98:5–20.

1724 E-mail  from W. Marx (Nov. 2, 2010), at ALLY_0424660 [ALLY_0424660]. Despite Marx’s
    characterization of the payments that AFI would owe to ResCap under the First 2009 Tax Allocation
    Agreement as “capital contributions,” payments under tax allocation agreements should not be considered
    capital contributions and dividends. See Int. of J. Young, Apr. 22, 2013, at 137:25–139:11.

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AFI move forward with preparing a new agreement to present to the ResCap Board. Young
immediately accepted AFI’s explanation of the proposed changes as reasonable.1725

     At a November 5, 2010 ResCap Board meeting, Young presented and discussed AFI’s
proposed draft of the Second 2009 Tax Allocation Agreement, which removed ResCap’s right
under the First 2009 Tax Allocation Agreement to receive compensation from AFI for AFI’s
use of ResCap tax benefits.1726 Marx had discussed AFI’s proposal with Young on
November 1, 2010 and had sent a copy of the draft agreement to Tammy Hamzehpour,
ResCap’s General Counsel, on November 3, 2010.1727 The ResCap Board discussed the
Second 2009 Tax Allocation Agreement again on December 9, 2010, and the Independent
Directors later discussed it with their counsel, Morrison Cohen.1728

     Young testified that he has no specific recollection of speaking to anyone on the ResCap
Board about why he did not sign the agreement or what was said if, in fact, he did discuss the
agreement with the Board.1729 Furthermore, he could not recall ever quantifying for the
ResCap Board the amount that ResCap might have been owed under the First 2009 Tax
Allocation Agreement.1730 Similarly, West testified that the ResCap Board’s discussions
regarding the Second 2009 Tax Allocation Agreement were in the context of abstract concepts
of reasonableness, with no specific discussions on the estimated monetary impact to ResCap
of accepting the new agreement.1731 West also could not recall the ResCap Board ever asking
whether the First 2009 Tax Allocation Agreement had been signed by a ResCap officer and, if
not, why it had not been signed.1732




1725 See Int. of W. Marx, Apr. 18, 2013, at 100:10–101:7 (“[T]his was not—this back and forth was never really

    adversarial. As soon as it came up, Jim was—Jim Young . . . was like, ‘Oh yeah, we’re not trying to do
    something here that we didn’t intend to do, so if we need to put the breaks [sic] on and, you know, and he’s a
    very reasonable person . . . .’”); see also id. at 130:23–131:12 (“[A]s soon as we brought up our issue with
    the first agreement, Jim [Young] was like, ‘Oh yeah, I see that. You know, that’s okay. If we need to have
    some further discussion, let’s do it.’ You know he got it. . . . And you know, there was no coaching, cajoling,
    convincing.”).
1726 See Draft Second 2009 Tax Allocation Agreement, at RC40016933 [RC40016871] (deleting part of
    Section 1.03D from the First 2009 Tax Allocation Agreement); see also Minutes of a Special Meeting of the
    Board of Directors of Residential Capital, LLC, Nov. 5, 2010, at RC40018848 [RC40018729]; E-mail from
    T. Hamzehpour (Nov. 10, 2010), at EXAM10432502–03 [EXAM10432501] (“We discussed [the draft
    Second 2009 Tax Allocation Agreement] with ResCap’s independent directors on Nov 5.”)
1727 See E-mail from W. Marx (Nov. 3, 2010), at EXAM10432503–04 [EXAM10432501].

1728 See E-mail from T. Hamzehpour (Dec. 16, 2010), at EXAM10432502 [EXAM10432501].

1729 See Int. of J. Young, Apr. 22, 2013, at 146:20–147:16.

1730 See id. at 148:2–149:18.

1731 See Int. of P. West, Apr. 16, 2013, at 23:2–12, 80:8–81:23.

1732 See id. at 18:24–19:3.



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    Morrison Cohen sent comments on the Second 2009 Tax Allocation Agreement to
ResCap on December 16, 2010:

                First, seems very unfair. If Rescap earns profit but [GMAC
                Mortgage Group LLC/AFI] has losses and no tax is ultimately
                due, then Rescap still must pay [GMAC Mortgage Group LLC/
                AFI] the hypothetical tax on Rescap’s profit. However, if
                [GMAC Mortgage Group LLC/AFI] earns profit but Rescap has
                losses and no tax is ultimately due, then [GMAC Mortgage
                Group LLC/AFI] need not pay Rescap the hypothetical tax on
                [GMAC Mortgage Group LLC/AFI’s] profit. . . . Second,
                [Marx’s] cover email suggests that as a consolation prize the
                losses used up by [AFI] can reduce future income of Rescap.
                Nice thought but I really don’t see that spelled out in the
                agreement. If anything, the key definition in section 1.03(D)
                seems to be an annual calculation due to the phrase “for any
                taxable year[,]” and it has no reference to past losses.1733

     Hamzehpour forwarded Morrison Cohen’s comments to AFI on December 16, 2010,1734
and then ResCap, AFI, and Morrison Cohen discussed the proposed Second 2009 Tax
Allocation Agreement on a December 21, 2010 conference call.1735 Marx summarized the
discussion as follows:

                First, regarding fairness, they pressed [AFI] fairly hard about
                [AFI] not being consistent with all companies in the group . . . .
                My response was that there is no obligation for [AFI] to pay its
                subsidiaries in advance of stand-alone use of the attributes . . .
                and that [AFI] senior management was unlikely to agree to a tax
                allocation regime that could compel random capital
                contributions. I also made the point that where we do pay
                currently for attributes that would otherwise not be utilized by
                the subsidiary on a stand-alone basis, we do so because of
                regulatory requirements, and ResCap has no such regulatory
                requirement. However, even absent regulatory requirements, it
                is the parent company’s prerogative to decide whether or not to
                sprinkle benefits on one subsidiary and not another. Finally, we
                (Jim Young was very supportive) drove home the point that
                keeping ResCap in the same position it would have been in on a


1733 E-mail from M. Connolly (Dec. 16, 2010), at EXAM10432518 [EXAM10432517].

1734 See E-mail from T. Hamzehpour (Dec. 16, 2010), at EXAM10432501–02 [EXAM10432501].

1735 See Conference call invitation from T. Hamzehpour [EXAM10902438]; see also E-mail from W. Marx
   (Dec. 20, 2010), at EXAM10432501 [EXAM10432501].

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                  stand-alone basis is as fair as anyone could demand, and this
                  agreement does that. . . . They took several runs at the fairness
                  point. I was thinking they were going to escalate the issue. Then
                  Michael Connelly [sic] basically threw in the towel, saying there
                  was enough support for our proposal and that it was not an
                  unreasonable business position to go straight stand-alone. It was
                  a pretty abrupt ending, but with the right result. They are going
                  to propose language on the loss attributes, but otherwise will tell
                  the Board that the agreement is reasonable.1736

      Young was supportive of AFI’s position on the conference call in that he agreed that a
strict stand-alone agreement was fair between the parties.1737

      The Independent Directors believed that language Morrison Cohen drafted addressed the
fairness concerns that Morrison Cohen previously raised and relied on its outside counsel in
considering the approval of the Second 2009 Tax Allocation Agreement.1738 In fact, as stated
in Marx’s summary of the December 21, 2010 conference call, Morrison Cohen’s comment
that was eventually incorporated into the Second 2009 Tax Allocation Agreement merely
clarified ResCap’s ability to use carryovers of tax benefits as an offset in calculating its stand-
alone tax liability in future years. The clarifying language did not address the fairness point as
the parties on the conference call agreed to leave the tax allocation provisions as drafted by
AFI.1739 In addition, the tax attorney at Morrison Cohen who reviewed the Second 2009 Tax
Allocation Agreement, Isaac Grossman, knew that ResCap had been generating substantial tax
losses but was not aware that ResCap was also generating excess inclusion income, which
cannot be offset by tax losses.1740 One of the Independent Directors, Pamela West, does not
recall the issue of excess inclusion income or that ResCap would owe cash payments to AFI
under the Second 2009 Tax Allocation Agreement being presented to the ResCap Board at
meetings or to her at any time.1741 In fact, West was not aware that ResCap has been making
payments to AFI on account of taxes on excess inclusion income under the Second 2009 Tax
Allocation Agreement.1742 Yet on November 1, 2010, Marx had told Young that ResCap
would owe $6 million to AFI for the 2009 tax year under the Second 2009 Tax Allocation
Agreement.1743

1736 E-mail from W. Marx (Dec. 22, 2010), at 1 [ALLY_0424667].

1737 See Int. of W. Marx, Apr. 18, 2013, at 130:7–22.

1738 See Int. of P. West, Apr. 16, 2013, at 66:6–19, 81:11–84:23, 87:20–91:24, 100:20–103:1.

1739 See E-mail from W. Marx (Dec. 22, 2010), at 1 [ALLY_0424667].

1740 See Int. of I. Grossman, Apr. 16, 2013, at 6:18–9:12, 25:6–28:9.

1741 See Int. of P. West, Apr. 16, 2013, at 25:7–25:14, 66:20–67:4, 95:9–98:8.

1742 See id. at 95:9–98:8 (“[Q:] Are you aware that ResCap has had to make any payments under the [Second

    2009 Tax Allocation Agreement]? [A:] Not that I’m aware. [Q:] You laughed there and is that because of the
    financial condition that ResCap was in at the time? [A:] Yes.”).
1743 See E-mail from W. Marx (Nov. 2, 2010), at ALLY_0424660 [ALLY_0424660].



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     The Second 2009 Tax Allocation Agreement was approved by the ResCap Board on
December 22, 2010, subject to inclusion of the language to be provided by Morrison
Cohen.1744 On January 24, 2011, Morrison Cohen provided such language to clarify that
ResCap would be entitled to factor in its ability to use carryover NOLs, capital losses, and
foreign tax credits when ResCap’s stand-alone tax liability was determined for each tax year
under the agreement, but no edits were provided to address Morrison Cohen’s previous
comments as to why the agreement seemed “very unfair.”1745 The Second 2009 Tax
Allocation Agreement was fully executed on January 26, 2011.1746

     The Investigation has not uncovered any documents indicating that ResCap requested or
received a fairness opinion on the Second 2009 Tax Allocation Agreement or considered the
requirements in the 2006 Amended Operating Agreement that the tax allocation agreement
had to “provide for two-way sharing payments.”1747

     On multiple occasions during his interview, Young stated his belief that a tax allocation
agreement has only two purposes—(1) to be used as an accounting tool to assist readers of
financial statements so they can understand financial results and (2) to be used to ensure that a
subsidiary that is not a taxpayer pays cash to its parent that is responsible for paying taxes on
income related to the subsidiary’s operations—but is not intended to “transfer value” or be a
vehicle through which a subsidiary compels capital contributions from its parent.1748 Based on
Young’s understanding of the purpose of a tax allocation agreement, Young viewed the
favorable payment provision to ResCap in the First 2009 Tax Allocation Agreement as a
“windfall,” because it was better than stand-alone treatment.1749 Young testified that, although
he could not remember his specific discussions with the ResCap Board at meetings regarding
the Second 2009 Tax Allocation Agreement, he believed that he presented to the Board his
understanding of the general purposes of a tax allocation agreement along the lines stated
above.1750

              c. Provisions Of The Tax Allocation Agreements And Their Impact On ResCap

                  (1) Implemented 2005 Tax Allocation Agreement And Other 2005 Tax
                      Allocation Agreement

     The Implemented 2005 Tax Allocation Agreement was favorable to ResCap in some
respects but unfavorable to ResCap in other respects because of certain terms rarely seen in
1744 See
       Minutes of Special Meeting of Board of Directors of Residential Capital, LLC, Dec. 22, 2010, at
    RC40018862 [RC40018729].
1745 See E-mail from M. Connolly (Jan. 24, 2011), at 1 [ALLY_0424649]; see also E-mail from I. Grossman

    (Dec. 21, 2010), at 2 [ALLY_0424649].
1746 Second 2009 Tax Allocation Agreement, at 6 [RC00028796].

1747 2006 Amended Operating Agreement, § 2(b)(iii) [ALLY_0041818].

1748 See Int. of J. Young, Apr. 22, 2013, at 62:15–64:18, 77:5–78:2, 82:2–83:23, 139:18–140:16, 172:22–173:15.

1749 See id. at 76:10–16.

1750 See id. at 149:19–150:11, 203:5–204:15.



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tax allocation agreements. As to the favorable aspects, the Implemented 2005 Tax Allocation
Agreement provided for two-way sharing payments. That provision provides for the
possibility that ResCap would make payments to AFI or AFI would make payments to
ResCap in a particular tax year, depending, in part, on ResCap’s tax position for the year.1751
Two-way sharing was required by the 2005 Operating Agreement.1752 Furthermore, when
determining the amount of compensation to which ResCap was entitled when GM and AFI
used ResCap’s NOLs, the parties followed the allocation rules under section 1.1502-21 of the
Treasury Regulations (and followed similar rules in the Treasury Regulations with respect to
other tax benefits), instead of a “but for” concept typically found in tax allocation
agreements.1753 Simply put, in a typical tax allocation agreement, a parent corporation is not
considered to have begun using a subsidiary’s NOLs in a tax year unless all the NOLs the
parent receives from its other subsidiaries were insufficient to shield the parent from having
net income in that tax year. In contrast, section 1.1502-21 of the Treasury Regulations
generally allocates use of the consolidated NOL of a consolidated group for any tax year
among all of the members of the consolidated group that had NOLs for such tax year in the
proportion that each member’s separate NOL bears to the sum of all member’s NOLs for such
year.1754 Thus, the Implemented 2005 Tax Allocation Agreement was more favorable to
ResCap than a typical tax allocation agreement because ResCap would be entitled to some
compensation, for instance, even if GM had to carry forward a larger amount of consolidated
NOL than the amount of the separate NOL that ResCap and its subsidiaries generated in the
tax year.

     The Implemented 2005 Tax Allocation Agreement was unfavorable to ResCap in that it
required both GM and AFI to be able to use ResCap tax benefits before ResCap would be entitled
to compensation for use of its tax benefits.1755 ResCap was required under the Implemented 2005
Tax Allocation Agreement to pay to AFI the amount of ResCap’s stand-alone tax liability that


1751 See Implemented 2005 Tax Allocation Agreement, §§ 1.03F, 3.03 [ALLY_0178779].

1752 See 2005 Operating Agreement, § 2(b)(iii) [MELZER.004869].

1753 See E-mail from J. Aretakis (Jan. 4, 2006), at EXAM10170854 [EXAM10170853] (GM’s use of ResCap’s

   NOLs under the Implemented 2005 Tax Allocation Agreement is “governed by Treasury Regulations that
   mandate the allocation of a consolidated net operating loss carryforward to individual members [of a
   consolidated group] upon deconsolidation.”); see also Memorandum, AFI-ResCap Tax Sharing, dated Mar.
   20, 2013, at 2 (“The initial allocations limited ResCap’s benefit for 2005 losses to the amount of those losses
   treated as absorbed by taxable income of non-ResCap entities on the 2005 GM consolidated return. ResCap
   was left with loss carryforwards to the extent it was allocated consolidated net operating loss under Treas.
   Reg. §1.1502-21.”); Memorandum, AFI-ResCap Tax Sharing, dated Mar. 12, 2013, at 5 (“The initial tax
   allocation calculations interpreted the [Implemented 2005 Tax Allocation Agreement] in accordance with the
   principles of Section 1.1502-21 of the Treasury regulations . . . .”); Description of 2005 and 2006 Tax
   Allocation to ResCap, prepared by W. Marx, dated Nov. 27, 2012, at ALLY_0338094 [ALLY_0338094]
   (“add back to taxable income . . . for the consolidated net operating loss carry forward [sic] allocable to
   ResCap under Treasury Regulations”).
1754 See Treas. Reg. § 1.1502–21(b)(2)(iv)(B).

1755 See Implemented 2005 Tax Allocation Agreement, § 1.03F [ALLY_0178779].



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ResCap generated in a tax year.1756 In determining the amount of compensation ResCap would
receive when ResCap generated net tax benefits for a tax year, the Implemented 2005 Tax Allocation
Agreement would ignore ResCap’s net tax refund position on a stand-alone basis and instead look to
use by ResCap’s owners.1757 Tax sharing arrangements in which a subsidiary is compensated by a
parent based on the parent’s use, not the subsidiary’s stand-alone tax position, are common. It is
unusual, however, for a tax allocation agreement to require use by both a direct parent and indirect
parent before the subsidiary can receive compensation. In contrast, the operative provision in the
Other 2005 Tax Allocation Agreement required only that AFI use ResCap’s tax benefits for ResCap
to receive compensation—a more standard construction.1758

     The Implemented 2005 Tax Allocation Agreement was in effect from March 2005 through
November 30, 2006, the period when ResCap was a corporation within the GM consolidated
group. In 2005, ResCap generated $779.7 million in taxable income on a stand-alone basis as a
separate ResCap sub-group within the GM consolidated group.1759 Using a 35% federal income
tax rate and applying $0.1 million in tax credits also generated by ResCap, this equated to a
$272.8 million stand-alone tax liability.1760 GM, however, had to carry forward consolidated
NOLs and consolidated charitable contribution deductions, and $204.8 million of the
consolidated NOL carryover and $8.5 million of the consolidated charitable contribution
deduction carryover were allocable to individual members of the ResCap sub-group under
section 1.1502-21 of the Treasury Regulations.1761 This translates to $74.7 million in potential
tax savings (applying a 35% federal income tax rate) generated by ResCap in 2005 that GM
could not use on a current basis.1762 Pursuant to the terms of the Implemented 2005 Tax
Allocation Agreement, this $74.7 million in potential tax savings that GM could not currently
use was added to ResCap’s $272.8 million stand-alone tax liability to determine the total of
$347.5 million that ResCap owed to AFI.1763 Accordingly, AFI billed ResCap $347.5 million in
respect of obligations under the Implemented 2005 Tax Allocation Agreement for 2005.1764




1756 See id. §§ 1.03F, 3.03.

1757 See id. § 1.03F.

1758 See Other 2005 Tax Allocation Agreement, § 1.03E [MELZER.009035].

1759 Allocation of 2005 Tax Liability Analysis, prepared by AFI, at cell H-11 [ALLY_0338098].

1760 Id. at cells H-27, H-29, H-30, H-36 [ALLY_0338098].

1761 See Description of 2005 and 2006 Tax Allocation to ResCap, prepared by W. Marx, dated Nov. 27, 2012, at

    ALLY_0338094 [ALLY_0338094] (“$8,488,654 for the consolidated limitation on charitable contributions
    calculated by GM under Treasury Regulations” and “$204,838,050 for the consolidated net operating loss carry
    forward [sic] allocable to ResCap under Treasury Regulations”).
1762 Allocation of 2005 Tax Liability Analysis, prepared by AFI, at cells G-12, G-20, G-25, G-36 [ALLY_0338098].

1763 Id. at cells E-36, F-36, G-36, H-36.

1764 Id. at cells E-37, F-37, E-38, F-38, G-38.



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ResCap paid to AFI $210.5 million of the bill by March 31, 2006.1765 But before ResCap paid
the remainder of the bill, ResCap contested the $74.7 million portion of the bill regarding
amounts of ResCap tax benefits that GM was not able to use currently.1766

      Around April 2006, Thomas Melzer, one of the Independent Directors, questioned the
provision in the Implemented 2005 Tax Allocation Agreement requiring both GM and AFI to use
ResCap’s tax benefits for ResCap to receive compensation.1767 Melzer had noticed that ResCap
had an income tax receivable on its books that had built up to more than $300 million. This
receivable related to tax benefits generated by ResCap and its subsidiaries from 2001 through
2005 that had not yet been used by GM and AFI under the Implemented 2005 Tax Allocation
Agreement (and previous tax allocation agreements between AFI and the entities that were
transferred to ResCap in March 2005), and, thus, for which ResCap had not yet received
compensation.1768 Melzer thought the requirement that GM and AFI had to be able to use the tax
benefits before ResCap would be entitled to compensation was “very peculiar” and that it was
“inconsistent with the spirit of what had been disclosed in [registration statements filed with the
SEC] with respect to how the tax sharing agreement was described.”1769 The income tax
receivable was in the amount of $346.4 million as of December 31, 2005.1770 GM agreed to
convert the receivable to cash and paid $346.4 million to ResCap in June 2006, in part because of
the pending sale of 51% of AFI to Cerberus.1771 This settlement resulted in ResCap paying to AFI
its stand-alone tax liability of $272.8 million for its 2005 tax year, instead of the $347.5 that was




1765 Id. at cells E-37, G-37.

1766 Id. at cells E-39, F-39.

1767 See Int. of T. Melzer, Oct. 10, 2012, at 147:7–152:22.

1768 See id. at 149:2–150:14; see also Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at

    133–134 [ALLY_0338091] (describing the tax receivable as a result of ResCap’s 2004 and 2005 NOLs,
    charitable contribution deductions, and foreign tax credits that had not been used by GM but instead were
    carried forward by GM).
1769 See Int. of T. Melzer, Oct. 10, 2012, at 149:21–150:25.

1770 The $346.4 million income tax receivable was comprised of potential tax savings that ResCap and its
    subsidiaries generated from 2001 through 2005 but that GM could not yet use. See ResCap’s GM
    Intercompany Receivable as of 6/30/06 [ALLY_0434980].
1771 See Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 133–134 [ALLY_0338091];

    see also Memorandum, AFI-ResCap Tax Sharing, dated Mar. 12, 2013, at 5 (“Because of the pending sale of
    [AFI] at that time, the parties all felt it was appropriate to make a payment to ResCap to settle the
    intercompany receivable in respect of the tax losses generated by the ResCap business.”).

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originally billed by AFI and required under the Implemented 2005 Tax Allocation Agreement.1772
ResCap’s 2005 federal income tax position and related payments to AFI are summarized in Exhibit
V.D.2.c(1)—1, below.




      ResCap generated $515 million in losses in its short tax year ended November 30, 2006.1773
It also had $231.2 million in excess inclusion income,1774 which is a type of income that cannot
be offset by losses.1775 These losses and excess inclusion income netted to a $283.8 million net
loss that ResCap could use on a stand-alone basis by carrying the losses back to 2005 to offset its
income from that year. Applying the 35% federal income tax rate, this $283.8 million net loss
translated to $99.3 million in potential tax savings for the GM consolidated group. In addition,
ResCap generated another tax benefit for GM—$1.7 million in foreign tax credits, which reduce
tax liability dollar-for-dollar. Accordingly, ResCap generated a total of $101 million in potential
tax savings to GM in 2006.1776

      AFI, however, paid ResCap $85.9 million for ResCap’s tax benefits generated in the tax
year ending November 30, 2006.1777 The payment was based on estimates of ResCap’s tax
attributes and GM’s and AFI’s use of the tax attributes as of the completion of the final closing
balance sheet of AFI in connection with the Cerberus transaction.1778 The parties to the

1772 Cf. Description of 2005 and 2006 Tax Allocation to ResCap, prepared by W. Marx, dated Nov. 27, 2012, at

    ALLY_0338094 [ALLY_0338094] (“Thus, ResCap received full benefit for its 2005 NOL’s and charitable
    contributions despite language in the tax allocation agreement that would have limited the current benefit.”).
1773 Reconciliation
                of Taxable Income through November 30, 2006 Analysis, prepared by AFI, at cell J-11
    [ALLY_0338099].
1774 ResCap Consolidated 2006 Tax True-up and Carryback Refund Analysis, prepared by AFI [ALLY_0424686].

1775 See I.R.C. § 860E(a); see also Treas. Reg. § 1.860E–1(a)(1).

1776 GMAC Mortgage Group, Inc. and Subsidiaries’ Liability for 2006 U.S. Federal Income Tax Year Ended
    November 30, 2006, prepared by AFI, at tab MTG GROUP, cell O-36 [ALLY_0208453].
1777 Reconciliationof Taxable Income through November 30, 2006 Analysis, prepared by AFI, at cell L-15
    [ALLY_0338099]; see also Description of 2005 and 2006 Tax Allocation to ResCap, prepared by W. Marx,
    dated Nov. 27, 2012, at ALLY_0338095–96 [ALLY_0338094].
1778 See Description of 2005 and 2006 Tax Allocation to ResCap, prepared by W. Marx, dated Nov. 27, 2012, at

    ALLY_0338094–96 [ALLY_0338094].

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Implemented 2005 Tax Allocation Agreement later updated the calculation of the tax benefit
generated by ResCap when the 2006 GM consolidated federal income tax return was prepared
in mid-2007, but AFI made no additional payments to ResCap on account of an increased tax
benefit reflected in the updated calculation.1779

     In addition, when AFI and ResCap first estimated the amount of tax attributes that ResCap
had generated, the parties believed that GM would have to carry forward consolidated NOLs
and consolidated capital losses from 2006 and that ResCap’s allocable share of these loss
carryovers was estimated to be $78.6 million.1780 Applying the 35% federal income tax rate, this
$78.6 million portion of GM’s loss carryover represented $27.5 million of the total $101 million
potential tax savings generated by ResCap that the parties originally believed that GM could not
use in 2006. During the Investigation, the Examiner’s Professionals spoke with GM’s tax staff,
who stated that GM has used all of its 2006 losses, including any losses it inherited from
ResCap in 2006 upon ResCap’s conversion to a disregarded entity.1781 Consequently, GM and
AFI have used all of the $101 million in tax savings generated by ResCap.

     The Implemented 2005 Tax Allocation Agreement provided that it would terminate when
ResCap Group left the GM consolidated group but would “continue to apply to all years and
that part of a year ending prior to the date of termination.”1782 Upon ResCap’s conversion to a
disregarded entity, ResCap was severed from the GM consolidated group, the Implemented
2005 Tax Allocation Agreement terminated, and ResCap’s unused 2006 losses were inherited
by GM via ResCap’s deemed liquidation under federal tax law. Nevertheless, the termination
clause of the Implemented 2005 Tax Allocation Agreement provided that ResCap would still
be entitled to compensation under the agreement for tax benefits generated by ResCap and
used by GM at any time, even after the agreement terminated (presumably as long as AFI
could also use the tax benefits before it left the GM consolidated group, which is not at issue).
NOLs can be carried forward for twenty years; whereas, capital losses can be carried forward
for five years.1783 Now that GM tax staff has confirmed that GM has used all of the 2006
ResCap tax benefits, ResCap should be entitled to $15.1 million in additional compensation
from AFI under the Implemented 2005 Tax Allocation Agreement. In addition, the Examiner
notes that ResCap also would have been entitled to the additional $15.1 million under the
Other 2005 Tax Allocation Agreement, where use by GM was not a prerequisite to ResCap
receiving compensation.
1779 See id. at ALLY_0338095–96.

1780 Reconciliation of Taxable Income through November 30, 2006 Analysis, prepared by AFI, at cell J-14
    [ALLY_0338099]; see also Description of 2005 and 2006 Tax Allocation to ResCap, prepared by W. Marx,
    dated Nov. 27, 2012, at ALLY_0338095 [ALLY_0338094] (“This was an estimate based on how much of
    ResCap’s losses would not generate a current year benefit to the GM Group and thus not be paid to ResCap
    under the allocation agreement.”). Moreover, AFI’s ability to use all of ResCap’s tax benefits does not appear
    to have been in doubt under the documents calculating the amount owed to ResCap for its tax year ending
    November 30, 2006 under the Implemented 2005 Tax Allocation Agreement.
1781 Conference call with GM’s tax staff and internal counsel (Apr. 17, 2013).

1782 Implemented 2005 Tax Allocation Agreement, § 6.08 [ALLY_0178779].

1783 I.R.C. §§ 172(b)(1)(A)(ii), 1212(a)(1)(B).



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      ResCap’s federal income tax position for the tax year ending November 30, 2006 and
related payments under the Implemented 2005 Tax Allocation Agreement are summarized in
Exhibit V.D.2.c(1)—2 below.




                 (2) 2006 Tax Allocation Agreement

     The 2006 Tax Allocation Agreement applied to income taxes imposed only by state and
local jurisdictions that did not treat ResCap as a disregarded entity and that taxed ResCap and
AFI on a combined or unitary basis.1784 This tax allocation agreement was the only one in effect
from December 1, 2006 through June 30, 2009. ResCap paid a total of $1.2 million to AFI under
the 2006 Tax Allocation Agreement.1785

     It is not clear whether the tax allocation agreement required to be in place under section
2(b)(iii) of the 2006 Amended Operating Agreement must apply to federal income taxes or state
and local income taxes, or both.

     ResCap did not have to make payments in respect of federal income taxes on any income it
generated from December 1, 2006 through June 30, 2009 because it was not a taxpayer under
federal tax law and it was not subject to a tax allocation agreement covering federal income
taxes. ResCap likewise had no right to receive compensation for any tax benefits that it
generated during this period. As it turned out, ResCap generated substantial tax benefits that

1784 See 2006 Tax Allocation Agreement, at ALLY_0178791 [ALLY_0178779]. Although the 2006 Tax Allocation

   Agreement makes some passing references to a few federal tax concepts, such as the IRS and the Internal
   Revenue Code, the agreement apparently did not apply with respect to federal income taxes. It was intended to
   apply with respect to income taxes in only those state and local jurisdictions that did not treat ResCap as a
   disregarded entity. See Letter from W. Marx to J. Young (Nov. 13, 2008), at ALLY_0178792 [ALLY_0178779]
   (“[T]his agreement is effective only with respect to those very few jurisdictions that treat ResCap as a taxable
   entity and only where ResCap would file a combined or unitary return with [AFI].”).
1785 Residential Capital, LLC Tax Payment Detail Analysis, prepared by AFI, at tab Tax Payment Support, cells F-8,

   F-9, F-10, F-11[ALLY_PEO_0079528] ($0.1 million for AFI’s tax year ending December 31, 2006, $0.9
   million for AFI’s 2007 tax year, $0.1 million for AFI’s 2008 tax year, and less than $0.1 million for AFI’s tax
   year ending June 30, 2009); see also Residential Capital, LLC U.S. Federal, State, and Local Tax Allocations
   Analysis, prepared by AFI, at cells N-10, N-12, N-14, N-16 [ALLY_PEO_0079527].

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passed through to GM and Cerberus during this period, which amounts are summarized in
Exhibit V.D.2.c(2), below. ResCap also generated $28.6 million in excess inclusion income in
2008 that GM and Cerberus had to recognize.1786




                (3) First 2009 Tax Allocation Agreement And Second 2009 Tax Allocation
                    Agreement

     At first glance, the Second 2009 Tax Allocation Agreement, which has ostensibly been in
effect since November 1, 2009, appears to be a pure stand-alone agreement in that ResCap is
obligated to pay to AFI its hypothetical separate tax liability each year.1787 A closer look,
however, reveals that the agreement is significantly worse for ResCap than a pure stand-alone
agreement because there is nothing in the agreement that would require AFI to make a payment
to ResCap of a refund that ResCap might be entitled to on a stand-alone basis.1788 In fact, there is
no provision in the Second 2009 Tax Allocation Agreement that permits any possibility of




1786 See
       GMAC LLC, U.S. Return of Partnership Income (I.R.S. Form 1065) for Calendar Year 2008, at
    ALLY_03900052, –083, –114[ALLY_0390037].
1787 Second 2009 Tax Allocation Agreement, §§ 1.03D, 2.03 [RC40016871].

1788 See id.



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payments being made to ResCap.1789 ResCap could only take into account the tax benefits it
generates as carryovers in calculating its positive tax liability on a stand-alone basis for a
future year.1790

      The Second 2009 Tax Allocation Agreement does not meet the requirement of the 2006
Amended Operating Agreement that it “shall provide for two-way sharing payments based on
the separately calculated tax liability or benefit of ResCap.”1791 Nor does the Second 2009 Tax
Allocation Agreement meet the standard set by the ResCap Board when it approved the First
2009 Tax Allocation Agreement—that the agreement be “on terms not more disadvantageous in
any material respect to the holders of [ResCap’s] notes than those existing tax allocation
agreement(s) [it is] intended to replace[.]”1792 First, the 2006 Tax Allocation Agreement, which
was a pure stand-alone agreement, explicitly provided that ResCap would be paid by AFI if
ResCap generated a net tax benefit for a tax year.1793 Second, the more appropriate comparison
is between the Second 2009 Tax Allocation Agreement and having no tax allocation agreement
in place for federal income tax purposes because there had been no such tax allocation
agreement in place since the Implemented 2005 Tax Allocation Agreement terminated on
November 30, 2006. Viewed from this perspective, the Second 2009 Tax Allocation Agreement
was certain to be more disadvantageous to ResCap than leaving ResCap alone as a disregarded
entity that had no obligation to make any payments on account of federal income taxes.




1789 See   id. Marx and Young each testified that he believed the agreement provided for the possibility that
    ResCap could receive a payment from AFI if ResCap were in a position of having NOLs that it could carry
    back to a previous tax year in which it had income. See Int. of W. Marx, Apr. 18, 2013, at 134:3–136:7; Int.
    of J. Young, Apr. 22, 2013, at 205:5–206:11. The agreement, however, does not provide for this treatment.
    ResCap can use NOLs only as carryovers in reducing the amount of its positive stand-alone tax liability in
    future years. See Second 2009 Tax Allocation Agreement, § 1.03D [RC40016871] (“For the avoidance of
    doubt, any [tax benefits] that are generated by the ResCap Group in any taxable period (to the extent not
    previously utilized pursuant to this sentence in prior periods) shall be taken into account and treated as
    available and unutilized in determining the Separate ResCap Group Tax Liability for any subsequent periods
    . . . .”). Furthermore, the reference to a carryback in section 5.02 of the agreement does not appear to allow
    ResCap to receive compensation for NOLs that it could carry back to a previous year under federal tax law if
    it were a taxpayer because section 5.02 applies to only a “change or adjustment to any item relating to the
    computation of payments” under the agreement, and NOL carrybacks would not generally be considered
    “changes” or “adjustments.” Id. § 5.02.
1790 See Second 2009 Tax Allocation Agreement, § 1.03D [RC40016871] (“For the avoidance of doubt, any [tax

    benefits] that are generated by the ResCap Group in any taxable period (to the extent not previously utilized
    pursuant to this sentence in prior periods) shall be taken into account and treated as available and unutilized
    in determining the Separate ResCap Group Tax Liability for any subsequent periods . . . .”).
1791 2006 Amended Operating Agreement, § 2(b)(iii) [ALLY_0041818].

1792 Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Aug. 6, 2010, at

    RC40018822 [RC40018729].
1793 2006 Tax Allocation Agreement, § 3.03 [ALLY_0178779] (“In the event the Separate ResCap Group Tax

    Liability is a refund, [AFI] shall pay ResCap, or such other payee as may be required under the law.”).

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    ResCap generated $1.44 billion in ordinary losses and $1.63 billion in capital losses
between November 1, 2009 and through December 31, 2012 (including projections for the
2012 calendar year as of September 30, 2012).1794 These ResCap losses are summarized in
more detail in Exhibit V.D.2.c(3)—1, below.1795




These ordinary losses and capital losses flowed up to AFI for use within its consolidated group
under federal tax law. Nevertheless, under the Second 2009 Tax Allocation Agreement,
ResCap was not entitled to compensation for AFI’s use of those substantial tax benefits.




1794 SeeOrdinary & Capital Losses Generated by ResCap Companies Analysis, prepared by AFI
    [ALLY_0424653].
1795 See id.; cf. ResCap Consolidation, Pro Forma U.S. Corporation Income Tax Return (I.R.S. Form 1120) for

    Tax Year Ending Dec. 31, 2009, at ALLY_0337325 [ALLY_0337325]; 2009 ResCap Reconciliation of Book
    Income to Tax Return Analysis, prepared by AFI, at tab Summary, cells I-19, J-19 [ALLY_0337324]
    (showing $(604.3 million) ordinary loss (after netting out excess inclusion income) and $(6.7 million) capital
    loss); ResCap Consolidation, Pro Forma U.S. Corporation Income Tax Return (I.R.S. Form 1120) for
    Calendar Year 2010, at ALLY_0337040 [ALLY_0337039]; 2010 ResCap Reconciliation of Book Income to
    Tax Return Analysis, prepared by AFI, at tab Summary, cells I-18, J-18 [ALLY_0337158] (showing $125.2
    million ordinary income (after netting out excess inclusion income) and $(1.4 billion) capital loss); ResCap
    Consolidation, Pro Forma U.S. Corporation Income Tax Return (I.R.S. Form 1120) for Calendar Year 2011,
    at ALLY_0336318 [ALLY_0336317]; 2011 ResCap Reconciliation of Book Income to Tax Return Analysis,
    prepared by AFI, at tab Summary, cells I-19, J-19 [ALLY_0337157] (showing $(293.6 million) ordinary loss
    (after netting out excess inclusion income) and $(9.07 million) capital loss).

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     ResCap also generated $83 million in excess inclusion income from November 2, 2009 to
December 31, 2011,1796 on which ResCap paid $29 million to AFI (after applying a 35% federal
income tax rate).1797 Furthermore, AFI billed ResCap an additional $3 million in tax on excess
inclusion income that was generated from July 1, 2009 to November 1, 2009, which was before
the Second 2009 Tax Allocation Agreement’s effective date.1798 ResCap was also projected to
generate $50.6 million of excess inclusion income for the 2012 year as of September 30,
2012,1799 which would obligate it to pay $17.7 million to AFI under the Second 2009 Tax
Allocation Agreement (at a 35% federal income tax rate). In contrast, ResCap would not have
had to make any payments on account of excess inclusion income had it not entered into the
Second 2009 Tax Allocation Agreement. If ResCap was left without a tax allocation agreement
regarding federal income taxes, ResCap would not have been responsible for any tax liability as
a disregarded entity. The excess inclusion income generated by and payments made by ResCap
under the Second 2009 Tax Allocation Agreement are summarized in Exhibit V.D.2.c(3)—2,
below.1800




1796 See Ordinary & Capital Losses Generated by ResCap Companies Analysis, prepared by AFI [ALLY_0424653];

   see also Residential Capital, LLC Tax Payment Detail Analysis, prepared by AFI, at tab Federal Breakout, cells
   E-21, F-31, F-45 [ALLY_PEO_0079528].
1797 See Residential Capital, LLC Tax Payment Detail Analysis, prepared by AFI, at tab Tax Payment Support, cells

   D-12, D-13, D-14, D-16 [ALLY_PEO_0079528].
1798 See id. at cell D-12 & tab Federal Breakout, cell F-21 [ALLY_PEO_0079528] (showing that ResCap was billed

   $6.144 million based on $17.6 million excess inclusion income from July 1, 2009 to December 1, 2009, instead
   of $2.8 million, which would apply the 35% federal income tax rate to $7.9 million of ResCap excess inclusion
   income from November 2, 2009 to December 31, 2009); see also Ordinary & Capital Losses Generated by
   ResCap Companies Analysis, prepared by AFI [ALLY_0424653] (showing that $9.6 million of ResCap excess
   inclusion income related to July 1, 2009 to November 1, 2009 and that $7.9 million of ResCap excess inclusion
   income related to November 2, 2009 to December 31, 2009).
1799 See Ordinary & Capital Losses Generated by ResCap Companies Analysis, prepared by AFI [ALLY_0424653].

1800 See id.; see also Residential Capital, LLC Tax Payment Detail Analysis, prepared by AFI, at tab Tax Payment

   Support, cells D-12, D-13, D-14, D-16[ALLY_PEO_0079528]; cf. ResCap Consolidation, Pro Forma U.S.
   Corporation Income Tax Return (I.R.S. Form 1120) for Tax Year Ending Dec. 31, 2009, at ALLY_0337325
   [ALLY_0337325]; 2009 ResCap Reconciliation of Book Income to Tax Return Analysis, prepared by AFI, at
   tab Summary, cells I-19, J-19 [ALLY_0337324] (showing $(604.3 million) ordinary loss (after netting out
   excess inclusion income) and $(6.7 million) capital loss); ResCap Consolidation, Pro Forma U.S. Corporation
   Income Tax Return (I.R.S. Form 1120) for Calendar Year 2010, at ALLY_0337040 [ALLY_0337039]; 2010
   ResCap Reconciliation of Book Income to Tax Return Analysis, prepared by AFI, at tab Summary, cells I-18, J-
   18 [ALLY_0337158] (showing $125.2 million ordinary income (after netting out excess inclusion income) and
   $(1.4 billion) capital loss); ResCap Consolidation, Pro Forma U.S. Corporation Income Tax Return (I.R.S. Form
   1120) for Calendar Year 2011, at ALLY_0336318 [ALLY_0336317]; 2011 ResCap Reconciliation of Book
   Income to Tax Return Analysis, prepared by AFI, at tab Summary, cells I-19, J-19 [ALLY_0337157] (showing
   $(293.6 million) ordinary loss (after netting out excess inclusion income) and $(9.06 million) capital loss).

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     If ResCap and AFI had followed the First 2009 Tax Allocation Agreement, which the
ResCap Board approved on August 6, 2010, AFI would have to pay ResCap for use of its tax
benefits, regardless of whether ResCap could use its tax benefits on a stand-alone basis.1801 This
provision in the First 2009 Tax Allocation Agreement differs from stand-alone treatment for
ResCap. This provision can only be beneficial to ResCap; that is, it may allow ResCap to
monetize its tax benefits either earlier than if it had filed as a stand-alone taxpayer or, in some
cases where the tax benefits would have expired and been permanently lost, where it would not
have been able to monetize the tax benefits at all if it had filed as a stand-alone taxpayer.1802

     It does not appear that AFI used any of ResCap’s tax benefits generated since November 1,
2009 on a “but for” basis through the 2012 tax year.1803 ResCap and AFI, however, had
interpreted use to be based on the allocation principles provided in section 1.1502-21 of the




1801 See First 2009 Tax Allocation Agreement, § 1.03D [RC40016362].

1802 See Joint ResCap-AFI Tax Memorandum to ResCap Board, at RC40016377 [RC40016362].

1803 See Ally Federal Tax Benefit from ResCap Losses, July 1, 2009 through December 31, 2012, prepared by AFI,

   at ALLY_0424652 [ALLY_0424651]. For an explanation of how use of tax benefits is determined on a “but
   for” basis, see Section V.D.2.c(1).

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Treasury Regulations under the Implemented 2005 Tax Allocation Agreement,1804 so it would
make sense that the parties would apply the same interpretation under the First 2009 Tax
Allocation Agreement, if it were in effect. The Investigation has not uncovered any
information on the amount of ResCap’s tax benefits that were used by AFI under the
principles of section 1.1502-21 of the Treasury Regulations because ResCap and AFI have
been following the Second 2009 Tax Allocation Agreement instead of the First 2009 Tax
Allocation Agreement.

      Nevertheless, AFI’s current projections indicate that AFI considers it likely that it will
start using ResCap’s tax benefits in 2013, even on a “but for” basis.1805 First, AFI expects to
have used almost all of its NOLs and capital losses from subsidiaries other than ResCap and
its subsidiaries by the end of 2012.1806 Based on this expectation, any use of tax benefits by
AFI in 2013 is likely to be attributable to ResCap’s tax benefits. Second, AFI recently
recorded $1.33 billion in income on its books for the fiscal year ended December 31, 2012 to




1804 See E-mail from J. Aretakis (Jan. 4, 2006), at EXAM10170854 [EXAM10170853] (GM’s use of ResCap’s

    NOLs under the Implemented 2005 Tax Allocation Agreement is “governed by Treasury Regulations that
    mandate the allocation of a consolidated net operating loss carryforward to individual members [of a
    consolidated group] upon deconsolidation.”); see also Memorandum, AFI-ResCap Tax Sharing, dated
    Mar. 20, 2013, at 2 (“The initial allocations limited ResCap’s benefit for 2005 losses to the amount of those
    losses treated as absorbed by taxable income of non-ResCap entities on the 2005 GM consolidated return.
    ResCap was left with loss carryforwards to the extent it was allocated consolidated net operating loss under
    Treas. Reg. §1.1502-21.”); Memorandum, AFI-ResCap Tax Sharing, dated Mar. 12, 2013, at 5 (“The initial
    tax allocation calculations interpreted the [Implemented 2005 Tax Allocation Agreement] in accordance with
    the principles of Section 1.1502-21 of the Treasury regulations . . . .”); Description of 2005 and 2006 Tax
    Allocation to ResCap, prepared by W. Marx, dated Nov. 27, 2012, at ALLY_0338094 [ALLY_0338094]
    (“add back to taxable income . . . for the consolidated net operating loss carry forward [sic] allocable to
    ResCap under Treasury Regulations”).
1805 For an explanation of how use of tax benefits is determined on a “but for” basis, see Section V.D.2.c(1).

1806 See Ally Federal Tax Benefit from ResCap Losses, July 1, 2009 through December 31, 2012, prepared by

    AFI, at ALLY_0424652 [ALLY_0424651].

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reflect a release of its deferred tax asset valuation allowance.1807 Consistent with the
conservatism principle of GAAP with regard to asset realization, accounting rules generally
require a thorough analysis of the likelihood of the realization of tax assets.1808 A company
must reduce its deferred tax assets “by a valuation allowance if, based on the weight of
available evidence, it is more likely than not (a likelihood of more than 50 percent) that some
portion or all of the deferred tax assets will not be realized.”1809 The determination requires the
company to assess “the weight of all available evidence, both positive and negative, with
greater weight placed on information that is objectively verifiable,”1810 and “there is a basic
requirement to reduce the measurement of deferred tax assets not expected to be realized.”1811
Deferred tax assets typically consist of tax benefits that are required to be recognized later
under income tax law than under GAAP for financial reporting purposes, which include items
such as NOL carryovers and capital loss carryovers. Since AFI has already used almost all of
its NOLs and capital losses from subsidiaries other than ResCap, most, if not almost all, of the
deferred tax asset valuation allowance that AFI released probably relates to ResCap NOL
carryovers and capital loss carryovers. Accordingly, the release suggests that AFI considers it
more likely than not that it will realize about $1.33 billion in tax savings generated by ResCap
in the near future.




1807 See ALLY FINANCIAL INC., 4Q EARNINGS REVIEW (Feb. 5, 2013), at 10, http://phx.corporate-ir.net/
    External.File?item=UGFyZW50SUQ9MTcwNDI4fENoaWxkSUQ9LTF8VHlwZT0z&t=1; see also AFI,
    Press Release, Ally Financial Reports Preliminary Fourth Quarter and Full Year 2012 Financial Results
    (Feb. 5, 2013), http://media.ally.com/2013-02-05-Ally-Financial-Reports-Preliminary-Fourth-Quarter-and-
    Full-Year-2012-Financial-Results.
1808 “The accounting   for income taxes under ASC 740 is sometimes very specific and can be complex. An
    entity’s primary objective in accounting for income taxes under ASC 740 is to reflect its after-tax financial
    position in its balance sheet. To accomplish this objective, an entity employs the balance sheet model for
    recording current and deferred taxes.” DELOITTE & TOUCHE LLP, A ROADMAP TO ACCOUNTING FOR
    INCOME TAXES § 1.01 (2011).
1809 ACCOUNTING STANDARDS CODIFICATION § 740-10-30-5(e) (Fin. Accounting Standards Bd. 2013).

1810 DELOITTE & TOUCHE LLP, A ROADMAP TO ACCOUNTING FOR INCOME TAXES § 4.120 (2011).

1811 ACCOUNTING STANDARDS CODIFICATION § 740-10-30-16 (Fin. Accounting Standards Bd. 2013).



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     Moreover, it appears that AFI will have a total of $5.056 billion in ResCap losses
available for use as of the end of the tax year in which the Chapter 11 Cases conclude, which
translates to $1.77 billion in potential tax savings (applying a 35% federal income tax rate),
based on information in the tax basis balance sheet for ResCap as of December 31, 2012 and
the expected total amount of asset recoveries for the creditors as laid out in a waterfall analysis
prepared by FTI.1812 AFI’s counsel reported to the Examiner’s Professionals that AFI expects
to use “by the end of 2014 a substantial portion of the losses generated by ResCap’s
operations that will not have been offset by [cancellation of debt income].”1813 Consequently,
it appears that AFI may eventually use all of the $1.77 billion in tax savings generated by
ResCap. AFI’s use of the $1.77 billion in tax savings would trigger an AFI obligation to pay to
ResCap that amount for such use if the First 2009 Tax Allocation Agreement were in effect.


1812 ResCap has total tax liabilities in the amount of $10.154 billion and a total tax basis in its assets of $11.387

    billion as of December 31, 2012. See Residential Capital, LLC Tax Basis Balance Sheet as of December 31,
    2012 [ALLY_PEO_0094436]. In addition, according to the mid-range of FTI’s waterfall analysis, the total
    recovery for the creditors is expected to be $6.233 billion. See Draft Hypothetical Waterfall Analysis,
    prepared by FTI, dated Aug. 16, 2012, at EXAM00176584 [EXAM00176577]. Furthermore, ResCap
    generated $1.444 billion in NOLs and $1.629 billion in capital losses from November 2, 2009 to
    December 31, 2012. See Ordinary & Capital Losses Generated by ResCap Companies Analysis, prepared by
    AFI [ALLY_0424653]. Based on these numbers, the $1.77 billion in ResCap benefits available for AFI’s use
    is calculated as follows:
    Expected amount of cancellation of debt income (in millions)
                    ResCap tax liabilities                                             $ 10,154
                      Less creditors’ expected recovery*                                – 6,233
                                                                                       $ 3,921*
    Amount of built-in losses expected to be realized by ResCap during the Chapter 11 Cases (in millions)
                    Creditors’ expected recovery                                      $    6,233
                      Less assumed contribution by AFI to creditors’ recovery           –    750
                      Less tax basis in ResCap assets                                   – 11,387
                                                                                      $ -5,904
    Amount of ResCap tax benefits available for AFI’s use (in millions)
                    ResCap NOLs generated (11/2/2009 – 12/31/2012)                     $ 1,444
                    ResCap capital losses generated (11/2/2009 – 12/31/2012)            + 1,629
                    ResCap losses to be realized during Chapter 11 cases                + 5,904
                      Less expected amount of cancellation of debt income               – 3,921
                                                                                       $ 5,056
                    Federal income tax rate                                            ×    35%
                                                                                       $ 1,770

    * The $6.233 million estimate of the creditors’ expected recovery in the above calculation assumes that
    AFI contributes $750 million towards the creditors’ recovery. Any additional amount that AFI
    contributes towards the recovery would reduce cancellation of debt income on a dollar-for-dollar basis.
1813 Memorandum, AFI-ResCap Tax Sharing, dated Mar. 12, 2013, at 2.



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    3. ResCap’s Conversion To A Disregarded Limited Liability Company And Payment Of
       LLC Conversion Dividend

             a. ResCap’s Conversion To A Limited Liability Company And Change In Tax
                Classification To A Disregarded Entity

      As discussed in Section V.D.2.a, ResCap converted from a corporation to a limited
liability company effective October 24, 2006,1814 and elected to be treated as a disregarded
entity for federal income tax purposes effective November 21, 2006.1815 The change in
classification of ResCap to a disregarded entity was required by Cerberus as a condition to its
acquisition of AFI.1816 Moreover, becoming a disregarded entity provided ResCap with the
potential for relief from future federal income tax liabilities to the extent that ResCap were to
generate income.

     In connection with ResCap’s conversion from a corporation to a disregarded entity on
November 21, 2006, ResCap paid a $575 million installment of the LLC Conversion Dividend
to AFI on November 28, 2006, which amount was tied to the estimated increase in equity
ResCap received by eliminating all tax assets accounts and tax liabilities accounts from its
balance sheet.1817

             b. LLC Conversion Dividend

     The declaration of the LLC Conversion Dividend appears to have been driven by a desire
of GM to receive a dividend from ResCap prior to GM completing its sale of 51% of AFI to
Cerberus, at which time there was insufficient dividend capacity at ResCap for a standard
dividend based on restrictions in the 2005 Operating Agreement. During the middle of 2006,
numerous attempts were made by ResCap’s staff and officers to track ResCap’s dividend
capacity under the restrictions in the 2005 Operating Agreement.1818 ResCap first had
considered during June and July 2006 a request by GM that it declare a $250 million dividend


1814 Certificate of Conversion to Limited Liability Company of Residential Capital Corporation to Residential

    Capital, LLC, dated Oct. 24, 2006 [ALLY_0003761].
1815 See
       Memorandum, Final Tax Liabilities Allocated from GM, dated Jan. 25, 2008, at ALLY_0208456
    [ALLY_0208456].
1816 But see Residential Capital, LLC Rating Agency Review Presentation, dated Nov. 2006, at 4
    [EXAM10124762] (stating that Cerberus provided numerous benefits to ResCap in connection with
    Cerberus’s purchase of 51% of AFI).
1817 Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 80.

1818 See, e.g., ResCap Presentation
                                 on Dividend Restrictions [EXAM10129727] (attached to E-mail from D.
    Olson (July 21, 2006) [EXAM10129726]); Dividend Capacity Analysis, prepared by ResCap, dated June 14,
    2006 [EXAM11332217] (attached to E-mail from T. Rowe (June 14, 2006) [EXAM11332216]); E-mail from
    D. Olson (June 13, 2006) [EXAM11241506]; E-mail from T. Rowe (June 14, 2006) [EXAM11241506];
    GMAC Dividend and Sub Debt Balance Analysis, prepared by ResCap, dated June 12, 2006
    [EXAM11335577] (attached to E-mail from J. Malloy (June 12, 2006) [EXAM11335576]).

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“in conjunction with the second quarter gain on the sale of ResCap’s interest in WL
Homes.”1819 This proposed dividend was not related to the conversion, and the ResCap Board
decided to delegate to its executive committee the authority to declare the dividend.1820 There
is no evidence, however, that such a dividend was ever authorized or made.

      By August 30, 2006, ResCap began to consider a dividend based on the amount of net deferred
tax liabilities that were expected to be released upon its conversion to a disregarded entity.1821
ResCap officers worked on creating a report to the ResCap Board regarding the LLC Conversion
Dividend from around September 25, 2006 to October 19, 2006,1822 when James Giertz, ResCap’s
Chief Financial Officer at the time, presented the report at a Special Meeting of the ResCap
Board.1823 At that October 19, 2006 meeting, the ResCap Board discussed a “dividend equal to the
estimated amount of net deferred tax liability released in connection with the conversion of [ResCap]
to a limited liability company . . . .”1824 The ResCap Board and ResCap officers also discussed at
the meeting the need to amend the 2005 Operating Agreement to permit the LLC Conversion
Dividend and to establish a comprehensive ResCap dividend strategy.1825 Giertz recommended
that the ResCap Board delegate the decision to declare the LLC Conversion Dividend to the
ResCap Board’s Executive Committee;1826 the ResCap Board deferred its decision to a future
meeting.1827

      ResCap prepared a Rating Agency Review presentation in November 2006 in which it was
stated that the LLC Conversion Dividend, which was estimated as of September 30, 2006 would be


1819 Minutes of a Regular Meeting of the Board of Directors of Residential Capital Corporation, June 22, 2006, at

    RC40006797 [RC40006748]; see also E-mail from C. Quenneville (July 21, 2006), at EXAM11340616
    [EXAM11340616] (providing comments on the draft report to the ResCap Board in support of declaring a
    $250 million dividend).
1820 See Minutes of a Special Meeting of the Board of Directors of Residential Capital Corporation, July 24,

    2006, at RC40006800 [RC40006748].
1821 See E-mail from D. Schaeffer (Aug. 30, 2006), at EXAM10163555 [EXAM10163554] (asking whether
    ResCap’s dividend plans should continue to exclude an “incremental assumed dividend” relating to an
    estimated $450 million in net deferred tax liabilities that would become income upon conversion).
1822 See Minutes of a Special Meeting of the Board of Directors of Residential Capital Corporation, Oct. 19,

    2006, at RC40006814–15 [RC40006748]; E-mail from D. Marple (Oct. 3, 2006) [EXAM10259033]
    (describing the LLC Conversion Dividend as “a waiver of essentially ‘found money’ in ResCap’s pocket”
    and attaching a draft report to the ResCap Board on the LLC Conversion Dividend for review and comment);
    E-mail from D. Marple (Sept. 25, 2006) [EXAM10250748] (attaching the initial draft of the report to the
    ResCap Board on the LLC Conversion Dividend for review and comment).
1823 See Minutes of a Special Meeting of the Board of Directors of Residential Capital Corporation, Oct. 19,

    2006, at RC40006814 [RC40006748].
1824 Id.

1825 See id. at RC40006814–15.

1826 See id. at RC40006814.

1827 See id. at RC40006815.



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in the amount of $570 million, would have “[n]o impact to ResCap’s capital position—net effect to
ResCap of making this dividend is primarily timing of the cash outflow.”1828 The Examiner
assumes that this was intended to mean that the LLC Conversion Dividend was viewed as an
acceleration of the payment of future tax obligations that ResCap would have had to pay as a
corporate taxpayer had it not converted to a disregarded entity. Moreover, the Examiner notes
that ResCap’s conversion to a disregarded entity did not have to result in ResCap’s net equity
increasing. AFI and ResCap were free to agree to enter into a new tax allocation agreement
covering federal income taxes or to provide in ResCap’s operating agreement that ResCap
would have stand-alone federal income tax liability responsibilities. This arrangement is not
unusual between pass-through entities. Had AFI and ResCap taken this course, ResCap’s net
tax liabilities would have stayed on its books, its net equity would not have increased, and GM
would have lost its ability to justify the LLC Conversion Dividend as having no impact on
ResCap’s equity when combined with the effects of the conversion.

      At the November 20, 2006 Special Meeting of the ResCap Board, Giertz presented another
report, in which he recommended that the ResCap Board amend the 2005 Operating Agreement
to exclude the LLC Conversion Dividend from the formula restrictions for calculating ordinary
dividend capacity and delegate the decision to declare the LLC Conversion Dividend to the
Board’s Executive Committee.1829 Although it appears that ResCap had the requisite liquidity to
declare the LLC Conversion Dividend, the 2005 Operating Agreement contained a restriction
that limited authority to declare dividends based on the amount of ResCap’s “Cumulative Net
Income” as reported in its last quarterly financial statements.1830 The proposal to amend the
2005 Operating Agreement to provide special treatment for the LLC Conversion Dividend
suggests that the LLC Conversion Dividend could not comply with the usual standards for
ResCap dividends.1831 Nevertheless, the ResCap Board unanimously agreed to “permit the LLC
Tax Dividend and not subject it to the dividend restrictions contained in the Operating
Agreement . . . .”1832 The ResCap Board delegated the authority to declare the LLC Conversion
Dividend to its executive committee.1833 The Independent Directors were not members of the
1828 Residential Capital, LLC Rating Agency Review Presentation, dated Nov. 2006, at 9 [EXAM10124762].

1829 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 20, 2006, at

    RC40006837 [RC40006748].
1830 See  Residential Capital, LLC Presentation to the Board of Directors Regarding Capital Budgeting
    Considerations, dated Oct. 9, 2006, at MELZER.002825, –27, –32 [MELZER.002821] (showing sufficient
    liquidity to pay a $450 million LLC Conversion Dividend but stating that a waiver of dividend restrictions in
    the 2005 Operating Agreement would be required to declare the LLC Conversion Dividend); see also 2005
    Operating Agreement [MELZER.004869] (defining “Cumulative Net Income” as the “net income of ResCap
    . . . for the period beginning with the first date of the first fiscal quarter beginning after the date of this
    Agreement and ending on the last day of the fiscal quarter ending immediately preceding the date as of which
    a determination of Cumulative Net Income is required”).
1831 Compare 2006 Amended Operating Agreement, § 2(d)(ii) [ALLY_0041818], with 2005 Operating
    Agreement, § 2(d)(ii) [MELZER.004869].
1832 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 20, 2006, at

    RC40006837 [RC40006748].
1833 See id.



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executive committee.1834 In addition, the ResCap Board authorized its executive committee to
declare the LLC Conversion Dividend in an amount “equal to the estimated net increase in
equity resulting from the release of all tax-related accounts” of ResCap, as opposed to basing the
size of the LLC Conversion Dividend on the increase in equity attributable to the release of only
the net deferred tax liabilities that was previously proposed and discussed at the October 19,
2006 ResCap Board meeting.1835 This change in the breadth of accounts to be released and taken
into account in sizing the LLC Conversion Dividend decreased the authorized amount of the
LLC Conversion Dividend because ResCap had net current tax assets, not net current tax
liabilities, upon its conversion to a disregarded entity.

     On November 27, 2006, Giertz presented a report at a Special Meeting of the Executive
Committee, which stated that “[m]anagement’s most recent estimate of the Released Amount
is $570 million as of September 30, 2006.”1836 The Executive Committee unanimously
declared the LLC Conversion Dividend and allowed it to be paid in one or more
installments.1837

      ResCap paid the first installment of the LLC Conversion Dividend in the amount of $575
million on November 28, 2006.1838 In January 2007, ResCap began to calculate more precisely the
amount of the increase in net equity that resulted from the release of all tax-related accounts upon
its conversion to a disregarded entity.1839 It became apparent that the $575 million first installment
was larger than the actual net equity increase amount and, accordingly, AFI would have to make a
capital contribution to ResCap to true-up the LLC Conversion Dividend.1840 Young, ResCap’s
Chief Accounting Officer at the time, recommended that ResCap “hold off on any action until we
are completely settled with the audit and Cerberus.”1841 Sanjiv Khattri, AFI’s Chief Financial
Officer at the time, agreed that ResCap should “hold of [sic] until numbers settle down.”1842


1834 See Minutes of a Special Meeting of the Executive Committee of the Board of Directors of Residential

   Capital, LLC, Nov. 27, 2006, at RC40006418 [RC40006402] (no Independent Directors present).
1835 Compare Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 20, 2006,

   at RC40006837 [RC40006748], with Minutes of a Special Meeting of the Board of Directors of Residential
   Capital Corporation, Oct. 19, 2006, at RC40006814 [RC40006748].
1836 Report to the Executive Committee of the Board of Directors, Residential Capital, LLC, prepared by J.

   Giertz, dated Nov. 27, 2006 [RC40013153].
1837 See Minutes of a Special Meeting of the Executive Committee of the Board of Directors of Residential

   Capital, LLC, Nov. 27, 2006, at RC40006418 [RC40006402].
1838 See E-mail from J. Malloy (Nov. 28, 2006) [EXAM10167986].

1839 See E-mail from J. Young (Jan. 22, 2007), at EXAM11474370 [EXAM11474370]; see also E-mail from S.

   Khattri (Jan. 22, 2007), at EXAM11474371 [EXAM11474370].
1840 See E-mail from S. Khattri (Jan. 22, 2007), at EXAM11474370 [EXAM11474370]; E-mail from J. Young

   (Jan. 22, 2007), at EXAM11474370 [EXAM11474370].
1841 E-mail from J. Young (Jan. 22, 2007), at EXAM11474370 [EXAM11474370].

1842 E-mail from S. Khattri (Jan. 22, 2007), at EXAM11474370 [EXAM11474370].



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     ResCap eventually determined that the increase in equity resulting from the release of all
tax-related accounts was $420.1 million.1843 Consequently, ResCap stated in its annual report
for 2006 that it expected to receive a capital contribution of $154.9 million for reimbursement
of the overpayment.1844 It is unclear, however, whether AFI ever made a capital contribution
to ResCap to correct ResCap’s overpayment. While ResCap received $2 billion in cash capital
contributions in 2007, there is no evidence that any of those capital contributions related to
truing down the LLC Conversion Dividend.1845

      Around the same time that the ResCap Board considered and approved the LLC
Conversion Dividend, ResCap also received pressure from GM to declare a $600 million
dividend.1846 Thomas Melzer, one of the Independent Directors, raised concerns about the
combined effect that the LLC Conversion Dividend and the $600 million dividend would have
on ResCap’s liquidity.1847 Despite his concerns, Melzer initially was doubtful that the
Independent Directors could block the $600 million dividend from being approved by the
ResCap Board, which apparently was not a decision over which the Independent Directors had
a veto.1848 In an e-mail from Melzer to Thomas Jacob, the other Independent Director, on the
morning of a day on which the ResCap Board was meeting to consider, among other things,
both the LLC Conversion Dividend and the $600 million dividend, Melzer expressed his
concerns: “I explained [to David Walker at AFI] that circumstances, not their intent, put us in
a situation where we had no leverage when approval is sought for the $600 million dividend in
December. I also reiterated our concern about liquidity. . . . [Walker] also said they did not

1843 See Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 80, 116.

1844 See  id. at 80. ResCap also reported a $433.4 million non-cash deemed dividend in connection with its
    conversion to a disregarded entity. See Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13,
    2007), at 62, 134. The non-cash deemed dividend appears to relate to contingent tax assets and liabilities
    being treated as assumed by GM upon the conversion, in similar fashion to intercompany accounts being
    forgiven, and written off as deemed dividends and capital contributions by ResCap on its books. The
    Examiner’s Professionals have noted that while the disclosures to the ResCap Board of the accounting
    treatment of the conversion and the actual reporting in the 10-K were not entirely accurate, there is no
    indication that they were intentionally false or misleading. Moreover, there is no economic harm to ResCap
    or its creditors resulting from this accounting treatment.
1845 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 49.

1846 See Minutes of a Special Meeting of the Board of Directors of Residential Capital Corporation (Oct. 19,

    2006), at RC40006816 [RC40006748] (stating that David Walker presented to the ResCap Board a proposal
    for a $600 million dividend based on projections that ResCap would have $8.6 billion in equity at year end
    and management’s belief that $8 billion in equity would suffice); Residential Capital, LLC Presentation to
    the Board of Directors Regarding Capital Budgeting Considerations, dated Oct. 9, 2006, at MELZER.002832
    [MELZER.002821] (presenting plans for paying both a $450 million LLC Conversion Dividend and a $600
    million dividend in late 2006).
1847 See Int. of T. Melzer, Mar. 22, 2013, at 123:10–127:19; cf. Residential Capital, LLC Presentation to the

    Board of Directors Regarding Capital Budgeting Considerations, dated Oct. 9, 2006, at MELZER.002832
    [MELZER.002821] (showing projections of insufficient liquidity to pay both a $450 million LLC Conversion
    Dividend and a $600 million dividend in late 2006).
1848 See Int. of T. Melzer, Mar. 22, 2013, at 125:2–126:7.



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want a 7–2 vote on this action, with the two of us dissenting.”1849 At the meeting later that day,
the ResCap Board decided to defer consideration of the $600 million dividend.1850 And in
December 2006, the ResCap Board again deferred a decision on the $600 million dividend.1851
The Investigation has not uncovered any evidence that the ResCap Board ever reconsidered
the $600 million dividend, and it does not appear that the $600 million dividend was ever
declared or paid.1852

E. FINANCINGS

    1. Resort Finance Facility

     The fourth quarter of 2007 ended not only with (1) a reduction in ResCap’s workforce by
25%;1853 (2) ResCap’s debt rating falling to below investment grade;1854 and (3) contributions
by AFI to ResCap of ResCap bonds in excess of $700 million for the quarter,1855 but also with
a pressing need to address liquidity shortages and pending debt maturities.1856 One of the first
steps taken was to have RFC enter into the Resort Finance Facility with AFI on February 21,
2008. The Resort Finance Facility was intended to be a bridge financing while ResCap
searched for a third party to purchase its Resort Finance business.1857 According to Sanjiv
Khattri, CFO of ResCap, when the Resort Finance Facility was entered into, there were
already discussions of a sale of the Resort Finance business to a third party.1858 The Resort
1849 Email from T. Melzer (Oct. 19, 2006) [MELZER.004954].

1850 See Minutes of a Special Meeting of the Board of Directors of Residential Capital Corporation, Oct. 19,

    2006, at RC40006816 [RC40006748].
1851 See Minutes of a Regular Meeting of Board of Directors of Residential Capital, LLC, Dec. 12, 2006, at

    RC40006860 [RC40006748].
1852 See Int. of T. Melzer, Mar. 22, 2013, at 120:22–123:9, 125:8–127:13.

1853 Residential Capital, LLC, Current Report (Form 8-K) (Oct. 17, 2007), at 6.

1854 E.g. Moody’s Investors Service, Rating Action, Moody’s Downgrades ResCap to Ba1, From Baa3; Ratings

    Remain on Review Down (Aug. 16, 2007), S&P, Research Update: Residential Capital LLC Ratings Off
    Watch Neg, Lowered to ‘BB+/B’ From ‘BBB-/A-3’; Outlook Neg (Nov. 1, 2007); Fitch Ratings, Amend:
    Fitch Lowers Countrywide IDR to ‘BBB+’ & ResCap to ‘BB+’; Indymac on Watch Negative (Aug. 16,
    2007).
1855 Memorandum,   ResCap: Significant Capital Contributions and Related-Party Transactions, dated June 9,
    2009, at 1 [ALLY_0240180].
1856 See Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Dec. 7, 2007, at

    RC40005645 [RC40005558] (S. Khattri discussed actual October 2007 $524 million loss driven by collapse
    of the real estate market, including tight credit and falling home prices and a potential $800 million downside
    risk in the fourth quarter); see also Minutes of a Regular Meeting of the Board of Directors of Residential
    Capital, LLC, Dec. 20, 2007, at RC40005649 [RC40005558] (S. Khattri discussed ResCap’s liquidity
    position and said that primary 2008 first quarter objectives included, among other things, assessing the $5.4
    billion TNW financial covenant and restructuring funding facilities and revolving lines of credit to meet
    ResCap’s prospective needs).
1857 E-mail from S. Khattri (Feb. 12, 2008) [EXAM11309438].

1858 Int. of S. Khattri, Oct. 25, 2012, at 250:11–14.



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Finance Facility was a $750 million non-recourse borrowing base facility with repayment to
be made solely from collections on the collateral, which consisted of certain loans made by
RFC to developers in connection with resort financing transactions. These loans included
(1) certain eligible developer loans (subject to an advance rate of 90%); (2) certain
construction loans (subject to an advance rate of 75%); and (3) certain loans extended to
finance the sale of time shares (subject to an advance rate of 50%).1859 ResCap provided a
limited guarantee in connection with the Resort Finance Facility.1860

    The Resort Finance Facility was approved by the ResCap Board at a meeting held on
February 15, 20081861 and by RFC’s board on February 19, 2008.1862

     Bear Stearns issued a fairness opinion to ResCap with respect to the Resort Finance
Facility, concluding that “the financial terms and conditions of the Resort Finance Facility,
taken as a whole, are no less favorable to RFC, from a capital markets point of view, than the
financial terms and conditions that would be expected to be obtained in a comparable
financing with an unaffiliated third party on an arm’s-length basis.”1863

      The Resort Finance Facility contained representations and warranties,1864 closing
conditions,1865 covenants,1866 events of default,1867 and indemnification provisions1868 that were
standard for facilities of comparable size and nature (and would have been typical for a
syndicated credit facility with unaffiliated lenders). Certain of the provisions, however,
exemplified an affiliate transaction and were more favorable to the Resort Facility Borrower
(RFC) — namely, (1) the negative covenants did not contain limitations on debt incurrence,
dividend payments or affiliate transactions;1869 (2) there were no financial covenants; and
(3) there was no upfront fee payable to AFI. Moreover, it would have been highly unusual for
a single lender to provide a lending commitment of this size.




1859 Resort Finance Agreement, § 1.1 [ALLY_0116311] (definition of “Borrowing Base”).

1860 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), Ex.10.13, at 275.

1861 ResCap Secretary’s Certificate dated Feb. 19, 2008, at ALLY_0116488, Exhibit C [ALLY_0116462].

1862 Action by Written Consent of the Board of Directors of Residential Funding Company, LLC, dated Feb. 19,

    2008, at ALLY_0116456–59 [ALLY_0116429].
1863 Opinion Letter from Bear Stearns to the Board of Directors of ResCap (Feb. 20, 2008) [ALLY_0116519].

1864 Resort Finance Agreement, § 3 [ALLY_0116311].

1865 Id. § 4.

1866 Id. §§ 5–6.

1867 Id. § 7.

1868 Id. §§ 2.16, 9.5.

1869 See id. § 6.



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     Upon the consummation of the Resort Finance Sale, the obligations of RFC under the Resort
Finance Facility were transferred to, and assumed by, GMAC CF.1870 In its 10-Q for the period
ending March 31, 2009, ResCap reported that the Resort Finance Facility had been paid in full.1871

     See Appendix V.E.1 for more details on the terms of the Resort Finance Facility.

    2. Secured MSR Facility

      Shortly after closing the Resort Finance Facility, the Secured MSR Facility Borrowers
(RFC and GMAC Mortgage), entered into the Secured MSR Facility with AFI, as lender, on
April 18, 2008, which provided additional liquidity.1872 The Secured MSR Facility was
initially a $750 million borrowing base facility1873 (increased to $1.2 billion on June 2,
2008),1874 and was guaranteed on a full recourse basis by ResCap.1875 The Secured MSR
Facility Collateral served as the borrowing base and included: (1) certain MSRs and the
related Servicing Contracts; (2) certain pledged Fannie Mae, Freddie Mac and Ginnie Mae
securities; and (3) certain pledged U.S. treasury securities.1876

      On April 1, 2008, prior to entering into the Secured MSR Facility, ResCap received a
draft term sheet from Barclays that contemplated providing RFC with a facility to be secured
by non-GSE MSRs.1877 When sending the term sheet, Joseph O’Doherty of Barclays noted
that the bank was eager to play a role in ResCap’s restructuring efforts and wanted to work
with ResCap and its advisors to get the best outcome possible.1878 However, ResCap’s
liquidity needs were imminent and several months of negotiations could have been required to
complete and syndicate a facility with Barclays,1879 leading to the proposal that AFI provide




1870 Asset Purchase Agreement between Residential Funding Company, LLC, GMAC Residential Funding of

   Canada Limited, and GMAC Commercial Finance LLC, dated July 2, 2008, § 2.2(b) [RC00024026].
1871 Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 11, 2009), at 56.

1872 Secured MSR Loan Agreement [RC00024114].

1873 Id. §§ 2.01–2.04, Sched. I (definition of Commitment Amount).

1874 Amendment No. 3 to the Secured MSR Facility, dated June 2, 2008, § 1(b) [RC00037692].

1875 Guarantee by Residential Capital, LLC, in favor of GMAC LLC as lender pursuant to the Secured MSR

   Facility, dated Apr. 18, 2008, § 3 [RC00037568].
1876 Secured MSR Loan Agreement, § 4.01 [RC00024114].


1877 Draft MSR Facility Summary of Indicative Terms and Conditions, dated Apr. 1, 2008 [EXAM10809952].


1878 E-mail from J. O’Doherty to J. Peterson (Apr. 1, 2008) [EXAM10809950].


1879 Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of Residential

   Capital, LLC, Apr. 9, 2008, at RC40006626–27 [RC40006611].

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the Secured MSR Facility as a bridge to the Barclays facility.1880 In support of this timing
issue, Morgan Stanley, in its April 14, 2008 discussion materials regarding the proposed
facility, noted that several months could have been required to close, because a syndication of
the loan and the obtaining of consents would have been necessary.1881 Time was of the
essence, as Jim Young (ResCap CFO) reported to the ResCap Board on April 14, 2008 that
the Secured MSR Facility was needed to support Servicing Advances to be funded on
April 17, 2008.1882

     In considering the proposal for the Secured MSR Facility, the Independent Directors
(then Thomas Jacob and Thomas Melzer) expressed concern over pricing terms, namely the
proposed LIBOR + 300 bps interest rate, the 20 bps non-use fee and the 50% advance rate.1883
Ultimately, most of these concerns were addressed to the satisfaction of the ResCap Board,
including the Independent Directors (the pricing was reduced to LIBOR + 200 bps and the
non-use fee was eliminated), who approved the Secured MSR Facility (including the ResCap
guarantee) on April 14, 2008.1884 The boards of RFC1885 and GMAC Mortgage1886 approved
the Secured MSR Facility on April 15, 2008.

    However, the advance rates remained at 50% when the Secured MSR Facility closed
(which addressed the concern that a higher advance rate could impede the contemplated
Barclays refinancing, because ResCap did not want to be “in excess of where [Barclays]
would refinance the facility”).1887




1880 Id. at RC40006627 (statement from William Casey (ResCap Treasurer) that “the proposed funding facility

   from GMAC would provide ResCap with bridge financing while the Barclays facility is being finalized”)
   [RC40006611]. See also Draft Indicative Terms and Conditions of the Debt Facility, dated Apr. 7, 2008
   [EXAM10277333]; Draft Indicative Summary of Terms and Conditions of the Debt Facility, dated Apr. 9,
   2008 [EXAM10807536].
1881 Morgan Stanley Project Duvall Presentation, dated Apr. 14, 2008, at 3 [EXAM10279337].


1882 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Apr. 14, 2008, at

   RC40005713–15 [RC40005652].
1883 E-mail from J. Jones (Apr. 13, 2008) [EXAM10399601].


1884 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Apr. 14, 2008, at

   RC40005714 [RC40005652].
1885 Action by Written Consent of the Board of Directors of Residential Funding Company, LLC, dated Apr. 15,

   2008, at ALLY_0131194–96 [ALLY_0131157].
1886 Action by Written Consent of the Board of Directors of GMAC Mortgage, LLC, dated Apr. 15, 2008, at

   ALLY_0131229–31 [ALLY_0131201].
1887 E-mail from J. Jones (Apr. 13, 2008) [EXAM10399601].



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      Morgan Stanley viewed the terms of the Secured MSR Facility favorably, concluding
that: (1) the Secured MSR Facility provided materially better economic terms than the
proposed Barclays facility and existing facilities; (2) as a result of negotiations between AFI
and ResCap, the Secured MSR Facility was materially more favorable to ResCap than the
initial AFI proposal; and (3) based on market observations and informal discussion, the
Secured MSR Facility was more attractive in all material respects than facilities that were
available in the then current marketplace.1888 The economic terms were generally in line with
those then in place between ResCap and Citibank and Natixis, which provided facilities
secured by GSE MSRs. However, unlike the Citibank and Natixis facilities, the Secured MSR
Facility did not require the Secured MSR Facility Borrowers to pay either a use fee or a non-
use fee.1889

     The Secured MSR Facility contained representations and warranties,1890 covenants,1891
events of default1892 and indemnification provisions1893 that were standard for facilities of
comparable size and nature (and would have been typical for a syndicated credit facility with
unaffiliated lenders). However, certain of the provisions exemplified an affiliate transaction
and were more favorable to the Secured MSR Facility Borrowers — namely (1) lien searches
were a post-closing requirement (typically they are required to be delivered as a condition to
closing);1894 (2) the negative covenants did not contain limitations on debt incurrence,
dividend payments, affiliate transactions, or mergers/asset sales;1895 and (3) as noted by
Morgan Stanley, no fees were stated to be payable by the Secured MSR Facility Borrowers.
Moreover, it would have been highly unusual for a single lender to provide a lending
commitment of this size.

     On June 2, 2008 (within three weeks from the closing of the Secured MSR Facility), the
Secured MSR Facility was amended to increase the facility size from $750 million to $1.2 billion
and the advance rate was increased from 50% to 85% giving ResCap access to more liquidity.1896


1888 Morgan Stanley Project Duvall Presentation, dated Apr. 14, 2008, at 3–4 [EXAM10279337]. At the time

    ResCap engaged Morgan Stanley to provide advice in connection with certain potential strategic transactions,
    it was revealed that a Morgan Stanley officer was also a member of the AFI Board. Morgan Stanley
    Engagement Letter from D. Ammann to J. Jones (Feb. 13, 2008), at 3–4 [MELZER.008816] (attached to
    E-mail from T. Hamzehpour to T. Jacob and T. Melzer (Mar. 20, 2008) [MELZER.008815]). Section
    V.A.1.b(1) provides more information regarding this potential conflict.
1889 Id. at 5.

1890 Secured MSR Loan Agreement, § 6.01 [RC00024114].

1891 Id. Art. VII.

1892 Id. § 8.01.

1893 Id. Art. X.

1894 Id. § 7.01(r).

1895 See id. § 7.02.

1896 Amendment No. 3 to the Secured MSR Facility, dated June 2, 2008, at RC40006474 [RC40006437].



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     In its April 14, 2008 presentation, Morgan Stanley noted that lending against MSRs had
generally been viewed by lenders as a “loss leader,” was undertaken to secure future
securitizations and other business, and that diminished prospects for such business had
reduced the appetite to lend against MSRs.1897 As a result, the advance rates on MSR facilities
were trending lower and the costs were rising.1898

     Ultimately, the search for a lender to refinance the Secured MSR Facility proved futile.
Morgan Stanley pointed out that JPMorgan, Citibank and Bank of America were not interested
in lending against non-GSE assets at acceptable rates.1899 Arranging a takeout facility for the
Secured MSR Facility proved even more difficult after the advance rate under the Secured MSR
Facility was raised to 85%. Barclays indicated that it would be comfortable with only up to a
60% advance rate.1900 In addition, Barclays appeared to be growing concerned with its overall
exposure to both ResCap and AFI. Jerry Lombardo, a GMAC CF employee at the time (hired to
perform diagnostic work at ResCap relating to liquidity forecasting), commented that he thought
Barclays’s lending commitment to AFI would have to be reduced one for one in order to
convince Barclays to participate in an MSR facility with ResCap.1901 John Peterson, then
ResCap’s Assistant Treasurer, commented that ResCap continued to be challenged to find new
outside financing alternatives for MSRs and he hypothesized that it might be due to AFI’s risk
profile.1902 Despite this challenge, Peterson noted that ResCap was pursuing sources for outside
financing (Barclays and other banks as well as banks through Cerberus, but also commented that
Royal Bank of Canada and Calyon Securities (USA), Inc. (n/k/a Credit Agricole Securities
(USA), Inc.) would “certainly not be interested”).1903 After June 2008, there was no evidence of
a renewed search for a third party to refinance the Secured MSR Facility.

    Since the Secured MSR Facility was designed to be a bridge to the Barclays facility, it
had a short term maturity. The initial maturity date was the earlier of October 17, 2008 (six
months after the April 18, 2008 closing) and the receipt by the Secured MSR Facility
Borrowers of a commitment from a third party lender for a replacement facility.1904 The




1897 Morgan Stanley Project Duvall Presentation, dated Apr. 14, 2008, at 3 [EXAM10279337].

1898 Id. at 4.

1899 Id. at 3.

1900 E-mail from J. Peterson (June 12, 2008) [EXAM10172519].

1901 E-mail from J. Lombardo (May 3, 2008) [EXAM10844051].

1902 E-mail from J. Peterson (June 12, 2008) [EXAM10172519].

1903 Id.

1904 Secured MSR Facility, Sched. I [RC00024114] (definition of “Loan Repayment Date”).



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maturity date of the Secured MSR Facility was ultimately extended repeatedly for short
periods: from October 17, 2008 to May 1, 2009;1905 from May 1, 2009 to June 30, 2009;1906
from June 30, 2009 to July 31, 2009;1907 from July 31, 2009 to September 30, 2009;1908 from
September 30, 2009 to November 30, 2009;1909 and from November 30, 2009 to December 31,
2009.1910

     As summarized in the table below, AFI forgave indebtedness under the Secured MSR
Facility in an aggregate amount of over $1.1 billion from inception until the facility was
terminated on December 30, 2009, when all remaining outstanding indebtedness thereunder
(including accrued and unpaid interest) was forgiven.1911 These debt forgiveness steps were
generally taken to enable ResCap to remain in compliance with its TNW covenants.1912




1905 Amendment No. 6 to the Secured MSR Facility, dated Oct. 17, 2008, § 2(d) [ALLY_0238920].

1906 Amendment No. 8 to the Secured MSR Facility, dated Mar. 18, 2009, § 1(d) [GOLDIN00003753].

1907 Amendment No. 11 to the Secured MSR Facility, dated June 30, 2009, § 2(a) [RC00033704].

1908 Amendment No. 12 to the Secured MSR Facility, dated July 31, 2009, § 2(c) [ALLY_0130416].

1909 Amendment No. 13 to the Secured MSR Facility, dated Sept. 22, 2009, § 2(a) [ALLY_0130424].

1910 Amendment No. 14 to the Secured MSR Facility, dated Nov. 30, 2009, § 2(a) [GOLDIN00097683].

1911 Letter from GMAC Inc. Re: Forgiveness of Certain Indebtedness and Termination of MSR Facility (Dec. 30,

   2009), at 1–3 [ALLY_0353025].
1912 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 1, 2008, at RC40005875

   (statement from J. Young that “on September 30, 2008, ResCap received a $400 million contribution from
   GMAC in the form of debt forgiveness, which satisfied the TNW covenant requirement and immediate cash
   needs” and that as currently forecasted, “ResCap will drop below the required TNW level in December
   2008”) [RC40005652]; see also Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct.
   23, 2008, at RC40005890 (statement from J. Young that ResCap’s expected loss for October is
   “approximately $650 million and as equity at September 30 was $350 million, a large capital injection will
   be needed in order to maintain compliance with [TNW] covenants”) [RC40005652].

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      See Appendix V.E.2 for more details on the terms of the Secured MSR Facility.

    3. Secured Revolver Facility

     Neither the Resort Finance Facility nor the Secured MSR Facility fully addressed ResCap’s
liquidity needs. With looming credit maturities (as more particularly described below) and stress
on ResCap’s capital needs, on April 21, 2008, the ResCap Board approved the bond exchange1913
pursuant to which the Senior Secured Notes and Junior Secured Notes were issued. Then, on
June 1, 2008, the ResCap Board approved a new credit facility with the Secured Revolver
Facility Borrowers (RFC and GMAC Mortgage), ResCap and various ResCap Subsidiaries, as
guarantors, and AFI, as lender, to be evidenced by the Secured Revolver Loan Agreement.1914 A
separate approval of the Secured Revolver Facility was provided by the Executive Committee of
the ResCap Board on June 2, 2008.1915 When the ResCap Board approved the Secured Revolver
Facility, Edward Smith was the only Independent Director on the ResCap Board despite the
2006 Amended Operating Agreement requiring ResCap to have two Independent Directors at all
times.1916 The Secured Revolver Facility was approved by the boards of RFC1917 and GMAC
Mortgage1918 on June 3, 2008.
1913 Minutes of Meeting of the Board of Directors of Residential Capital, LLC, Apr. 21, 2008 at RC40005727–32

    [RC40005652].
1914 Minutes of Meeting of the Board of Directors of Residential Capital, LLC, June 1, 2008 at RC40005754–60

    [RC40005652].
1915 Unanimous Written Consent of the Executive Committee of the Board of Directors of Residential Capital, LLC,

    June 2, 2008, at RC40006443–49 [RC40006437].
1916 The fact that only one Independent Director approved the Secured Revolver Facility does not have a bearing on

    whether the Secured Revolver Facility was duly authorized by ResCap. The 2006 Amended Operating
    Agreement barred material affiliate transactions not on arm’s-length terms or for fair value; since the Secured
    Revolver Facility generally contained terms typical for a credit facility with unaffiliated lenders (as further
    described in this Section), it would not have required Independent Director approval. See 2006 Amended
    Operating Agreement, § 2(f)(i) [ALLY_0041818].
1917 Action by Written Consent of the Board of Directors of Residential Funding Company, LLC, dated June 3, 2008

    [ALLY_0045029].
1918 Action
          by Written Consent of the Board of Directors of GMAC Mortgage, LLC, dated June 3, 2008
    [ALLY_0045069].

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      On the horizon was the maturity of certain ResCap bonds, with more than $3 billion
coming due between 2008 and 2009.1919 In addition, certain credit facilities to which ResCap,
RFC, and other ResCap Subsidiaries were party were maturing and needed to be renewed or
refinanced.1920 Two such facilities were: (1) the JPMorgan 364-Day Facility, an unsecured
facility in the amount of $875 million,1921 which had a scheduled maturity date of June 9,
2008;1922 and (2) the JPMorgan 2005 Term Loan Facility in the amount of $1.75 billion,1923
which had a scheduled maturity date of July 28, 2008.1924

      During an April 18, 2008 ResCap Board meeting, Samuel Ramsey, AFI Chief Risk
Officer at the time, in addressing the looming credit facility maturities, provided an overview
of ResCap’s overall debt restructuring aimed at injecting $3.5 billion of new liquidity, which
plan included the structural precursor to the Secured Revolver Facility.1925 The original
structure, as described in the minutes of this board meeting, contemplated a $1.75 billion two-
year facility, secured on a first lien basis, to be provided by certain of ResCap’s existing bank
lenders, led by JPMorgan and Citibank.1926 This facility was intended to replace $1.75 billion
of liquidity1927 represented, collectively, by the JPMorgan 364-Day Facility and a JPMorgan
unsecured $875 million Three-Year Competitive Advance and Revolving Credit Facility1928
with a scheduled termination date of June 9, 2010.1929 In addition, it was contemplated that
AFI would provide a new $1.75 billion term loan to be secured on a second lien basis (junior
to the two-year bank facility) and ranking pari passu with the liens securing the proposed
Senior Secured Notes;1930 thus, the new $1.75 billion second lien term loan to be provided by
AFI would effectively replace the JPMorgan 2005 Term Loan Facility.1931
1919 Confidential
               Offering Memorandum and Consent Solicitation Statement, dated May 5, 2008
    [ALLY_0103305].
1920 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Apr. 20, 2008, at

    RC40005723 [RC40005652].
1921 JPMorgan 364-Day Facility, Sched. I [EXAM00344999].

1922 Id. § 1.1 (definition of “Termination Date”).

1923 JP Morgan 2005 Term Loan Facility, Sched. I [EXAM00345163].

1924 Id. § 1.1 (definition of “Maturity Date”).

1925 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Apr. 18, 2008, at

    RC40005719-20 [RC40005652].
1926 Id. at RC40005719.

1927 See id. at RC40005719.

1928 Three Year Competitive Advance and Revolving Credit Facility among Residential Capital, LLC, the several

    lenders from time to time parties thereto, the documentation agents named therein, Citibank, N.A., and
    JPMorgan Chase Bank, N.A., dated June 11, 2007, Sched. I [EXAM00345072].
1929 Id. § 1.1 (definition of “Termination Date”).

1930 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Apr. 18, 2008, at

    RC40005720 [RC40005652].
1931 Id. at RC40005719–22.



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      During the same April 18, 2008 ResCap Board meeting, Ramsey also stated that AFI’s
management was considering a structural change whereby AFI would replace the bank
syndicate on the proposed $1.75 billion two-year facility and provide a $3.5 billion facility on
its own, with all of AFI’s exposure secured by a first priority lien position ahead of the
proposed Senior Secured Notes and the Junior Secured Notes.1932 Such a structure would be
“less complex and would allow ResCap to liquidate assets and repay the loan in a more
attractive manner.”1933 At a subsequent meeting of the ResCap Board held on April 20, 2008,
it was reported that the new $3.5 billion credit facility would in fact be provided solely by
AFI.1934 In addition, Ramsey stated that as part of the transaction, AFI would obtain from
ResCap’s existing third party lenders a $1 billion fixed-rate, two-year unsecured term loan.1935
The banks had agreed to swap ResCap credit risk for AFI credit risk.

     On the closing date of the Secured Revolver Facility, (1) AFI converted approximately
$1.3 billion of term loans outstanding under the JPMorgan 2005 Term Loan Facility that it had
obtained via assignment into an equivalent amount of Secured Revolver Facility Term
Loans;1936 and (2) the Secured Revolver Facility Borrowers borrowed (a) approximately
$450 million of Secured Revolver Facility Revolver Loans to repay the remaining principal
amount of term loans under the JPMorgan 2005 Term Loan Facility;1937 and (b) $1.75 billion of
Secured Revolver Facility Revolver Loans to pay the cash portion of the ResCap tender and
bond exchange.1938

      It was this proposed shift in AFI’s status from second lien lender to sole first lien lender
that factored into the decision of Jacob and Melzer to resign as Independent Directors, effective
as of April 20, 2008. As Jacob noted, “asking us to approve a related party transaction of this
magnitude, which allowed them to leapfrog over other unsecured creditors, was something that
we felt that if we approved, it would be a serious violation of the ResCap operating
agreement.”1939 Melzer similarly commented that “I just wasn’t willing to be in a position where
all of a sudden GMAC would be putting itself in a senior position to all the unsecured creditors
at ResCap.”1940 For further detail regarding the resignations of Jacob and Melzer see
Section IV.A.1.


1932 Id. at RC40005721.

1933 Id. at RC40005721. See also Int. of L. Hall, Nov. 29, 2012, 130:3-5 (“it made a lot more sense for GMAC to

   do the entire facility, which gave more flexibility to ResCap, better pricing, better terms . . .”).
1934 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Apr. 20, 2008, at

   RC40005723–25 [RC40005652].
1935 Id. at RC40005723.

1936 Secured Revolver Loan Agreement, § 2.01(c) [RC00024234].

1937 Residential Capital, LLC, Current Report (Form 8-K) (June 9, 2008), at Item 1.01.

1938 E-mail from J. Brooke (June 6, 2008) [CCM00145708].

1939 Examiner’s Interview of T. Jacob, Nov. 7, 2012, at 216:19–216:24.

1940 Examiner’s Interview of T. Melzer, Oct. 10, 2012, at 160:17–160:21.



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      Though Independent Directors Jacobs and Melzer had expressed concern with the $3.5
billion facility being proposed by AFI,1941 Daniel Ammann and Jon Pruzan, representatives
from Morgan Stanley,1942 noted at the ResCap Board meeting on June 1, 2008, that it was the
most viable option for ResCap at that time.1943 Comparing the facility being proposed by AFI
to that being proposed by the banks, they stated that “the fees and advance rates between the
two were similar; that [AFI] was willing to provide a full $3.5 billion, whereas the bank
syndicate had offered only $1.75 billion; that the [AFI] covenant structure was more favorable
to [ResCap] than that proposed by the bank syndicate.”1944 In addition, Ammann and Pruzan
concluded that ResCap would not have been able at that time to obtain a comparable secured
facility in the market absent AFI’s willingness to provide it.1945

     Proceeds from Secured Revolver Facility Loans were to be used to repay existing
indebtedness of ResCap and for working capital purposes.1946 In connection with the closing
of the Secured Revolver Facility and as part of ResCap’s debt restructuring, on or about
June 5, 2008, AFI acquired, via assignment,1947 $1.293 billion of ResCap’s outstanding term
loans under the JPMorgan 2005 Term Loan Facility; the remainder of the amounts outstanding
under the JPMorgan 2005 Term Loan Facility (approximately $450 million) was repaid with
proceeds of a Secured Revolver Facility Revolver Loan.1948 The $1.293 billion loan owed by
ResCap under the JPMorgan 2005 Term Loan Facility and acquired by AFI was, pursuant to
the terms of the Secured Revolver Loan Agreement, converted into a Secured Revolver
Facility Term Loan (due July 28, 2008) and, as such, became a direct secured obligation of the
Secured Revolver Facility Borrowers.1949 Indeed, ResCap was absolved of all direct liability
under the assigned and converted term loan under the JPMorgan 2005 Term Loan Facility.1950


1941 Jacob and Melzer, through their counsel, Bryan Cave, proposed revisions to certain April 2008 ResCap

    Board meeting minutes (which were never adopted). See, e.g., Draft Minutes of a Special Meeting of the
    Board of Directors of Residential Capital, LLC, Apr. 18, 2008, at RC40008507–10 [RC40008489]
    (indicating concern with Secured Revolver Facility).
1942 Although the Secured Revolver Facility was ultimately approved by independent director Smith, there is

    nothing in the record that shows Smith was informed about the Morgan Stanley conflict discussed in
    Section V.A.1.
1943 SeeMinutes of a Meeting of the Board of Residential Capital, LLC, June 1, 2008, at RC40005753
    [RC40005652].
1944 Minutesof a Meeting of the Board of Residential Capital, LLC, June 1, 2008, at RC40005753
    [RC40005652].
1945 Id.

1946 GMAC LLC, Current Report (Form 8-K) (June 9, 2008), Item 8.01.

1947 Master Assignment and Assumption among Residential Capital LLC, JPMorgan, and Citibank, dated June 5,

    2008 [ALLY_0043831].
1948 GMAC LLC, Current Report (Form 8-K) (June 9, 2008), Item 8.01.

1949 Secured Revolver Loan Agreement, § 2.01(c) [RC00024234].

1950 Id. § 2.01(d).



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      Simultaneously with the closing of the Secured Revolver Facility, ResCap consummated
a tender and bond exchange, pursuant to which approximately $8.6 billion in unsecured
ResCap notes maturing between 2008 and 2015 were exchanged for approximately $5.6
billion of Senior Secured Notes and Junior Secured Notes.1951 On or about June 6, 2008, a
borrowing of a Secured Revolver Facility Revolver Loan in the amount of $1.75 billion was
made to fund the cash portion of this ResCap tender and bond exchange.1952 As a result, the
Secured Revolver Facility was fully drawn in the amount of $3.5 billion as of June 6, 2008,
with the proceeds having been used to exchange direct unsecured ResCap obligations owed to
unaffiliated third parties (represented by the JPMorgan 2005 Term Loan Facility that was
assigned and repaid and by the ResCap bonds tendered and/or exchanged) for direct secured
obligations of the Secured Revolver Facility Borrowers owed to AFI. According to ResCap’s
Form 10-Q for the period ending September 30, 2008, the $1.293 billion Secured Revolver
Facility Term Loan that came due on July 28, 2008 was repaid through a Secured Revolver
Facility Revolver Loan.1953 Repayment in this manner was likely not possible, as there was
insufficient availability under the Secured Revolver Facility to fund a draw of that size (the
facility was capped at $3.5 billion)—it is more likely that the outstanding Secured Revolver
Facility Term Loan was simply converted into a Secured Revolver Facility Revolver Loan.

     The total commitment under the Secured Revolver Facility was eventually reduced to
$3.1 billion in December 2008.1954 Notably, it appears that AFI, rather than ResCap, requested
the permanent reduction of the commitment under the Secured Revolver Facility. In a
November 26, 2008 e-mail from Jerry Lombardo to Terry Farley and Melissa White,
Lombardo noted that “today [AFI] requested and ResCap (Tom Marano and I) agreed to
permanently reduce the Revolver by $500M as of today.”1955 A commitment reduction request
procedure such as this would not have been typical for a credit facility among unaffiliated
parties. It is normally the borrower, not the lender, that has the right to seek commitment
reductions. In fact, the above-referenced e-mail from Lombardo referenced Section 2.10(b) of
the Secured Revolver Loan Agreement,1956 the provision pursuant to which the Secured
Revolver Facility Borrowers could voluntarily reduce the lending commitment.

     The collateral securing the Secured Revolver Facility included all the then unencumbered
assets of the Secured Revolver Facility Borrowers and Secured Revolver Facility Guarantors,
including, among other assets, accounts, chattel paper, commercial tort claims, certain deposit
and securities accounts, intellectual property, investment property, specific pledged shares and



1951 Memorandum, GMAC ResCap Significant Transaction #1028, at EXAM00220282 [EXAM00220281].

1952 E-mail from J. Brooke (June 6, 2008) [CCM00145708].

1953 See Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008), at 78.

1954 Amendment No. 4 to the Secured Revolver Loan Agreement, dated Dec. 12, 2008, § 2.01(k) [ALLY_0051551].

1955 Email from J. Lombardo (Nov. 26, 2008) [EXAM10845441].

1956 Id.



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equity interests and specific pledged promissory notes.1957 The Secured Revolver Facility, the
Senior Secured Notes and the Junior Secured Notes shared liens on the same collateral, with
the Secured Revolver Facility having a first lien priority position ahead of both the Senior
Secured Notes and the Junior Secured Notes.1958 The lien priority arrangements and other
intercreditor rights governing the Secured Revolver Facility, the Senior Secured Notes and the
Junior Secured Notes were governed by the Intercreditor Agreement.

      The Secured Revolver Facility contained representations and warranties,1959
covenants,1960 events of default1961 and indemnification provisions1962 that were standard for
facilities of comparable size and nature (and would have been typical for a syndicated credit
facility with unaffiliated lenders). However, certain of the provisions exemplified an affiliate
transaction and were more favorable to the Secured Revolver Facility Borrowers — namely
(1) the negative covenant on debt incurrence not only provided the Secured Revolver Facility
Borrowers with a sizable basket of $500 million, but also provided a very broad exception for
“debt incurred in the ordinary course of business through financing, securitization and hedging
activities”;1963 (2) the negative covenant regarding lien incurrence only applied to liens on the
First Priority Collateral (as opposed to other assets of the Secured Revolver Facility
Borrowers and Secured Revolver Facility Guarantors);1964 (3) a non-traditional and broader set
of exceptions to the covenant limiting affiliate transactions (e.g., any transaction between
ResCap and any of its Subsidiaries was permitted);1965 and (4) no ongoing commitment or
facility fees were stated to be payable by the Secured Revolver Facility Borrowers (whereas a
typical third party credit facility would likely have required payment of either a commitment
or facility fee). Moreover, it would have been extremely unusual for a single lender to provide
a lending commitment of this size.

     In addition, while the Secured Revolver Facility Borrowers were required to make
mandatory prepayments in connection with net cash proceeds from certain collateral
dispositions,1966 mandatory prepayment was only required to prepay the Secured Revolver
Facility Loans to the extent the amount of such net cash proceeds exceeded retained proceeds
(an agreed upon threshold of up to $450 million) or were not otherwise used to acquire


1957 First Priority Security Agreement, § 2 [RC00038119]; see also Appendix V.E.3.g.

1958 Intercreditor Agreement, § 2.1(a) [ALLY_0066819].

1959 Secured Revolver Loan Agreement, § 6.01 [RC00024234].

1960 Id. Art. VII.

1961 Id. § 8.01.

1962 Id. Art. X.

1963 Id. § 7.02(f).

1964 Id. § 7.02(h).

1965 Id. § 7.02(l).

1966 Id. § 2.08(c).



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additional First Priority Collateral.1967 Further, such mandatory prepayments, to the extent they
were applied to Secured Revolver Facility Revolver Loans, did not automatically reduce AFI’s
commitment to make Secured Revolver Facility Revolver Loans. Although the inclusion of a
mandatory prepayment provision was typical for secured syndicated credit facilities, the
described exceptions were more favorable to the Secured Revolver Facility Borrowers than
would be expected in connection with a loan provided by an unaffiliated lender.

     On June 4, 2008, AFI sold to GM and Cerberus a $750 million first loss participation
interest in the Secured Revolver Facility which was subsequently contributed by them to AFI
on December 29, 2008, in exchange for equity in AFI.1968

    The Secured Revolver Loan Agreement was amended and restated by the A&R Secured
Revolver Loan Agreement.1969

      See Appendix V.E.3 for more details on the terms of the Secured Revolver Facility.

     4. Servicing Advance Factoring Facility

     ResCap sought additional financing options shortly after the closing of the Secured
Revolver Facility and looked to monetize certain non-GSE related Servicing Advances.
Unlike other credit facilities entered into with AFI, the Servicing Advance Factoring Facility
(which was entered into with GMAC CF) was structured as a “true sale” of receivables and
not as a financing, which was required by AFI.1970 In the event ResCap filed for bankruptcy
and a bankruptcy court held that the transfer of the Servicing Advances to GMAC CF under
the Servicing Advance Factoring Agreement was a “true sale” and not a secured financing, the
purchased Servicing Advances would be deemed assets of GMAC CF and not part of
ResCap’s bankruptcy estate, unless clawed back as a fraudulent transfer, nor would the
purchased Servicing Advances be subject to preference claims.1971 Thus, GMAC CF would
have been in a better position, as a purchaser of assets, than a secured creditor. Nonetheless,




1967 See id.

1968 Memorandum,   ResCap: Significant Capital Contributions and Related-Party Transactions, dated June 9,
    2009, at ALLY_0240183 [ALLY_0240180]; Participation Agreement between GMAC LLC, General Motors
    Corporation and Cerberus ResCap Financing LLC, dated as of June 4, 2008 [ALLY_0043807].
1969 A&R Secured Revolver Loan Agreement [ALLY_0066146].

1970 Minutes of Meeting of the Board of Directors of Residential Capital, LLC, June 1, 2008 at RC40005752 (De

    Molina stated that AFI could commit to the “GMAC Factoring Facility so long as it could be structured as a
    ‘true sale’ rather than as a financing”) [RC40005652].
1971 See 6 PETER J. LAHNY IV, DEBTOR-CREDITOR LAW § 41.01 (2013) (explaining that the “transaction must be

    structured as a ‘true sale’ because if a court should find that the transaction was a disguised secured loan, the
    assets will be drawn back into the originator’s bankruptcy estate”).

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GMAC CF was reluctant1972 to enter into the Servicing Advance Factoring Agreement; after
tense negotiations (as further described below), the deal was sized at $600 million with an
advance rate of 85%.1973 The sale of the Servicing Advances at a 15% discount rate provided
the Servicing Advance Factoring Sellers (RFC and GMAC Mortgage) with greater liquidity
than they would have had if they borrowed against the same assets under the Secured
Revolver Facility.1974

     On June 17, 2008, concurrently with the execution of the Servicing Advance Factoring
Agreement, AFI, as lender agent under the Secured Revolver Loan Agreement and the First
Priority Collateral Agent, entered into a release agreement with respect to the subject Servicing
Advances1975 with GMAC CF and the Servicing Advance Factoring Sellers, which provided that
upon the purchase by GMAC CF of any Servicing Advances, AFI and the First Priority
Collateral Agent agreed to an automatic release of all liens and security interests on the
purchased Servicing Advances, which served as collateral securing the Secured Revolver
Facility, the Senior Secured Notes and the Junior Secured Notes. The sale of Servicing
Advances to AFI and/or one of its Affiliates (other than ResCap, ResCap Subsidiaries and Old
GMAC Bank) was explicitly permitted under the Secured Revolver Facility1976 and under the
terms of the Intercreditor Agreement—if the lien on any collateral securing the Secured
Revolver Facility was released by the First Priority Collateral Agent in connection with a
transaction permitted under the Secured Revolver Loan Agreement, then the lien on such
collateral securing the Senior Secured Notes and the Junior Secured Notes was automatically
released.1977

    The initial determination of the discount rate under the Servicing Advance Facility
Agreement was an issue of contention. In an e-mail exchange, dated June 13, 2008,
from Ken Fick (FTI)1978 to Lombardo and Peterson,1979 Fick informed Lombardo and


1972 According to Linda Voss (GMAC CF Chief Operating Officer and CFO), GMAC CF would not have ever

   entered into this transaction with a third party. Int. of L. Voss, Dec. 13, 2012, at 102:15–16.
1973 Servicing Advance Factoring Agreement, § 2(a)(3) [ALLY_0041874] (providing for an 85% advance rate for

   each type of Servicing Advance that, subject to agreement among the parties, could be adjusted to reflect the
   FMV).
1974 Under the Secured Revolver Facility, the discount rate used to determine collateral value with respect to

   Servicing Advances varied from 70–80%. See Table V.E.3.b.
1975 Release Agreement with respect to the Servicer Advance receivables, dated June 17, 2008 (ALLY_0118954).

1976 Secured Revolver Loan Agreement, §§ 7.02(l)(iii), 7.02(r) [RC00024234].

1977 Intercreditor Agreement, § 5.1(a) [ALLY_0066819].

1978 FTI had been retained by ResCap since April 2008 to perform certain limited financial consulting procedures

   in connection with liquidity reporting. See ResCap Liquidity & Financial Forecast Report to Lenders by FTI
   Consulting, Inc., at 3 [ALLY_0319759]; see also E-mail from J. Lombardo to K. Fick (June 5, 2008)
   [EXAM10839158] (requesting Fick to assist with diligence and to provide business metrics to GMAC CF in
   connection with the Servicing Advance Factoring Facility).
1979 E-mails between K. Fick and J. Peterson/J. Lombardo (June 13, 2008), at 1–2 [EXAM10306497].



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Peterson that GMAC CF wanted to increase the discount rate from 5% (as provided in the
Term Sheet)1980 to approximately 20%. Fick pointed out that “to get $600M we need to sell
$750M in Servicing Advances.” Fick advised that Tony Renzi (ResCap Director) was
following up with Marano (ResCap CEO) to “get guidance [regarding] the very steep price [a
20% discount rate] would cost.”1981 Lombardo thought the 20% discount rate was “nuts” and
wanted to know whether Marano and Young were aware of the 20% discount.1982

      Bill Hall, GMAC CF President and CEO at the time, added some color on the struggles
GMAC CF had with the Servicing Advances. He referred to them as an “unattractive asset”1983
to finance because Servicing Advances did not accrue or pay interest or have a maturity
date.1984 It was clear from contemporaneous e-mails and documents that GMAC CF had
difficulty getting comfortable with the risk profile for the Servicing Advances and was not
getting a complete, accurate picture of the assets. At one point ResCap told GMAC CF that
the Servicing Advances to be sold were triple-A securities with a two-month average life.1985
That was not the case, however, as approximately 50% of the Servicing Advances related to
loans in foreclosure.1986 Due to the short time available to close the transaction and the
inability of ResCap to provide sufficient and complete information, GMAC CF had to rely on
whatever information was provided, including a delinquent roll rate analysis, limited and
“spotty” aging information, and information from Barclays relating to GSE Servicing
Advances (as opposed to the non-GSE Servicing Advances at issue under the Servicing
Advance Factoring Facility) that were part of a Barclays facility covering 2005-2007.1987 The
cost of funds and the time value of money associated with funding purchases of Servicing
Advances under the Servicing Advance Factoring Facility were other factors driving the
discount rate, along with the expected loss rate and repayment period for purchased Servicing
Advances.1988 As part of its analysis, GMAC CF started with the information provided by
ResCap and prepared a model that included what GMAC CF thought the repayment history on
the Servicing Advances would be and modeled in a loss rate of 2%, and from that information
GMAC CF came up with a 20% discount rate.1989



1980 Special
           Board Meeting, Receivables Factoring Facility Terms and Conditions, May 31, 2008, at
    RC40008283–84 [RC40008218].
1981 E-mail from K. Fick (June 13, 2008), at 1–2 [EXAM10306497].

1982 E-mails between K. Fick and J. Peterson/J. Lombardo (June 13, 2008), at 1–2 [EXAM10306497].

1983 Int. of B. Hall, Dec. 13, 2012, at 132:16–132:17.

1984 Id. at 132:18–132:20.

1985 Id. at 133:17–20.

1986 Id. at 136:12–16.

1987 See Int. of L. Voss, Dec. 13, 2012, at 94:9–102:12.

1988 Examiner’s Interview of Bill Hall, Dec. 13, 2012, at 137:13–17, 140:4–6, 141:3–11.

1989 Id. at 141:20–142:4.



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     In an e-mail exchange dated July 15, 2008, between Lombardo and Renzi, Lombardo
discussed the next Servicing Advance sale to GMAC CF under the Servicing Advance
Factoring Agreement.1990 Lombardo referenced a meeting with Young and Marano and stated
that he and Rory Bluhm (AFI Treasury Department, Director of Structured Funding and
Operations) were putting together “an analysis of the turn times because this facility is very
expensive to ResCap.”1991 Renzi agreed that the facility was very expensive and recalled
negotiating the discount rate down from GMAC CF’s original 21% to 15%.1992 As Renzi
noted, the Servicing Advance Factoring Agreement permitted discount adjustments based on
the facts of the underlying receivable turn rates.1993

     On July 18, 2008, a month after the Servicing Advance Factoring Agreement had closed,
Morgan Stanley delivered a fairness opinion with respect to the Servicing Advance Factoring
Facility,1994 as was required for affiliate transactions in an amount greater than $500
million.1995 Delivery of the opinion was delayed because GMAC CF was not able to explain to
Morgan Stanley’s satisfaction the duration calculations ResCap had provided to GMAC CF
during negotiation of the facility and which GMAC CF had accepted. After the facility closed,
ResCap was able to locate additional data relating to the calculations, which Renzi and Young
agreed would be shared with GMAC CF and Morgan Stanley.1996 The Morgan Stanley opinion
concluded that the purchase price for the initial purchase of receivables, consummated on
July 17, 2008,1997 and the subsequent purchase of receivables contemplated to occur on
July 18, 20081998 (the date the opinion was issued) were fair to RFC from a financial point of
view.1999


1990 E-mails between T. Renzi and J. Lombardo (July 15, 2008) [EXAM10842763].

1991 E-mail from J. Lombardo (July 15, 2008) [EXAM10842763].

1992 E-mail from T. Renzi (July 15, 2008) [EXAM10842763].

1993 Id.;see also Servicing Advance Factoring Agreement, § 2(a)(3) [ALLY_0041874] (providing that the
    purchase price for the Servicing Advances could be adjusted to reflect factors, if any, agreed to by GMAC
    CF and the Servicing Advance Factoring Sellers that would result in a price that reflected the FMV of the
    Servicing Advances to be purchased); see also Servicing Advance Factoring Agreement, § 2(a)(4)
    [ALLY_0041874] (providing that any such adjustments applied by the Servicing Advance Factoring Sellers
    had to be verified by the Purchaser).
1994 Opinion Letter from Morgan Stanley to the Board of Directors of ResCap (July 18, 2008) [EXAM00126523].

1995 Senior Secured Notes Indenture, § 4.11(a)(3) [RC00024456]; Junior Secured Notes Indenture, § 4.11(a)(3)

    [RC00024572]; Secured Revolver Loan Agreement, § 7.02(l)(iii) [RC00024234] (requiring delivery of an
    opinion by a nationally recognized investment banking, accounting or appraisal firm stating the transaction is
    fair from a financial point of view with respect to affiliate transactions involving aggregate consideration
    greater than $500 million).
1996 E-mail between J. Young and T. Renzi (June 27, 2008) [EXAM10172133].

1997 See GMAC Commercial Factoring Schedule, prepared by ResCap, dated June 24, 2008 [EXAM00237715]

    (Column B at second tab, for description of projected sale of receivables).
1998 See id. (Column AB at second tab) (describing projected sale of receivables).

1999 Opinion
          Letter from Morgan Stanley to the Board of Directors of ResCap (July 18, 2008), at
    EXAM00126528 [EXAM00126523].

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     Due to lingering unanswered questions about the Servicing Advances, the Secura Group,
a financial advisory consulting firm, was engaged by GMAC CF2000 after the closing of the
Servicing Advance Factoring Facility to conduct an independent review of the Servicing
Advances.2001 The Secura Group delivered a written report to AFI dated December 2008.
According to AFI, the Secura Group had a difficult time gathering information from ResCap
and had to use assorted pieces of data to construct its analysis.2002 AFI concluded that the
Secura Group analysis fell short of “providing a clear answer as to the true estimated recovery
period and loss rate for [GMAC CF’s] servicing advances.”2003

     Despite the reluctance of GMAC CF to enter into the Servicing Advance Factoring
Facility, GMAC CF received in the first year about 72% of the amounts it spent to purchase
the Servicing Advances hereunder2004 and ultimately made a profit of $25 million on the
transaction.2005

     The Servicing Advance Factoring Facility contained provisions commonly found in
receivables factoring transactions, including (1) the obligation of the Servicing Advance
Factoring Sellers to repurchase receivables upon a breach of a representation pertaining to a
purchased receivable;2006 and (2) suspension of GMAC CF’s obligation to purchase additional
receivables until such breach was cured or the related receivables were repurchased.2007

     The Servicing Advance Factoring Facility contained other representations and
warranties,2008 covenants,2009 termination events2010 and indemnification provisions2011
standard for receivable factoring transactions between unaffiliated parties. GMAC CF and the
Servicing Advance Factoring Sellers intended the sale of the receivables to constitute an




2000 Although the Secura Group was engaged by AFI, it was chosen by ResCap. Int. of B. Hall, Dec. 13, 2012, at

    170:11–15.
2001 Memorandum, Response to September 2008 Servicing Advance Review Conducted by the Secura Group

    [CCM00172188].
2002 Id.

2003 Id. at CCM00172190.

2004 Examiner’s Interview of Bill Hall, Dec. 13, 2012, at 142:14–15.

2005 Id. at 158:11–12.

2006 Servicing Advance Factoring Agreement, § 6(a) [ALLY_0041874].

2007 Id. § 6(c).

2008 Id. § 5.

2009 Id. § 7.

2010 Id. § 8.

2011 Id. § 2(k).



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absolute sale and not a loan.2012 Orrick, Herrington & Sutcliffe LLP, counsel to the Servicing
Advance Factoring Sellers, delivered customary “true sale” opinion letters for each Servicing
Advance Factoring Seller,2013 limited by standard qualifications relating to uncertain outcomes
in cases of bankruptcy and insolvency.2014

     The Servicing Advance Factoring Facility was discussed at the ResCap Board meeting
held on June 1, 2008,2015 and approved by (1) the Unanimous Written Consent of the
Executive Committee of the ResCap Board on June 2, 2008;2016 (2) the boards of RFC2017 and
GMAC Mortgage2018 on June 3, 2008; and (3) the Unanimous Written Consent of the ResCap
Board on June 17, 2008.2019

       The Servicing Advance Factoring Facility was terminated on June 16, 2009.2020

       See Appendix V.E.4 for more details on the terms of the Servicing Advance Factoring Facility.

     5. Initial Line Of Credit Facility

     Despite having recently closed the bond exchange and the Secured Revolver Facility and
having received the benefit of certain debt forgiveness by AFI,2021 during the last quarter of




2012 Id. § 9.

2013 Opinion Letter from Orrick, Herrington & Sutcliffe LLP to RFC, GMAC Mortgage and GMAC CF for RFC

    (June 17, 2008), at ALLY_0078815 [ALLY_0078491]; Opinion Letter from Orrick, Herrington & Sutcliffe
    LLP to RFC, GMAC Mortgage and GMAC CF for GMAC Mortgage (June 17, 2008), at ALLY_0078840
    [ALLY_0078491].
2014 Opinion Letter from Orrick, Herrington & Sutcliffe LLP to RFC, GMAC Mortgage and GMAC CF for RFC

    (June 17, 2008), at ALLY_0078816–20 [ALLY_0078491]; Opinion Letter from Orrick, Herrington &
    Sutcliffe LLP to RFC, GMAC Mortgage and GMAC CF for GMAC Mortgage (June 17, 2008), at
    ALLY_0078841–45 [ALLY_0078491].
2015 Minutes of Meeting of the Board of Directors of ResCap, June 1, 2008, at RC40005749–60 [RC40005652].

2016 Unanimous Written Consent of the Executive Committee of the Board of Directors of Residential Capital,

    LLC, June 2, 2008, at RC40006443, 50–51, 79–85 [RC40006437].
2017 Action by Written Consent of the Board of Directors of Residential Funding Company, LLC, June 3, 2008, at

    ALLY_0042590–92 [ALLY_0042553].
2018 Action
         by Written Consent of the Board of Directors of GMAC Mortgage, LLC, June 3, 2008, at
    ALLY_0042514–16 [ALLY_0042484].
2019 UnanimousWritten Consent of the Board of Directors of Residential Capital, LLC, June 17, 2008, at
    RC40005787–97 [RC40005652].
2020 Residential Capital, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and

    2008 (Feb. 26, 2010), at 99 [EXAM00124455].
2021 See Exhibit V.E.2.



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2008, ResCap’s liquidity needs continued to exceed its available cash.2022 Normally having in
place a first lien secured credit facility and second and third lien secured bonds, each with a
blanket lien security package, would be an impediment to putting in place a new significant
secured credit facility. However, because of the favorable permitted lien and collateral release
provisions set forth in the Secured Revolver Loan Agreement, the Senior Secured Notes
Indenture, the Junior Secured Notes Indenture and the Intercreditor Agreement, the Initial
Line of Credit Borrowers (PATI and RAHI) were able to enter into the Initial Line of Credit
Facility on November 20, 2008, with AFI, as lender, in the amount of $430 million, which
facility was guaranteed on a full recourse basis by ResCap. Draws under the Initial Line of
Credit Facility were only available if ResCap’s liquidity fell below a certain level.2023
Although the Secured MSR Facility Borrowers2024 and Secured Revolver Facility
Borrowers2025 were required to make a solvency representation, the Initial Line of Credit
Borrowers were never required to do so under the terms of the Initial Line of Credit
Agreement.

     As a result of failed efforts to find unaffiliated lenders (as described below), it became
evident that AFI was the lender of last resort for the Initial Line of Credit Facility. In an e-mail
from Erik Graber of Goldin Associates to Lombardo and Melissa White (Assistant Treasurer
of various ResCap Affiliates) dated December 16, 2008,2026 Graber asked (presumably, in
connection with the preparation of a fairness opinion in anticipation of an increase to the




2022 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 12, 2008, at RC40005906

   [RC40005652]. Young and Lombardo discussed the availability of funds under the Secured Revolver
   Facility. Young said that ResCap would not draw against the revolving facility as there was insufficient
   collateral available to support further advances and Marano said the bond exchange transaction had not
   generated cash for ResCap. Lombardo said that based on forecast projections, on December 17, 2008,
   ResCap would be required to borrow under the Initial Line of Credit Facility that the AFI Board had had
   recently approved as part of a ResCap support package. Id.
2023 Initial Line of Credit Agreement, § 2.03(a) [ALLY_0023145]. The Initial Line of Credit Borrowers could

   request loans only if, on the proposed funding date and after giving effect to such loans, either or both of the
   following liquidity tests were met: (1) unrestricted ResCap liquidity was less than $250 million and/or
   (2) ResCap consolidated liquidity was less than $750 million. Id.; see also Appendix V.E.5.c.
2024 Secured MSR Loan Agreement, § 6.01(h) [RC00024114] (providing that other than as explicitly set forth in

   the Seventh Amendment to the Secured MSR Loan Agreement, dated December 10, 2008, the Secured MSR
   Facility Borrowers were always required to make a solvency representation). See Appendix V.E.2.e.(7)
   (detailing the solvency representation).
2025 Secured Revolver Loan Agreement, § 6.01(h) [RC00024234] (explaining that other than as explicitly set

   forth in the Fourth and Fifth Amendments to the Secured Revolver Loan Agreement, dated December 12,
   2008 and December 31, 2008, respectively, the Secured Revolver Facility Borrowers were always required to
   make a solvency representation). See Appendices V.E.3.i.(5) and V.E.3.i.(6) for more detail regarding the
   solvency representation.
2026 E-mails between E. Graber and J. Lombardo (Dec. 16, 2008) [EXAM10178557].



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Initial Line of Credit Facility)2027 about ResCap’s efforts to seek alternative lenders for the
Initial Line of Credit Facility.2028 In response, Lombardo stated that there were no external
third party lenders with the liquidity or desire to finance the assets pledged to secure the Initial
Line of Credit Facility given the “current extraordinary tightness in the financial markets
coupled with [ResCap’s] corporate rating, the level of [ResCap’s] [TNW] (below $500M) and
the classification of assets.”2029 Lombardo also stated that ResCap had no other alternative,
and that since the second quarter of 2008, ResCap had been in discussions with no fewer than
fifteen banks around the world.2030

     Since a blanket lien on all assets was provided to secure the Secured Revolver Facility,
the Senior Secured Notes, and the Junior Secured Notes, certain collateral had to be released
in order to have such collateral available to secure the Initial Line of Credit Facility. To do so,
on November 20, 2008, (1) the Secured Revolver Facility Borrowers executed a Request for
Collateral Release;2031 (2) AFI, as the lender agent, executed a Consent and Direction to
Release Collateral;2032 and (3) the First Priority Collateral Agent, the Second Priority
Collateral Agent and the Third Priority Collateral Agent executed a Partial Release of
Collateral.2033 The relatively liberal collateral release provisions set forth in the Secured
Revolver Loan Agreement,2034 the Senior Secured Notes Indenture,2035 the Junior Secured




2027 Opinion Letter  from Goldin Associates to the Committee of the Independent Members of the Board of
    Directors of ResCap (Dec. 22, 2008) [GOLDIN00125814]. The anticipated increase to the Initial Line of
    Credit Facility would have resulted in a lending facility with a total commitment amount in excess of $5
    million, thus triggering the provisions under the Senior Secured Notes Indenture and the Junior Secured
    Notes Indenture requiring delivery of a fairness opinion. See Senior Secured Notes Indenture, § 4.11(a)(3)
    [RC00024456]; Junior Secured Notes Indenture, § 4.11(a)(3) [RC00024572]; Secured Revolver Loan
    Agreement, § 7.02(i)(iii) [RC00024234] (requiring delivery of an opinion by a nationally recognized
    investment banking, accounting or appraisal firm stating the transaction is fair from a financial point of view
    with respect to affiliate transactions involving aggregate consideration greater than $500 million).
2028 E-mails between E. Graber and J. Lombardo (Dec. 16, 2008) [EXAM10178557].

2029 Id.

2030 Id.

2031 Request  for Collateral Release, dated Nov. 20, 2008 [ALLY_0054102]. The collateral released (which
    became the initial collateral under the Initial Line of Credit Facility) included certain pledged shares and
    equity interests, certain pledged promissory notes, certain deposit and securities accounts and all accounts,
    chattel paper, general intangibles and other assets relating to the foregoing pledged assets.
2032 Consent and Direction to Release Collateral, dated Nov. 20, 2008 [ALLY_0054408].

2033 Partial Release of Collateral, dated Nov. 20, 2008 [ALLY_0054713].

2034 Secured Revolver Loan Agreement, § 12.11 [RC00024234].

2035 Senior Secured Notes Indenture, § 8.04(a) [RC00024456].



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Notes Indenture2036 and the Intercreditor Agreement2037 made the movement of this collateral
securing the Secured Revolver Facility, the Senior Secured Notes and the Junior Secured
Notes possible.2038

     Under the terms of the Secured Revolver Loan Agreement, there were restrictions
imposed on the disposition and transfer of certain collateral designated as “Primary
Collateral.”2039 “Primary Collateral” included only a portion of the collateral covered by the
blanket lien granted under the related security documents. As a result, the disposition of non-
Primary Collateral did not trigger the collateral disposition restrictions set forth in the Secured
Revolver Loan Agreement, the Senior Secured Notes Indenture, and the Junior Secured Notes
Indenture, allowing the Secured Revolver Facility Borrowers and the Secured Revolver
Facility Guarantors to freely elect to have the lien on the non-Primary Collateral2040 released
and re-encumbered under other permitted credit facilities, such as the Line of Credit Facilities,
without the consent of the holders of either the Senior Secured Notes or the Junior Secured
Notes.

     Pursuant to the Intercreditor Agreement, if the lien on collateral securing the Secured
Revolver Facility was released by the First Priority Collateral Agent in connection with a
transaction permitted under the Secured Revolver Loan Agreement, then the lien on such
collateral securing the Senior Secured Notes and the Junior Secured Notes would be
automatically released.2041




2036 Junior Secured Notes Indenture, § 8.04(a) [RC00037197].

2037 Intercreditor Agreement, § 5.1(a) [ALLY_0066819].

2038 The definition of “Collateral Disposition” set forth in the Secured Revolver Loan Agreement was limited to

    the disposition or transfer of only “Primary Collateral” and the lien covenant in the Secured Revolver Loan
    Agreement permitted liens on financing assets securing “Permitted Funding Indebtedness”. The term
    “Permitted Funding Indebtedness” was very broad and included, among other things, indebtedness incurred
    in the ordinary course through financings, including customary lines of credit, and included other
    indebtedness on terms at least as favorable to ResCap or its applicable Subsidiary that would be available on
    an arm’s-length basis. Secured Revolver Loan Agreement, Sched. 1.01 [RC00024234].
2039 Id. (definition of “Primary Collateral”).

2040 Int. of L. Hall, Nov. 29, 2012, 114:25 (discussing the Secured Revolver Facility and making a distinction

    between “Primary Collateral” and non-Primary Collateral by stating that “the blanket lien had no
    restrictions”).
2041 Intercreditor Agreement, § 5.1(a) [ALLY_0066819].



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     In fact, in an October 24, 2008 e-mail from Dave Miller of Elliott Management
Corporation to Lenard Tessler (Managing Director of Cerberus), Miller refers to the security
interest held by the holders of the Senior Secured Notes as “almost completely illusory,”2042
and stated that ResCap had the ability to free up collateral to be re-encumbered to generate
liquidity to “denude the 2nd lien bondholders of their security interests.”2043 Collateral was
released from the liens securing the Secured Revolver Facility, the Senior Secured Notes and
the Junior Secured Notes and re-encumbered as collateral securing the Line of Credit
Facilities on at least six different occasions.2044

      The Initial Line of Credit Facility contained representations and warranties,2045
covenants,2046 events of default,2047 and indemnification provisions2048 that were standard for
facilities of comparable size and nature (and would have been typical for a syndicated credit
facility with unaffiliated lenders). However, the Initial Line of Credit Borrowers were not
required at closing to, nor did they ever, make a solvency representation. The provisions of the
Initial Line of Credit Facility that exemplified an affiliate transaction more favorable to the
Initial Line of Credit Borrowers than would have been obtained in a syndicated credit facility
with unaffiliated lenders were the same as those provided to the Secured Revolver Facility
Borrowers under the Secured Revolver Facility;2049 in addition, the Initial Line of Credit
Borrowers were never required to pay an upfront fee when the facility closed (whereas an
upfront fee was payable at the closing of the Secured Revolver Facility). Moreover, it would
have been extremely unlikely for a single lender to provide a facility of this size.




2042 E-mail from D. Miller (Oct. 24, 2008) [CCM00393464].

2043 Id.

2044 Partial Release of Collateral, dated Nov. 20, 2008 [ALLY_0054713]; Partial Release of Collateral, dated

    May 19, 2009 [ALLY_0057631]; Partial Release of Collateral, dated June 5, 2009 [ALLY_0057873]; Partial
    Release of Collateral, dated Nov. 9, 2009 [ALLY_0065802]; Partial Release of Collateral, dated Dec. 16,
    2009 [ALLY_0066099]; Partial Release of Collateral, dated May 14, 2010 [ALLY_0070276]. In connection
    with a later collateral release from the Secured Revolver Facility on May 14, 2010, ResCap obtained a
    fairness opinion from Goldin Associates, dated May 13, 2010, stating that the “terms upon which [ResCap]
    will add the Additional Collateral to the Collateral as security under the [A&R Line of Credit Agreement],
    are fair to [ResCap] and to its creditors (other than [AFI]), from a financial point of view.” Opinion Letter
    from Goldin Associates to the Committee of the Independent Members of the Board of Directors of ResCap
    (May 13, 2010), at GOLDIN00125805 [GOLDIN00125802].
2045 Initial Line of Credit Agreement, § 6.01 [ALLY_0023145].

2046 Id. Art. VII.

2047 Id. § 8.01.

2048 Id. Art. X.

2049 See Section V.E.3.



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    On November 20, 2008, the Initial Line of Credit Facility was approved by the ResCap
Board2050 and the boards of PATI2051 and RAHI.2052 The Initial Line of Credit Facility was
amended and restated in December 2009 by the A&R Line of Credit Facility.

    See Appendix V.E.5 for more details on the terms of the Initial Line of Credit
Agreement.

    6. ResMor Loan Facility

     On November 20, 2008, the closing date of the Initial Line of Credit Facility, the ResMor
Facility Borrower (GMAC Canada) entered into the ResMor Loan Facility with AFI in the
principal amount of CDN $82 million. Also, on the same day, GMAC Canada, as seller, and
AFI, as purchaser, entered into a purchase agreement pursuant to which AFI agreed, subject to
the satisfaction of conditions precedent, to purchase from GMAC Canada the stock of
1020491 Alberta Ltd. and ResMor.2053

      The principal amount of the ResMor Loan was intended to be repaid upon the closing of
the ResMor Sale by setting off the purchase price against such principal amount2054 and in
fact, on January 1, 2009, the ResMor Sale closed and the ResMor Loan was repaid in the
manner so contemplated.2055 The ResMor Loan Facility provided that the loan proceeds were
to be used to repay existing debt due to ResCap or any of its Subsidiaries.2056 Ultimately, the
loan proceeds were used to repay (1) intercompany debt owed by GMAC Canada to its direct
parent, GMAC RFC International Holdings Cooperatief U.A.;2057 and (2) immediately




2050 Action by Written Consent of the Board of Directors of Residential Capital, LLC, dated Nov. 20, 2008, at

    RC40005928–38 [RC40005652].
2051 Action by Written Consent of the Board of Directors of Passive Asset Transactions, LLC, dated Nov. 20,

    2008 [ALLY_0051116].
2052 Action by Written Consent of the Board of Directors of RFC Asset Holdings II, LLC, dated Nov. 20, 2008

    [ALLY_0051015].
2053 Share Purchase Agreement, between GMAC Residential Funding of Canada, Limited and GMAC LLC,
    dated Nov. 20, 2008 [RC00025358].
2054 ResMor Loan Agreement, § 2.2 [RC00025269].

2055 Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 11, 2009), at 56 (reporting outstanding
    advance under the ResMor Loan Facility was settled as consideration given for the completed ResMor Sale);
    see also Payout and Release Letter from GMAC LLC to GMAC Residential Funding of Canada, Limited,
    dated Jan. 1, 2009 [ALLY_0127021] (evidencing termination of the facility).
2056 ResMor Loan Agreement, § 6.1.2 [RC00025269].

2057 Memorandum,    GMAC ResCap Significant Transaction Memo, General Information and Transaction
    Description (Part I) #1144, at EXAM0020432–34 [EXAM00220430]; E-mail from S. Bashmakov (Nov. 20,
    2008) [EXAM10843968].

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thereafter, intercompany debt owed by GMAC RFC International Holdings Cooperatief U.A.
to ResCap.2058 AFI’s recourse against GMAC Canada to recover the principal amount of the
ResMor Loan was limited solely to AFI’s right to foreclose on the shares pledged to secure the
ResMor Loan Facility.2059

      On November 20, 2008, the ResMor Sale and the ResMor Loan Facility were approved
by the (1) ResCap Board;2060 and (2) the ResMor board.2061 On December 2, 2008, Goldin
Associates delivered a presentation to the Independent Directors regarding the ResMor
Sale,2062 and on December 3, 2008, Goldin Associates rendered a fairness opinion with respect
thereto, stating that the ResMor Sale was fair, from a financial point of view, to ResCap and
its creditors (other than AFI).2063

     The ResMor Facility contained very basic representations and warranties2064 and
covenants (but no financial covenants, which was not atypical given the short term nature and
purpose of the ResMor Facility).2065 The events of default2066 were standard for facilities of
comparable size and nature (and would have been typical for a syndicated credit facility with
unaffiliated lenders).

     The ResMor Loan Facility had a maturity date of the earlier of the closing of the ResMor
Sale and December 22, 2008, or such earlier date as AFI and GMAC Canada agreed.2067 The
ResCap Board, as part of the written consent dated November 20, 2008, contemplated a
process to repay the ResMor Loan Facility (and prevent the collateral from being foreclosed
upon) if a default occurred and the ResMor Sale had not yet closed.2068 Although



2058 E-mail from S. Bashmakov (Nov. 20, 2008) [EXAM10843968].

2059 ResMor Loan Agreement, § 5.1 [RC00025269].

2060 Action by Written Consent of the Board of Directors of Residential Capital, LLC, dated Nov. 20, 2008, at

    RC40005913–27 [RC40005652].
2061 Resolutions of the Directors of GMAC Residential Funding of Canada, Limited, dated Nov. 20, 2008, at

    ALLY_0126674–76 [ALLY_0126650].
2062 Presentation to the Committee of Independent Members of the Board of Directors of Residential Capital,

    LLC, Regarding The Purchase of ResMor Trust Company by GMAC, LLC (Dec. 2, 2008)
    [GOLDIN00129056].
2063 Opinion Letter from Goldin Associates to the Committee of the Independent Members of the Board of
    Directors of ResCap (Dec. 3, 2008) [RC00027945].
2064 ResMor Loan Agreement, § 4.2 [RC00025269].

2065 Id. § 6.

2066 Id. § 8.1.

2067 Id. § 1.1 (definition of “Maturity Date”).

2068 Action by Written Consent of the Board of Directors of Residential Capital, LLC, dated Nov. 20, 2008, at

    RC40005914 [RC40005652].

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December 22, 2008 passed without consummation of the ResMor Sale (which technically
constituted an event of default under the ResMor Loan Facility), by January 1, 2009 (a matter
of 10 days) the ResMor Sale had occurred and the ResMor Loan was repaid.

     See Appendix V.E.6 for more details on the terms of the ResMor Loan Facility and
Section V.F.4.f for more details on the ResMor Sale.

    7. Second Line Of Credit Facility

     In an effort to raise additional cash, asset sales were consummated (e.g., the ResMor
Sale, which closed in January 2009) and the US/UK Broker-Dealer Sale.2069 In addition, AFI
continued to contribute ResCap bonds to ResCap to ensure ResCap’s compliance with its
TNW covenants.2070 Approximately fifteen days after the Initial Line of Credit Facility closed,
Lombardo advised the ResCap Board that ResCap wished to extend and increase the Initial
Line of Credit Facility.2071 A draft term sheet, dated December 5, 2008, contemplated a $400
million increase to the Initial Line of Credit Facility.2072 Goldin Associates delivered a fairness
opinion, dated December 22, 2008, in anticipation of the increase to the commitment amount
under the Initial Line of Credit Facility.2073 Although the Initial Line of Credit Facility was
amended on numerous occasions to add collateral and to extend the maturity date, the Initial
Line of Credit commitment amount was never increased. Instead, on June 1, 2009, AFI
provided the Second Line of Credit Borrowers (PATI and RAHI), with the Second Line of
Credit Facility, a new, separate,2074 secured credit facility in the initial amount of $370 million
on substantially similar terms to the Initial Line of Credit Facility (including, among other
things, the Second Line of Credit Borrowers were not required to make a solvency
representation or pay an upfront fee or ongoing commitment or facility fees).




2069 See Section V.F.4.f for discussion of the ResMor Sale and Section V.F.4.g for discussion of the US/UK

    Broker-Dealer Sale.
2070 Materials
            of a Meeting of the GMAC Board of Directors, May 28, 2009, at ALLY_0239887
    [ALLY_0239885].
2071 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Dec. 5, 2008, at
    RC40005941 [RC40005652] (Lombardo discussed ResCap’s liquidity drain for the period December 2, 2008
    through December 31, 2008).
2072 Draft Terms and Conditions for the Initial Line of Credit Agreement, dated Dec. 5, 2008 [ALLY_0239167].

2073 Opinion Letter from Goldin Associates to the Committee of the Independent Members of the Board of
    Directors of ResCap (Dec. 22, 2008) [GOLDIN00125814].
2074 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, May 28, 2009, at

    RC40006154 [RC40005949] (engaging in discussion with members of AFI management and advisors from
    Morrison Cohen with respect to the optimal structure and terms of the proposed increase in funding
    capacity).

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     Although the Line of Credit Facilities remained separate until December 30, 2009 (when
they were combined into the A&R Line of Credit Facility), they served as parallel liquidity
sources. The Line of Credit Facilities were secured by the same collateral2075 and had the same
advance rates. Borrowing requests and availability under both Line of Credit Facilities were
permitted only when ResCap’s liquidity fell below the same threshold levels.2076 Second Line
of Credit Loans were available to the Second Line of Credit Borrowers only after the Initial
Line of Credit Facility was fully drawn.2077 On June 12, 2009, the Second Line of Credit
Facility was increased from $370 million to $470 million2078 giving the Second Line of Credit
Borrowers the ability to borrow up to a total of $900 million under the combined Line of
Credit Facilities.

     In connection with the Second Line of Credit Facility, on June 25, 2009, a fairness
opinion was delivered by Goldin Associates concluding that the terms of the transaction
documents “are fair to [ResCap] and its creditors (other than [AFI]), from a financial point of
view.”2079 Goldin Associates also provided a favorable fairness opinion, dated September 17,
2009, with respect to an amendment to the Second Line of Credit Agreement relating to
increasing the size of the Second Line of Credit Facility.2080

     The Second Line of Credit Facility mirrored the Initial Line of Credit Facility, containing
representations and warranties,2081 covenants,2082 events of default2083 and indemnification
provisions2084 that were standard for facilities of comparable size and nature (and would have
been typical for a syndicated credit facility with unaffiliated lenders). The provisions of the
Second Line of Credit Facility that exemplified an affiliate transaction more favorable to the
Second Line of Credit Borrowers than would have been obtained in a third party financing
were the same as those provided to the Initial Line of Credit Borrowers under the Initial Line
of Credit Facility.2085

2075 The collateral also secured the obligations under the Secured MSR Facility, the Master Netting Agreement

    and other derivative transactions with GMAC IM as a counterparty.
2076 Initial Line of Credit Agreement, § 2.03(a) [ALLY_0023145]; Second Line of Credit Agreement, § 2.03(a)

    [ALLY_0023953].
2077 Second Line of Credit Agreement, Art. V [ALLY_0023953].

2078 Amendment No.1 to the Second Line of Credit Agreement, dated June 12, 2009, § 2.2(a) [ALLY_0026615].

2079 Opinion Letter from Goldin Associates to the Committee of the Independent Members of the Board of
    Directors of ResCap (June 25, 2009), at GOLDIN00125801 [GOLDIN00125798].
2080 Opinion Letter from Goldin Associates to the Committee of the Independent Members of the Board of
    Directors of ResCap (Sept. 17, 2009) [GOLDIN00125793].
2081 Second Line of Credit Agreement, § 6.01 [ALLY_0023953].

2082 Id. Art. VII.

2083 Id. § 8.01.

2084 Id. § 10.01.

2085 See Section V.E.5.



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      In order to meet ResCap’s continuing liquidity needs, AFI and ResCap intended to
increase the amount that could be drawn under both Line of Credit Facilities and eventually
planned to combine them.2086 Goldin Associates delivered a favorable fairness opinion, dated
November 19, 2009, in connection with proposed amendments to the Line of Credit Facilities,
which would increase the cumulative commitment amount available to ResCap under those
facilities up to an additional $500 million.2087 On December 21, 2009, just before the
consolidation of the Line of Credit Facilities on December 30, 2009, the size of the Second
Line of Credit Facility was increased from $470 million to $670 million.2088

    The Second Line of Credit Facility was approved by the boards of PATI2089 and RAHI2090
on May 30, 2009, and by the ResCap Board on May 31, 2009.2091

     See Appendix V.E.7 for more details on the terms of the Second Line of Credit Facility.

    8. Amended And Restated Credit Facilities

     On December 30, 2009, the Line of Credit Facilities were combined into one
agreement2092 and the Secured Revolver Loan Agreement was amended and restated.2093 The
Secured Revolver Loan Agreement was modified to convert $1.55 billion of Secured Revolver
Facility Revolver Loans into Secured Revolver Facility Term Loans, eliminating the ability of
the Secured Revolver Facility Borrowers to draw any new loans under the Secured Revolver
Facility.

    Under the A&R Line of Credit Agreement, RAHI and PATI assigned their obligations as
“Borrowers” under the Line of Credit Facilities to RFC and GMAC Mortgage (previously,
RFC and GMAC Mortgage were “Guarantors” under the Line of Credit Facilities). At closing
and upon any draws under the A&R Line of Credit Facility, the A&R Line of Credit
Borrowers (new borrowers, GMAC Mortgage and RFC) were required to make a solvency



2086 Presentation to The Committee of Independent Members of the Board of Directors of ResCap regarding the

   June 1, 2009 Secured Line of Credit with GMAC (June 24, 2009), at 4 [GOLDIN00128957].
2087 Opinion Letterfrom Goldin Associates to the Committee of the Independent Members of the Board of
   Directors of ResCap (Nov. 19, 2009) [GOLDIN00125789]
2088 Amendment No.10 to the Second Line of Credit Agreement, dated Dec. 21, 2009, § 2.1(a) [ALLY_0077250].

2089 Action by Written Consent of the Board of Directors of Passive Asset Transactions, LLC, dated May 30,

   2009 [ALLY_0056164].
2090 Action by Written Consent of the Board of Directors of RFC Asset Holdings II, LLC, dated May 30, 2009

   [ALLY_0056122].
2091 Action by Written Consent of the Board of Directors of Residential Capital, LLC, dated May 31, 2009, at

   RC40006156–69 [RC40005949].
2092 A&R Line of Credit Agreement [ALLY_0240633].

2093 A&R Secured Revolver Loan Agreement [ALLY_0066146].



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representation,2094 something which had never been required previously under the Line of
Credit Facilities. The solvency representation made under the A&R Line of Credit
Agreement2095 was in substance identical to the solvency representation made under the A&R
Secured Revolver Loan Agreement;2096 however, the term “Solvent,” as used in the solvency
representation set forth in the A&R Line of Credit Agreement, was never defined.2097

     Under the A&R Line of Credit Facility, (1) a new negative covenant requiring
maintenance of Consolidated Liquidity (cash and cash equivalents of ResCap on a
consolidated basis, excluding cash and cash equivalents of Ally Bank) thresholds2098 was
added that mirrored the liquidity maintenance covenant under the Secured Revolver
Facility;2099 and (2) the interest rate margin under the A&R Line of Credit Agreement was
decreased to 2.75%2100 (interest had accrued at 3.50% under the Line of Credit Facilities).2101
When the A&R Line of Credit Facility was first entered into, the discount factors used to
determine the collateral “value” (for borrowing base purposes) were not changed from
discount factors set forth in the Line of Credit Facilities.2102 However, the amendment and
restatement provided AFI the ability to modify the discount factors in its reasonable discretion
taking into account estimated collections, market value, legal risks, cost of recovery and other
matters customarily considered by commercial lenders when determining advance rates.2103

    The A&R Line of Credit Agreement contained representations and warranties,2104
covenants,2105 events of default2106 and indemnification provisions2107 that were standard for



2094 A&R Line of Credit Agreement, § 6.01(h) [ALLY_0240633].

2095 Id.

2096 A&R Secured Revolver Loan Agreement, § 6.01(h) [ALLY_0066146].

2097 See A&R Line of Credit Agreement, Sched. 1.01 [ALLY_0240633].

2098 A&R Line of Credit Agreement, § 7.02(i) [ALLY_0240633].

2099 Secured Revolver Loan Agreement, § 7.02(i) [RC00024234]; A&R Secured Revolver Loan Agreement, §

    7.02(i) [ALLY_0066146].
2100 A&R Line of Credit Agreement, Sched. 1.01 [ALLY_0240633] (definition of “Applicable Margin”).

2101 Initial Line of Credit Agreement, Sched. 1.01 [ALLY_0023207] (definition of “Applicable Margin”); Second

    Line of Credit Agreement, Sched. 1.01 [ALLY_0023953] (definition of “Applicable Margin”).
2102 CompareA&R Line of Credit Agreement, Sched. 2.04 [ALLY_0240633], with Second Line of Credit
    Agreement, Sched. 2.04 [ALLY_0023953], and Initial Line of Credit Agreement, Sched. 2.04
    [ALLY_0023241].
2103 A&R Line of Credit Agreement, Sched. 2.04, § 4 [ALLY_0240633].

2104 Id. § 6.01.

2105 Id. Art. VII.

2106 Id. § 8.01.

2107 Id. § 10.01.



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facilities of comparable size and nature (and would have been typical for a syndicated credit
facility with unaffiliated lenders). Provisions exemplifying an affiliate transaction that were
more favorable to the A&R Line of Credit Borrowers, were the same as those provided under
the Line of Credit Facilities.2108

     The A&R Line of Credit Agreement was amended on December 23, 2010, to, among
other things, add a $500 million unsecured swingline facility.2109 In an e-mail from Joe Ruhlin
(ResCap treasury executive and AFI treasury managing director), dated December 18, 2010,
Ruhlin expressed concern with the TNW of RFC and stated “if [swingline] were really
unsecured, it would be easy to allocate the debt to [GMAC Mortgage] or [ResCap], but with it
being secured, we have the same [RFC] TNW problem.”2110 Ultimately, the swingline facility
was made available solely to GMAC Mortgage.2111 ResCap received favorable fairness
opinions from Goldin Associates, one dated December 21, 20102112 and another dated
January 4, 2011,2113 in connection with the addition of the swingline facility. Ultimately, the
unsecured swingline facility became secured under the A&R Line of Credit Agreement.2114
The swingline was never drawn2115 and pursuant to an amendment thereto dated, April 10,
2012, the swingline facility was terminated.2116




2108 See Sections V.E.5, V.E.7.

2109 Amend. No.4 to the A&R Line of Credit Agreement, dated Dec. 23, 2010 [RC00025467].

2110 E-mail from J. Ruhlin (Dec. 18, 2010) [EXAM10307775].

2111 Amend. No.4 to the A&R Line of Credit Agreement, dated Dec. 23, 2010, § 2.2 [RC00025467].

2112 Opinion Letter from Goldin Associates to the Committee of the Independent Members of the Board of
    Directors of ResCap (Dec. 21, 2010) [GOLDIN00125810].
2113 Opinion Letter from Goldin Associates to the Committee of the Independent Members of the Board of
    Directors of ResCap (Jan. 4, 2011) [GOLDIN00125824].
2114 See Amend. No.7 to the A&R Line of Credit Agreement, dated Sept. 29, 2011 [RC00025831].

2115 First Day Affidavit, at 26.

2116 See Amend. No. 7 to the A&R Line of Credit Agreement, dated Apr. 10, 2012 [RC00026655].



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    The A&R Secured Revolver Loan Agreement2117 and the A&R Line of Credit Facility2118
were approved by the ResCap Board on December 29, 2009, and by the GMAC Mortgage2119
and RFC2120 boards on December 30, 2009.

    On the Petition Date, an aggregate amount of $747 million under the A&R Secured
Revolver Loan Agreement2121 and $380 million under the A&R Line of Credit Facility2122
remained outstanding.

    See Appendix V.E.3 for more details on the terms of the A&R Secured Revolver Loan
Agreement and Appendix V.E.8 for more details on the terms of the A&R Line of Credit
Agreement.

     9. BMMZ Repo Facility

     On May 14, 2010, GMAC Mortgage and RFC each entered into separate financing
agreements with Citibank2123 and Goldman Sachs2124 that took the form of mortgage loan
repurchase facilities with an initial aggregate commitment of $300 million.2125 ResCap




2117 Action by Written Consent of the Board of Directors of Residential Capital, LLC, dated Dec. 29, 2009

    [ALLY_0067456].
2118 Action by Written Consent of the Board of Directors of Residential Capital, LLC, dated Dec. 29, 2009

    [ALLY_0072506].
2119 Action by Written Consent of the Board of Directors of GMAC Mortgage, LLC, dated Dec. 30, 2009, at

    ALLY_72337–48 [ALLY_0072327] (with respect to the A&R Line of Credit Facility); Action by Written
    Consent of the Board of Directors of GMAC Mortgage, LLC, dated Dec. 30, 2009, at ALLY_0067179–90
    [ALLY_0067164] (with respect to the A&R Secured Revolver Loan Agreement).
2120 Action by Written Consent of the Board of Directors of Residential Funding Company, LLC, dated Dec. 30,

    2009, at ALLY_0067256–66 [ALLY_0067164] (with respect to the A&R Secured Revolver Loan
    Agreement); Action by Written Consent of the Board of Directors of Residential Funding Company, LLC,
    dated Dec. 30, 2009, at ALLY_0072387–97 [ALLY_0072327] (with respect to the A&R Line of Credit
    Facility).
2121 First Day Affidavit, at 26.

2122 Id.

2123 MasterRepurchase Agreement by and among Citibank, N.A., and GMAC Mortgage, LLC, Residential
    Funding Company, LLC, and Residential Capital, LLC, dated May 14, 2010 [GOLDIN00026092].
2124 Master Repurchase Agreement by and among Goldman Sachs Mortgage Company, and GMAC Mortgage,

    LLC, Residential Funding Company, LLC, and Residential Capital, LLC, dated May 14, 2010
    [RC00068945].
2125 Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of

    ResCap Regarding Proposed Master Repurchase Facility between GMAC Mortgage, LLC and Residential
    Funding Company, LLC and BMMZ Holdings LLC, dated Dec. 20, 2011, at GOLDIN00129245
    [GOLDIN00129238].

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guaranteed the obligations of GMAC Mortgage and RFC under those repo facilities.2126 Each of
these two facilities had an initial expiration date of December 20, 20112127 (which were
subsequently extended to January 19, 2011)2128 and ResCap needed to either extend or refinance
such facilities before they expired. Citibank expressed an interest in amending and extending its
expiring repo facility in an amount large enough to also cover the then existing commitment of
Goldman Sachs under its expiring facility.2129 In connection with Citibank’s repo facility
proposal, Citibank required that (1) an existing MSR facility provided by Citibank not be
extended beyond its March 2012 termination date; (2) there be a reduction in the size of such
MSR facility from $500 million to $200 million; and (3) such MSR facility be repaid in full in
four consecutive monthly payments of $50 million.2130 The terms of the proposed Citibank repo
facility were substantially similar to the terms of the expiring Citibank facility, but with
proposed advance rates of 50%2131 and a commitment fee of 75 bps ($1.875 million).2132

     AFI proposed to ResCap a new mortgage loan repo facility to be provided by one of its
Subsidiaries, BMMZ, on substantially the same terms as proposed by Citibank, but with some
advantages, including (1) no commitment fee; (2) more favorable advance rates; and (3) no
aggressive amortization schedule.2133

     Goldin Associates was engaged to provide an analysis of the terms of the Citibank
proposal and the terms of the BMMZ Repo Facility, and to provide a fairness opinion. Goldin
Associates concluded that the BMMZ Repo Facility contained terms that were at least as
favorable to ResCap and its creditors (other than AFI) as those that could reasonably be
obtained by ResCap from an unaffiliated third party lender.2134


2126 Master Guarantee of Residential Capital, LLC, in favor of Citigroup Global Markets Realty Corp., dated

    May 14, 2010, § 1 [GOLDIN00116743]; Master Guarantee of Residential Capital, LLC, in favor of Goldman
    Sachs Mortgage Company, dated May 14, 2010, § 1 [GOLDIN00035792].
2127 Master Repurchase Agreement by and among Goldman Sachs Mortgage Company, and GMAC Mortgage,

    LLC, Residential Funding Company, LLC, and Residential Capital, LLC, dated May 14, 2010, § 34
    [RC00068945]; Master Repurchase Agreement by and among Citibank, N.A., and GMAC Mortgage, LLC,
    Residential Funding Company, LLC, and Residential Capital, LLC, dated May 14, 2010, § 34
    [GOLDIN00026092].
2128 Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of

    ResCap Regarding Proposed Master Repurchase Facility between GMAC Mortgage, LLC and Residential
    Funding Company, LLC and BMMZ Holdings LLC, dated Dec. 20, 2011, at GOLDIN00129245
    [GOLDIN00129238].
2129 Id. at GOLDIN00129247.

2130 Id.

2131 Id.(the reference to the 50% advance rate was bracketed in the presentation materials and most likely
    indicated the advance rate was to be discussed).
2132 Id.

2133 See id. at GOLDIN00129249.

2134 Id. at GOLDIN00129255.



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     The BMMZ Repo Facility was approved by the GMAC Mortgage and RFC boards, on
December 20, 2011,2135 and the ResCap Board on December 15, 2011.2136 The BMMZ Repo
Facility closed on December 21, 2011 and the initial funding thereunder was in the aggregate
amount of $250 million (the entire facility commitment amount) against mortgage loans sold
by GMAC Mortgage and RFC to BMMZ with an aggregate unpaid balance of approximately
$932.5 million and an aggregate market value of approximately $498.7 million.2137 Shortly
after the closing of the BMMZ Repo Facility, BMMZ executed a default waiver on
January 30, 2012,2138 pursuant to which it waived the event of default under the BMMZ Repo
Facility for the failure of ResCap to be in compliance with the TNW covenant for the period
ending December 31, 2011.

     The BMMZ Repo Facility contained closing conditions,2139 representations and
warranties,2140 events of default2141 and indemnification provisions2142 that are generally
customary for a repo facility. Events of default included failure to make payments,2143 failure
to remit payments under the purchased mortgage loans to the collection accounts,2144 breaches
of representations and warranties,2145 bankruptcy,2146 and cross-defaults to the A&R Line of
Credit Agreement.2147 Upon the occurrence of an event of default, the BMMZ Repo Sellers
(RFC and GMAC Mortgage) were obligated to repurchase the purchased mortgage loans.2148
The parties intended that the sale by the BMMZ Repo Sellers of the mortgage loans to BMMZ
constitute sales and purchases and not loans, but the BMMZ Master Repo Agreement
contained customary re-characterization provisions pursuant to which the BMMZ Repo

2135 Action by Written Consent of the Board of Directors of GMAC Mortgage, LLC, dated Dec. 20, 2011, at

    ALLY_0139938–44 [ALLY_0139910]; Action by Written Consent of the Board of Directors of Residential
    Funding Company, LLC, dated Dec. 20, 2011, at ALLY _0139991–97 [ALLY _0139949].
2136 Certificate of Assistant Secretary of Residential Capital, LLC, dated Dec. 19, 2011, attaching an excerpt from

    a Special Meeting of the Board of Directors of Residential Capital, LLC, held on Dec. 15, 2011, at
    ALLY_0140033–36 [ALLY_0140002].
2137 Request/Confirmation from RFC to BMMZ, dated Dec. 22, 2011 [ALLY_0006232]; Request/Confirmation

    from GMAC Mortgage to BMMZ, dated Dec. 22, 2011 [ALLY_0006228].
2138 Waiver of Default under BMMZ Master Repo Agreement, dated Jan. 30, 2012 [ALLY_0140092].

2139 BMMZ Master Repo Agreement, § 3 [ALLY_0005646].

2140 Id. § 10.

2141 Id. § 11.

2142 Id. § 30.

2143 Id. § 11(A)(1).

2144 Id. § 11(A)(2).

2145 Id. § 11(D).

2146 Id. § 11(I).

2147 Id. § 11(M).

2148 Id. § 11(R)(iii).



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Sellers granted liens on the purchased mortgage loans to BMMZ in case the transactions were
deemed to be loans.2149 Dorsey & Whitney LLC, as counsel to the BMMZ Repo Sellers and to
ResCap, delivered a customary opinion relating to the treatment of the transactions as a
“repurchase agreement” under the Bankruptcy Code, with standard qualifications.2150

     The BMMZ Repo Facility terminated on May 16, 2012,2151 in connection with the
transactions consummated under the Barclays DIP Financing Agreement.

       See Appendix V.E.9 for more details on the terms of the BMMZ Repo Facility.

     10. Conclusion

    Based upon the above facts, the Examiner believes certain of the foregoing Related Party
Transactions implicate potential claims, as discussed in more detail in Section VIII.

F. PREPETITION ASSET SALES

     1. Overview

       This section addresses the following sales of assets to affiliates of ResCap:2152

        •       Health Capital Sale by RFC to GMAC CF in August 2007;

        •       June 2008 Model Home Sale by GMAC MHF to Cerberus;

        •       Resort Finance Sale by RFC and GMAC Canada to GMAC CF in July 2008;

        •       Excess Servicing Rights Sales by GMAC Mortgage to Cerberus in July 2008;

        •       September 2008 Model Home Sale by DOA Holding Properties, LLC to Cerberus;

        •       ResMor Sale by GMAC Canada to AFI in January 2009; and

        •       US/UK Broker-Dealer Sale by RFC to AFI in May 2009.



2149 Id. § 6.

2150 Opinion Letter from Dorsey & Whitney LLC to BMMZ (Dec. 21, 2011) [ALLY_0140078].

2151 Payoff Letter from BMMZ Holdings LLC to Residential Funding Company, LLC, GMAC Mortgage, LLC

    and Barclays Bank PLC (May 16, 2012) [ALLY_0140096].
2152 The Examiner’s Professionals reviewed relevant information regarding the April 2010 sale by ResCap of its

    European mortgage asset and businesses to affiliates of Fortress and the sale of the data center to AFI in May
    2012, because these two sales were identified by the Committee. However, these transactions are not
    addressed in this Report because the Fortress sale was not to an affiliate, and the data center sale was for an
    immaterial amount (approximately $6 million).

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   2. Liquidity Concerns

     RFC, GMAC Canada, and GMAC Mortgage, each wholly owned subsidiaries of ResCap,
and their affiliate sellers entered into the Prepetition Asset Sales with various affiliates in large
part to address the liquidity issues ResCap faced as a result of difficulties in the mortgage
industry and capital markets. Because the Prepetition Asset Sales occurred while ResCap was
financially distressed within the meaning of applicable fraudulent transfer laws, the Examiner
evaluated whether RFC, GMAC Canada, GMAC Mortgage, and their affiliate sellers received
reasonably equivalent value in these transactions.

   3. Reasonably Equivalent Value

    The Examiner addressed three fundamental questions regarding REV as it relates to the
Prepetition Asset Sales:

               1. What was the form and value of the property transferred by Debtor(s)?

               2. Did the Debtor(s) receive value in exchange for the property transferred,
                  and, if so, in what form and amount?

               3. Was the value received by Debtor(s) reasonably equivalent in exchange for
                  the property transferred?

     REV suggests a comparison of the property transferred from a debtor with the value
actually received by a debtor. REV is not susceptible to simple formulation; rather, an analysis
of REV begins with a range of values. Moreover, an assessment of REV is guided by its
purpose—to protect against the unjust diminution of the bankruptcy estate.

     REV may not be synonymous with Fair Market Value, although the latter may be an
important factor in determining whether a debtor received REV. Ultimately, an assessment of
REV requires a consideration of the totality of the circumstances in addition to a value
comparison, including earmarks of an arm’s-length transaction, good faith, and the degree of
difference between the market value of property transferred and the value received by the
debtor.

      As set forth in the discussion and analysis below, the Examiner concludes that the
evidence supports the proposition that RFC, GMAC Canada, GMAC Mortgage and their
affiliate sellers received reasonably equivalent value in each of the Prepetition Asset Sales
with the possible exception of the June 2008 Model Home Sale to a Cerberus subsidiary. With
respect to the June 2008 Model Home Sale, the Examiner’s Financial Advisors conclude that
RFC received at least $30 million less than Fair Market Value. However, while a close
question, the Examiner concludes it is more likely than not that a constructive fraudulent
transfer claim against Cerberus would not succeed under prevailing law, because it is more
likely than not that a court would find the value received by RFC as the equity owner of
GMAC MHF, and GMAC MHF, in the June 2008 Model Home Sale to constitute reasonable
equivalent value based on the totality of the circumstances.

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     4. Summaries Of The Prepetition Asset Sales

               a. Health Capital Sale By RFC To GMAC CF In August 2007

     Pursuant to an Asset Purchase Agreement dated August 27, 2007,2153 RFC and Equity
Investments II, LLC, each wholly owned subsidiaries of ResCap, sold substantially all of the
assets and operations comprising Health Capital to GMAC CF for $900.5 million.

      Because of ResCap’s liquidity needs, the transaction was executed within a relatively short
time frame. On August 17, 2007, ten days before any binding agreement had been reached2154
and four days prior to the ResCap Board’s approval of the transaction,2155 RFC received an
initial deposit of $775 million toward the final purchase price.2156 After executing an Asset
Purchase Agreement and closing the transaction on August 27, 2007,2157 the purchase price was
increased by $125.5 million to a total of $900.5 million based on an independent valuation
performed by Houlihan Lokey.2158 Based on Health Capital’s net book value of $876.8 million as
of closing, ResCap recognized a capital contribution from AFI of $23.7 million as a result of the
sale.2159

     As set forth in the discussion and analysis below and based on the totality of the
circumstances, the Examiner concludes that the evidence supports the proposition that RFC
received reasonably equivalent value in the Health Capital Sale.

                  (1) Overview Of Health Capital

     Health Capital, headquartered in Dallas, Texas, was formed in 2001 as a division of RFC
and provided capital solutions to the middle-market healthcare industry, primarily through asset-
based, cash flow, or real estate loans.2160 Health Capital customers included hospitals, home
health agencies, nursing homes, dental practices, physician associations, durable medical



2153 Asset Purchase Agreement between RFC, Equity Investments II, LLC and GMAC CF, dated Aug. 27, 2007

    [ALLY_0021813].
2154 Id.

2155 Minutes
           of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 21, 2007, at
    RC40005615–18 [RC40005558].
2156 Letter from D. Walker to G. Schultz and W. Casey (Aug. 17, 2007) [ALLY_0022003].

2157 Asset Purchase Agreement between RFC, Equity Investments II, LLC and GMAC CF, dated Aug. 27, 2007

    [ALLY_0021813].
2158 Health Capital
                Valuation Analysis, prepared by Houlihan Lokey, dated Sept. 28, 2007, at ALLY_0031286
    [ALLY_0031246].
2159 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 21.

2160 Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sept. 28, 2007, at ALLY_0031257–262

    [ALLY_0031246]; Health Capital Business Overview, dated Aug. 17, 2007, at 2 [ALLY_PEO_0028626].

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equipment manufacturers, and rehabilitation centers. Health Capital was one of five business
units consolidated within the BCG division of RFC and accounted for approximately 11% of
BCG’s loan portfolio in August 2007.2161

     Health Capital’s earning assets grew from $335.6 million to $768.6 million from 2003 to
2006 and, as of the closing date of the Health Capital Sale, Health Capital had a net book
value of $876.8 million.2162 Health Capital’s pre-tax net income grew from $1.2 million in
2002 to $23.6 million in 2006, and was forecasted to reach $26.5 million in 2007.2163 Health
Capital had a total of twenty-one employees, thirty-six customers, and fifty-eight loans
outstanding with an average balance of $15.1 million (876.8 million net book value / 58 loans
= $15.1 million) as of August 2007.2164

     Despite its significant growth, Health Capital anticipated “significant pressure on
margins due to increased competition in the industry and due to increasing ResCap funding
costs.”2165 Following the downgrade of ResCap’s debt to below investment grade on
August 16, 2007, Health Capital’s concerns regarding its access to affordable capital
heightened.2166

     When interviewed, Khattri noted that the sale of Health Capital had been discussed for
some time prior to the transaction because it was considered a non-core asset for ResCap and
there was a desire to “beef up” ResCap’s liquidity.2167 Bill Hall, CEO of GMAC CF, noted
that he met with the Health Capital executive leadership team in spring 2007 to discuss
“whether it made sense to do any type of business combination, marshal resources, pool
resources.”2168 Hall continued, however, that:

                  [A]t that meeting, it was collectively decided that we did not
                  think that made sense for a whole number of reasons . . . . We
                  thought that was the end of it, but in the early summer of ‘07,
                  my recollection is I got a call from [Khattri] . . . and he was


2161 Health Capital Business Overview, dated Aug. 17, 2007, at 2 [ALLY_PEO_0028626].

2162 Appendix V.F.4.a(1); Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 20–21.

2163 Notice of a Special Telephonic Meeting of the Board of Directors of Residential Capital, LLC, dated Aug.

    20, 2007, at RC00016863 [RC00016856].
2164 Draft Proposed Acquisition by GMAC CF of ResCap’s Health Capital Business [ALLY_PEO_0028625];

    Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 20–21. See Appendix V.F.4.a(1)
    (summarizing Health Capital’s historical financial statements).
2165 Notice of a Special Telephonic Meeting of the Board of Directors of Residential Capital, LLC, dated Aug.

    20, 2007, at RC00016860 [RC00016856].
2166 Id.; Notice of a Special Telephonic Meeting of the Board of Directors of GMAC, LLC, dated Aug. 20, 2007,

    at ALLY_PEO_0004039 [ALLY_PEO_0004035].
2167 Int. of S. Khattri, Oct. 25, 2012, at 213:12–213:15.

2168 Int. of B. Hall, Dec. 13, 2012, at 22:19–23:1.



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                  very clear, as was Eric Feldstein in his instructions, “For a variety
                  of reasons, we’d like you to purchase the Healthcare business, and
                  we need you to do it extraordinarily quickly. We’re trying to assist
                  ResCap with a . . . liquidity issue and we think this is a good way
                  to do it. So, we need you to [do] something, even if it’s staged, but
                  do something very quickly. And your instructions are, do a deal
                  that’s commercially supportable, but favors ResCap in each and
                  every way possible.” It was not to be structured as a deal that I
                  would love to do. It was structured as a deal that I could—if I had
                  to support—to Ally bondholders. So that’s exactly what we tried to
                  do.2169
                  (2) Summary Of Transaction And Process
     The following diagram summarizes the value exchanged between RFC and GMAC CF in
the Health Capital Sale.




2169 Int. of B. Hall, Dec. 13, 2012, at 23:21–24:21.



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     AFI paid RFC a deposit of $775 million on August 17, 2007, before any binding
obligation to buy the assets had been made.2170 David Walker noted that the purpose of the
advance payment was to get cash to ResCap as quickly as possible.2171

      The ResCap Board adopted a resolution on August 21, 2007, six days prior to closing,
stating that the ResCap Board saw no objection to the sale of Health Capital to “[AFI],
[GMAC CF], or other affiliate” on “terms and conditions that are no less favorable to ResCap
than terms and conditions prevailing for comparable transactions with non-affiliates.”2172 The
ResCap August 21, 2007 board minutes also recite Khattri’s statements that the transaction
was being structured to be in compliance with the 2006 Amended Operating Agreement and
that the mechanics ensured a fair purchase price to ResCap.2173

      The materials sent to the ResCap Board on August 20, 2007, one day before the board
meeting, provided some rationale for the sale, including that: (1) Health Capital’s products
and services were “more closely aligned with GMAC CF’s lending business than ResCap’s
core consumer mortgage business”; (2) potential funding efficiencies could result from
pooling the assets; and (3) there would be better access to capital for Health Capital than if it
remained within ResCap.2174 The materials also noted that the transaction was “structured to
provide protection and benefit to ResCap bondholders,” reciting that: (1) “ResCap
bondholders benefit from the incremental liquidity generated by the sale at a time when
ResCap’s liquidity is under significant strain” and (2) “[t]ransaction mechanics . . . ensure a
fair purchase price.”2175 The materials further note that “[d]espite the significant growth and
favorable loss history at [Health Capital], the company anticipates significant pressure on
margins due to increased competition in the industry and due to increasing ResCap funding
costs.”2176 Additionally, the materials noted that: (1) “[c]oncern has heightened about the long-
term value of the franchise following the recent ResCap downgrade to non-investment grade”;
(2) “[i]mpaired access to funding will hinder future growth prospects”; (3) the “[h]igher cost




2170 Letter from D. Walker to G. Schultz and W. Casey (Aug. 17, 2007) [ALLY_0022003].

2171 Int. of D. Walker, Nov. 28, 2012, at 199:14–205:06.

2172 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 21, 2007, at

   RC40005616 [RC40005558]. In addition to approving the Health Capital Sale, Alvaro de Molina was
   appointed to the ResCap board at this meeting and attended the meeting.
2173 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 21, 2007, at

   RC40005616 [RC40005558].
2174 Notice of a Special Telephonic Meeting of the Board of Directors of Residential Capital, LLC, dated Aug.

   20, 2007, at RC00016858 [RC00016856]; see Minutes of a Special Meeting of the Board of Directors of
   Residential Capital, LLC, Aug. 21, 2007, at RC40005616 [RC40005558].
2175 Notice of a Special Telephonic Meeting of the Board of Directors of Residential Capital, LLC, dated Aug.

   20, 2007, at RC00016858 [RC00016856].
2176 Id. at RC00016860.



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of funds will erode profit margins”; and (4) “there is a need to preserve ResCap’s scarce
capital and liquidity to support the core real estate finance franchise, which is under distress in
the current industry environment.”2177

     Substantially the same materials were sent to the AFI Board on August 22, 2007 for its
August 22 meeting.2178 These materials had been circulated for comment on August 17, 2007,
prior to ResCap’s and AFI’s board meetings, to persons at AFI, GMAC CF, and ResCap. In
response, George Triebenbacher replied to Linda Voss, Bill Hall, and Kevin Boland, all
associated with GMAC CF, that:

                   I’ve read this … not sure where we can add value other than
                   beefing up the “rationale for sale” section. Do you want to have
                   a call to discuss it? 61% of portfolio are cf loans, avg libor
                   margin around 4.50%, huge growth in NI … scarey [sic].2179

       When asked about this e-mail, Voss stated:

                   Well I think whenever you see a significant growth in net
                   income and growth in a portfolio there is just not a lot of
                   experience there. You wonder well how is it that they were able
                   to grow so quickly. Where did the assets come from? The 61
                   percent cash flow loans are the riskier side of loans. Average
                   LIBOR margin about 450 so, you know, not great compared to
                   the risk of the assets. So I think, because I said earlier, we all
                   looked at the portfolio and it didn’t look like the types of assets
                   that we originated. They were still commercial loans, but they
                   weren’t structured the way we would structure them, priced the
                   way we would price them for the risk and size was in particular
                   on those three larger exposures was larger than we would have
                   felt comfortable holding. So thinking that this was coming in
                   and we’d have to start to manage it we all had concerns about
                   how it was going to perform.2180

     Voss also noted that GMAC CF did not do extensive due diligence prior to closing, nor
were they asked to.2181 GMAC CF was not “thrilled” to be getting the assets, but GMAC CF
was asked to execute the transaction and accepted that the assets were going to come onto its
balance sheet.2182
2177 Id.

2178 Notice of a Special Telephonic Meeting of Board of Directors of GMAC, LLC, dated Aug. 20, 2007, at

    ALLY_0033522–28 [ALLY_0033520].
2179 E-mail from G. Triebenbacher (Aug. 18, 2007) [ALLY_0110156].

2180 Int. of L. Voss, Dec. 13, 2012, at 26:5–26:24.

2181 Id. at 14:6–14:9.

2182 Id. at 17:14–17:22.



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     The AFI Board adopted on August 22, 2007, a resolution similar to the resolution
adopted by the ResCap Board, stating that the Board had no objection to the acquisition of
Health Capital by AFI, GMAC CF, or an affiliate “on terms and conditions that are no less
favorable to the acquiring entity than terms and conditions prevailing for comparable
transactions with non-affiliates.”2183 The board of directors of each of RFC,2184 Equity
Investments II, LLC,2185 and GMAC CF2186 approved the transaction by August 22, 2007 by
written consent.

     ResCap engaged Houlihan Lokey on August 24, 2007 to perform an independent
valuation of Health Capital post-closing, in accordance with the terms of the Asset Purchase
Agreement, which would determine the final purchase.2187

     The Asset Purchase Agreement was executed and the transaction closed on August 27,
2007.2188 ResCap was represented by Mayer Brown, but it does not appear that GMAC CF
was represented by outside counsel. In subsequent transactions involving ResCap entities,
however, Mayer Brown acted for AFI and its non-ResCap affiliates. The initial drafts of the
Asset Purchase Agreement contemplated that the $775 million deposit was subject to both
upward and downward adjustment; the executed agreement contained only an upward
adjustment feature.2189

     Houlihan Lokey submitted its valuation report on September 28, 2007, resulting in a
$125.5 million increase from the pre-closing deposit of $775 million for a total purchase price
of $900.5 million.2190 There does not appear to have been any independent financial advisors
to any of the parties nor was any fairness opinion delivered in connection with the transaction.



2183 Minutes
         of a Special Meeting of the Board of Directors of GMAC, LLC, Aug. 22, 2007, at
   ALLY_PEO_0000947 [ALLY_PEO_0000860].
2184 Unanimous Written Consent of the Board of Directors of Residential Funding Company, LLC, dated
   Aug. 22, 2007, at ALLY_0021951–54 [ALLY_0021922].
2185 Unanimous Written Consent of the Board of Directors of Equity Investments II, LLC, dated Aug. 21, 2007,

   at ALLY_0021972–74 [ALLY_0021955].
2186 Unanimous Consent to Action of the Board of Directors of GMAC Commercial Finance LLC, dated Aug. 22,

   2007, at ALLY_PEO_0001793–99 [ALLY_PEO_0001781].
2187 Letter Agreement between Houlihan Lokey and ResCap, dated Aug. 24, 2007 [ALLY_0021806].

2188 Asset Purchase Agreement between RFC, Equity Investments II, LLC and GMAC CF, dated Aug. 27, 2007

   [ALLY_0021813].
2189 See Draft Asset Purchase Agreement between RFC, Equity Investments II, LLC, and GMAC CF, dated Aug.

   20, 2007, at ALLY_0096829 [ALLY_0096810]. In the Resort Finance deal the deposit was subject to
   adjustment both ways and in fact the final valuation resulted in ResCap returning a substantial portion of the
   deposit.
2190 Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sept. 28, 2007, at ALLY_0031286

   [ALLY_0031246].

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     The parties had fifteen days upon receipt of the valuation by Houlihan Lokey to give
notice of any objections, which period would have expired after September 30, 2007.2191 In an
e-mail dated September 26, 2007, Khattri proposed accepting the $900.5 million valuation
without objection and stated that GMAC CF would like to pay the $125.5 million post-closing
adjustment to ResCap so that all outstanding issues could be finalized before quarter end, and
requested that management at GMAC CF support this recommendation.2192

     However, because GMAC CF management believed they were doing this transaction at
the request of AFI, Hall replied:

                  My understanding is that our team is not being asked to opine on
                  the HL valuation process or outcome, so I’m not sure why this
                  was directed my way. We are of course happy to deal with any
                  administrative details as they arise in the closing of the
                  transaction.2193

      In a subsequent e-mail Hall stated:

                  My instructions from Eric [Feldstein] have been quite clear in
                  that I (nor members of our management team) am not being
                  asked to opine on the valuation for a number of reasons. If the
                  Board wishes to direct me, in my capacity as President of CFG,
                  to accept or dispute the valuation, I would of course comply.2194

      When Voss was asked about the Houlihan Lokey valuation report, she noted that she was
not involved in the review of the report but that the report did not go into the level of detail
that GMAC CF would normally have done if it were making a purchase. She noted that she
would have been more involved with the transaction had it been with a third party and that
“[i]f we would have looked into it the purchase price would have definitely been lower and so
it would have been detrimental to ResCap which effectively would decrease the amount of
cash that they were able to get from the transaction.”2195 Likewise, Hall felt the Houlihan
Lokey valuation was flawed. He noted that the valuation did not look at the underlying credit
quality of each individual loan, which was something that he felt was an “obvious” thing to
do.2196



2191 See Asset Purchase Agreement between RFC, Equity Investments II, LLC and GMAC CF, dated Aug. 27,

    2007, § 2.6(b)(iii) [ALLY_0021813].
2192 E-mail from S. Khattri (Sept. 26, 2007) [ALLY_0110345].

2193 E-mail from B. Hall (Sept. 27, 2007) at ALLY_0110540 [ALLY_0110539].

2194 Id. at ALLY_0110539.

2195 Int. of L. Voss, Dec. 13, 2012, at 39:14–42:21.

2196 Int. of B. Hall, Dec. 13, 2012, at 44:19–25.



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      Ultimately, no objections were submitted by either party and the $125.5 million true-up
payment was made prior to quarter end.2197 The transaction was reported in ResCap’s SEC
filings for the quarter ended September 30, 2007 as follows:

                  On August 27, 2007, Residential Funding Company, LLC
                  (“RFC”) and Equity Investments II, LLC, each wholly owned
                  subsidiaries of the Company, sold substantially all of the assets
                  and operations comprising their healthcare finance business to
                  GMAC Commercial Finance LLC, a wholly owned subsidiary
                  of [AFI], pursuant to an asset purchase agreement. The
                  Company received $900.5 million, which represents the fair
                  value of the business as valued by an independent third-party
                  valuation. Net book value totaling $876.8 million was
                  transferred as part of the sale resulting in a capital contribution
                  from [AFI] of $23.7 million.2198

      In the same filing, ResCap described its sources of liquidity, noting:

                  In the quarter, we received a capital contribution from [AFI] of
                  $1.0 billion. In addition, our wholly owned subsidiaries,
                  Residential Funding Company, LLC (“RFC”) and Equity
                  Investments II, LLC, sold substantially all of the assets and
                  operations comprising their healthcare finance business to
                  GMAC Commercial Finance LLC, a wholly owned subsidiary
                  of [AFI], for which we received $900.5 million.2199

                  (3) Third-Party Conclusion Of Value

      The ResCap Board minutes dated August 21, 2007 reflect two possible candidates to act
as the valuation agent for the transaction and note that neither had any conflict of interest.2200
The two Independent Directors, Thomas Jacob and Thomas Melzer, agreed to give their
recommendation regarding the valuation agent by the next day.2201 Though no evidence of
their recommendation was located, ResCap appointed Houlihan Lokey as the valuation agent
by an engagement letter dated August 24, 2007.2202



2197 Request for Wire Transfer, dated Sept. 28, 2007, at ALLY_0030372 [ALLY_0030363].

2198 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 20–21.

2199 Id. at 33.

2200 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 21, 2007, at

    RC40005616 [RC40005558].
2201 See id.

2202 Letter Agreement between Houlihan Lokey and ResCap, dated Aug. 24, 2007 [ALLY_0021806].



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    On September 28, 2007, Houlihan Lokey submitted its valuation report that concluded a
FMV purchase price of $900.5 million.2203 Appendix V.F.4(a)(3) contains an overview of
Houlihan Lokey’s conclusion of value and key assumptions.

     In summary, Houlihan Lokey developed a range of equity values based on three
valuation methods: (1) the Guideline Publicly Traded Company Method; (2) the Guideline
M&A Method under the Market Approach; and (3) the DCF Method. Houlihan Lokey then
weighted each method equally in calculating that the market value of equity, which, after
adding cash and cash equivalents, ranged from $128.7 million to $153.7 million.

     Houlihan Lokey added $759.3 million in imputed debt to their equity conclusion to
calculate a range of MVIC of between $888 million and $913 million. Houlihan Lokey
selected the midpoint, or $900.5 million, as its conclusion of the market value of Health
Capital’s invested capital, implying a multiple of enterprise value to adjusted total assets of
1.03.2204 Health Capital’s net book value totaled $876.8 million as of the transaction closing,
resulting in a capital contribution from AFI of $23.7 million to achieve the $900.5 million
purchase price.2205

     The Examiner’s Financial Advisors reviewed and analyzed Houlihan Lokey’s valuation
to assess whether FMV was reasonably determined.

                 (4) Analysis Of Third-Party Conclusion Of Fair Market Value

     Houlihan Lokey employed three commonly used valuation methodologies for valuing the
equity of Health Capital: (1) the Guideline Publicly Traded Company Method under the
Market Approach; (2) the Guideline M&A Method under the Market Approach; and (3) the
DCF Method under the Income Approach.

     Health Capital was not a separate legal or accounting entity and, as such, did not have a
reliable stand-alone balance sheet or income statement. Houlihan Lokey’s approach required
adjustment to certain equity-related measures such as book value of equity and net income.
Houlihan Lokey used management’s calculation of economic capital as a proxy for book value
of equity (approximately 14% of average assets for the LTM), and estimated debt by
subtracting this amount from total assets. Houlihan Lokey estimated net income by making
assumptions about interest rates on debt. The Examiner’s Financial Advisors consider
Houlihan Lokey’s approach to be reasonable given the goal of valuing assets rather than
equity.




2203 Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sept. 28, 2007 [ALLY_0031246].

2204 Id. at ALLY_0031286.

2205 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 20–21.



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                      (a) Guideline Publicly Traded Company Method

     The Guideline Publicly Traded Company Method used by Houlihan Lokey considered
three multiples: LTM P/E, Forward P/E, and P/TBVE. These multiples are commonly
considered when completing a valuation of a financial services company such as Health
Capital.

     Houlihan Lokey selected six guideline companies for consideration in applying the
Guideline Publicly Traded Company Method. Matt St. Charles, an AFI manager involved in
the review and coordination of Houlihan Lokey’s valuation analysis, expressed his opinion in
internal correspondence that one of Houlihan Lokey’s selected comparable companies,
Financial Federal Corporation, was not a relevant comparable for valuation purposes.2206
Financial Federal Corporation had higher multiples than the other five comparable companies
selected by Houlihan Lokey.2207

     Houlihan Lokey’s selected multiple ranges for LTM P/E and P/TBVE were
approximately 80% to 90% of the median of the guideline company multiples, while their
range for the Forward P/E was approximately 100% to 110% of the median.2208

                      (b) Guideline M&A Method

     The Guideline M&A Method employed by Houlihan Lokey considered thirteen
transactions with the earliest announced transaction dating back to April 19, 1999,
approximately eight years prior to the valuation date. Six of the transactions occurred more
than five years prior to the valuation date and eight occurred more than three years prior.

     St. Charles expressed his opinion in internal correspondence that transactions prior to
2004 may not be relevant for valuation purposes.2209 The Guideline M&A Method is often
cited in valuation literature generally to be more relevant when there are observable
transactions that occur close to the valuation date. In Houlihan Lokey’s guideline transaction
study, the older transactions generally had higher multiples than the more recent transactions
considered. Houlihan Lokey selected a multiple range of 1.10x to 1.25x book value of equity,
which was less than the mean of 1.41x or the median of 1.35x.


2206 E-mail from M. St. Charles to S. Khattri (Sept. 21, 2007), at ALLY_0030393 [ALLY_0030363].

2207 See  Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sept. 28, 2007, at
    ALLY_0031290, 307 [ALLY_0031246]. The GMAC manager further noted that Financial Federal Corp.
    specialized in lending to small/medium businesses in road and infrastructure construction, road
    transportation, and waste disposal industries and that these industries had experienced strong growth over the
    prior 12 months, which may explain their higher multiples. E-mail from M. St. Charles to S. Khattri (Sept.
    21, 2007), at ALLY_0030393 [ALLY_0030363].
2208 See
       Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sept. 28, 2007, at
    ALLY_0031292 [ALLY_0031246].
2209 E-mail from M. St. Charles to S. Khattri (Sept. 21, 2007), at ALLY_0030393 [ALLY_0030363].



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     Houlihan Lokey’s selected range was more in line with the recent transactions than the
older transactions. It appears Houlihan Lokey placed more reliance on the recent transactions,
but did not describe this conclusion in its report. Houlihan Lokey also determined that the
LTM P/E multiple calculated was not meaningful and, therefore, did not select a range of
relevant multiples for this metric. Valuation multiples of earnings are often considered not
meaningful when the earnings metric is negative for an acquired or public company.

     Houlihan Lokey did not provide an explanation for its determination that the LTM P/E
multiple was not meaningful. The low end of the range was 13.2x earnings, which would
imply a value of $186.5 million when applied to Houlihan Lokey’s representative level of
LTM net income of $14.129 million. Therefore, any selected LTM P/E multiple within the
observed range would have led to a higher indicated equity value than any of Houlihan
Lokey’s other indications.2210

                       (c) DCF Method

     Houlihan Lokey’s final valuation was from the DCF Method under the Income
Approach. Houlihan Lokey used management’s projections through the fiscal year ending
December 31, 2010, making adjustments for items such as loan loss provisions, cost of
funding, and expense allocations to calculate cash flow to equity holders in each year. The
loan loss provision, in particular, was historically above 2%; however, Houlihan Lokey
adjusted the provision to equal 2%, which had the effect of increasing the valuation. St.
Charles suggested in internal correspondence that had the provision been lowered even further
to 1.5%, in line with some of the selected guideline companies, Houlihan Lokey’s analysis
would have resulted in a higher valuation.2211

     In her interview, Voss stated that the funding costs assumed in the projected net income
were low (e.g., at LIBOR plus 150 bps, instead of LIBOR plus 200 bps or higher), and that if
Houlihan Lokey had used higher funding costs, then the net income would have been lower
and the price could have reduced from $900.5 million to $820 million. She explained,
however, that GMAC CF did not believe it was appropriate to raise that issue because any
resulting change would have benefited GMAC CF to the detriment of ResCap or perhaps even
AFI. Other than making certain that no one could say that GMAC CF paid too little, Voss
explained that GMAC CF really did not spend a lot time trying to quantify the transaction.2212




2210 See
       generally Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sept. 28, 2007
    [ALLY_0031246].
2211 E-mail from M. St. Charles to S. Khattri (Sept. 21, 2007), at ALLY_0030393 [ALLY_0030363].

2212 See Int. of L. Voss, Dec.13, 2012, at 46:3–48:8.



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     The NPV of Houlihan Lokey’s projected cash flows from the valuation date through
2010 was less than one million dollars. Therefore, almost all of Health Capital’s value in
Houlihan Lokey’s DCF was derived from its assumptions about the residual value, or the
value generated by the business into perpetuity after the discrete four-year projection period.
Houlihan Lokey chose to apply a residual multiple in its residual value calculation, as opposed
to the capitalization of cash flow methodology (this method is discussed below). Houlihan
Lokey’s selection of 9.0x net income in 2010 resulted in a residual value of approximately
$197 million, which when discounted to its present value equivalent was approximately $127
million.2213 Houlihan Lokey did not identify the rationale for the selection of this multiple.2214

     Houlihan Lokey’s method for calculating residual value may have resulted in a higher
value than would have been obtained using a capitalization of cash flows, an alternative and
theoretically preferable method according to many valuation authorities. The capitalization of
cash flows formula calculates present value as:

                  Value = (CF × (1+g)) / (k-g)2215

     Assuming zero long-term growth in this formula would produce a residual value of
approximately C$156 million (i.e., projected 2010 net income as adjusted by Houlihan Lokey
of approximately C$22 million, divided by Houlihan Lokey’s 14% discount rate). This
methodology therefore would result in a lower value than Houlihan Lokey’s residual value
calculation of approximately $197 million. The Examiner’s Financial Advisors determined
that a higher long-term growth assumption would add little to the value calculated by the
capitalization formula after considering that cash flow would be reduced for funding of asset
growth.

                       (d) Discount Rate

     The discount rate selected by Houlihan Lokey of 14% was based on the MCAPM using
guideline company observations such as a levered beta.

     Houlihan Lokey selected a levered beta of 1.03, meaning that Houlihan Lokey assessed
Health Capital to be slightly more risky than the overall market (a beta of 1.0 represents the
risk of the market). The observed betas calculated by Houlihan Lokey for the six guideline
companies ranged from 0.72 to 1.61.




2213 See
       generally Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sept. 28, 2007
    [ALLY_0031246].
2214 Id.

2215 In the formula, “CF” stands for normalized cash flow in the base year, “g” stands for the long-term growth

    rate, and “k” stands for the discount rate.

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     The size premium, which is an additional risk premium used to account for the fact that
investments in smaller companies are considered to require a greater return on investment, was
based on a commonly cited study by Ibbotson Associates in the Stocks Bonds Bills and Inflation
2007 yearbook. The premium selected by Houlihan Lokey was 2.7%, which is the premium
suggested by Ibbotson Associates for companies with a market capitalization between $315
million and $627 million. Houlihan Lokey’s range of equity value from their DCF, however,
was $120 million to $160 million.2216 Generally, companies with higher market capitalizations
have lower size premiums. Had a higher premium been selected by Houlihan Lokey, the
resulting range of equity value would have been lower.

                     (e) Premiums And Discounts

     Customary valuation procedures make use of premiums and discounts related to the
ownership characteristics of an equity interest for such matters as control (or lack of control)
and lack of marketability. Houlihan Lokey did not apply any discounts or premiums in their
analysis, although their analysis presumes that their conclusions of value were on a controlling
interest basis.2217 Of the three methods used by Houlihan Lokey, only one (i.e., the Guideline
Publicly Traded Company Method) would ordinarily call for a control premium.

     Control premiums are often quantified by reference to premiums paid in control
transactions involving comparable publicly traded companies. Data published by Factset
indicated that the median control premium paid in transactions during this time period
involving financial services companies was approximately 20%.2218 While such an adjustment
would be a material percentage of the value of equity, the adjustment would be much smaller
as a percentage of assets, as equity in the commercial finance industry represents a relatively
small share of assets. Also, this adjustment would apply to only one of the methods used by
Houlihan Lokey to which they gave 33.3% weight.

     On the other hand, a discount for lack of marketability, which Houlihan Lokey also did
not use, would apply to all three methods. Privately held entities, including divisions of public
companies, generally sell at a discount relative to similar publicly traded entities.




2216 See Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sept. 28, 2007 [ALLY_0031246].

2217 See id.

2218 FACTSET MERGERSTAT, CONTROL PREMIUM STUDY (Q4 2007), at 20.



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                     (f) Overall Assessment Of Third-Party Conclusion Of Value

     Based upon the foregoing, several aspects of Houlihan Lokey’s valuation analysis could
merit adjustment. However, on balance these adjustments would have a downward effect on
value, rather than indicating that the purchase price paid by GMAC CF to RFC was
insufficient. Houlihan Lokey concluded that the value of Health Capital’s assets approximated
book value, which conclusion can also be corroborated by other valuation indicators.

     The Examiner’s Financial Advisors’ review of market pricing of commercial finance
companies at the time of the transaction corroborates Houlihan Lokey’s analysis that equity
shares generally traded at an average of approximately 120% of the book value of tangible
equity. Multiples at this level indicate only a small premium over the book value of the assets
(the ratio indicates a premium over equity, which comprises a relatively small portion of the
capital structure of commercial finance companies that are funded largely with debt). The
Examiner’s Financial Advisors found that the average market-to-book ratio had little
sensitivity to the choice of guideline companies; a broader set of publicly-traded finance
companies than selected by Houlihan Lokey produced a similar ratio.

      The Examiner’s Financial Advisors’ review of the financial disclosures of the guideline
companies showed that the estimated fair value of financial assets, which were primarily loans
as is the case with Health Capital, was similar to their carrying value at the end of 2007.2219 This
pattern would support an expectation of a valuation close to book value for the case at hand in
the absence of evidence that the loan portfolio of Health Capital was of unusually poor quality.
Statistics cited by Houlihan Lokey indicated that the loan portfolio had not experienced a loss
since 2001, that the weighted-average credit score for Health Capital’s portfolio was between 2
and 3 (based on management’s credit scoring system for which 1 represented the highest quality
credit on a scale of 1 to 5), and that only approximately 3% of the portfolio was rated 4 or
higher.2220

                 (5) Conclusion Regarding Reasonably Equivalent Value

     Based upon the above discussion and analysis of the Health Capital Sale and the totality
of the circumstances, including but not limited to Houlihan Lokey’s valuation and other
market indicators, the Examiner concludes that the evidence supports the proposition that RFC
received reasonably equivalent value in the Health Capital Sale.




2219 See generally Financial Federal Corporation, Annual Report (Form 10-K) (Sept. 24, 2007); CapitalSource

    Inc., Annual Report (Form 10-K) (Feb. 28, 2008); CIT Group Inc., Annual Report (Form 10-K) (Feb. 29,
    2008); Marlin Business Services Corp., Annual Report (Form 10-K) (Mar. 5, 2008); NewStar Financial, Inc.,
    Annual Report (Form 10-K) (Mar. 10, 2008); Resource Capital Corp., Annual Report (Form 10-K) (Mar. 17,
    2008).
2220 See
       generally Health Capital Valuation Analysis, prepared by Houlihan Lokey, dated Sept. 28, 2007
    [ALLY_0031246].

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             b. June 2008 Model Home Sale By GMAC MHF To Cerberus

      Pursuant to a Purchase Agreement dated June 6, 2008 (the “June 2008 Model Home
Purchase Agreement”),2221 on June 9, 2008, GMAC MHF, a direct wholly owned subsidiary
of RFC and indirect wholly owned subsidiary of ResCap, sold 1,614 model homes and 127
lots to CMH, an affiliate of Cerberus, for $230 million plus Class B Junior Preferred Shares in
CMH with a beginning basis of $227.8 million (i.e., $457.8 million net carrying value before
valuation reserves less $230 million in cash consideration received).2222 The Class B Junior
Preferred Shares were entitled to a 20% preferred return; however, redemption was contingent
upon the full redemption of the Class A Senior Preferred Shares, which provided Cerberus
with the greater of a 20% preferred return on its capital investment or $46 million.2223

     As set forth in the discussion and analysis below, with respect to the June 2008 Model
Home Sale, the Examiner’s Financial Advisors conclude that RFC received at least $30
million less than Fair Market Value. While a close question, the Examiner concludes it is
more likely than not that a constructive fraudulent transfer claim against Cerberus would not
succeed under prevailing law, because it is more likely than not that a court would find the
value received by RFC, as the equity owner of GMAC MHF, and GMAC MHF in the June
2008 Model Home Sale to constitute reasonably equivalent value based on the totality of the
circumstances. Relevant factors, including the degree of the deficiency relative to the total
transaction value of $406.9 million ($457.8 million net carrying value less valuation reserves
of $50.9 million), the prevailing market conditions for sales and financings of assets of this
nature, and the intangible benefits derived by RFC and ResCap from the immediate liquidity
infusion as a result of the sale.

                (1) Overview Of GMAC Model Home Finance

     GMAC MHF provided homebuilders with model home finance through one of two types
of programs: either the model home program or the net lease lot program. Under the model
home program, GMAC MHF acquired model homes and categorized them into discrete
portfolios under a lease to a single builder, each of which was governed by a master servicing
and rental agreement (“MSRA”). GMAC MHF purchased the completed model homes from
the builder at 85% to 95% of the agreed upon value (i.e., the cash at closing (“CAC”)) and



2221 Purchase Agreement among ResCap, GMAC Model Home Finance I, LLC and CMH, dated June 6, 2008

    [RC00025149].
2222 Draft Cerberus Real Estate Capital Management, LLC Presentation, dated June 2008, at CERB03308788

    [CERB033086]; Memorandum, Divestiture of Model Home Assets to Cerberus, dated June 10, 2009, at
    ALLY_0237920 [ALLY_0237920]; see Residential Capital, LLC, Current Report (Form 8-K) (June 9,
    2008), Item 1.01.
2223 DraftCerberus Real Estate Capital Management, LLC Presentation, dated June 2008, at CERB033087
    [CERB033086]. As discussed further below, ResCap had accrued an impairment of approximately $50.9
    million against the book value of these model homes.

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then leased the home back to the homebuilder for a period of 12 to 48 months.2224 The
homebuilder had the option to market and sell the model homes at any time during the lease
period, although GMAC MHF retained the right to block any sale that would result in net
proceeds below its basis. GMAC MHF’s cash flows under this program were generated from
monthly lease payments from the homebuilders, who also covered all carrying costs (e.g., real
estate taxes and insurance), as well as from proceeds upon final disposition of the home.2225

     GMAC MHF purchased finished lots instead of the finished model homes from
homebuilders under the net lease lot program. GMAC MHF purchased the lot at 85% of the
appraised value, or otherwise agreed upon value once the construction of the model home was
completed.2226 In the event subsequent construction costs to complete the model home plus
GMAC MHF’s accrued basis were greater than 85% of the agreed upon value, the
homebuilder had the right to require GMAC MHF to reimburse them for the full amount of
the cost.2227 However, if the homebuilder exercised this right, it would typically result in the
increase in the monthly rent payment for all homes within that MSRA. Also, if the
homebuilder did not complete the model home within the “12-month period following
[GMAC MHF’s] purchase of the lot, [GMAC MHF] had the right to ‘put’ the lot back to the
homebuilder at the price [GMAC MHF] paid for the lot, plus any accrued interest from the
date of purchase to the date of the ‘put.’”2228

                (2) Summary Of Transaction And Process

    Pursuant to the June 2008 Model Home Purchase Agreement, on June 9, 2008, GMAC
MHF, a direct wholly owned subsidiary of RFC and indirect wholly owned subsidiary of
ResCap, sold certain model home assets to CMH, an affiliate of Cerberus.2229

     The subject assets consisted of 1,614 model homes located in 72 metropolitan statistical
areas throughout the United States and 127 lots located in Phoenix, Arizona, and had a book
value at the transaction date of approximately $479.2 million and a related liability of $21.4
million, for a net book value before valuation reserves of approximately $457.8 million.2230
RFC received consideration consisting of $230 million cash and Class B Junior Preferred


2224 Draft Cerberus Investment Overview, CMH, dated June 6, 2008, at CERB032934 [CERB032933]. See Letter

    from Houlihan Lokey to Peter Rumbold (Aug. 28, 2008), at CERB013935 [CERB013934].
2225 Draft Cerberus Investment Overview, CMH, dated June 6, 2008, at CERB032934 [CERB032933].

2226 Id.

2227 Id.

2228 Id.

2229 Purchase Agreement among ResCap, GMAC Model Home Finance I, LLC and CMH, dated June 6, 2008

    [RC00025149].
2230 Draft
         Cerberus Real Estate Capital Management, LLC Presentation, dated June 2008 [CERB033086];
    Memorandum, Divestiture of Model Home Assets to Cerberus, dated June 10, 2009, at ALLY_0237920
    [ALLY_0237920].

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Shares in CMH with a beginning basis of $227.8 million (i.e., $457.8 million net carrying
value prior to valuation reserves less $230 million in cash consideration received) in exchange
for transferring these assets to CMH.2231 The Class B Junior Preferred Shares were entitled to
a 20% preferred return, but redemption was contingent upon the full redemption of the
Class A Senior Preferred Shares.2232

     The Class A Senior Preferred Shares were held by a Cerberus affiliate (Cerberus ResCap
Asset Investors, LLC, or “CRAI”) , had a beginning basis of $230 million and were entitled to
the greater of either (1) a minimum 20% return on the $230 million (i.e., $46 million) or (2) a
20% preferred return per annum on its capital account.2233 Another Cerberus affiliate (Cerberus
ResCap Financing, LLC, or “CRF”) entered into a term loan with CMH in a principal amount
equal to the $230 million for the purpose of funding CMH’s payment of the cash consideration
and a revolving loan facility with CMH of up to $10 million in aggregate principal amount for
the purpose of providing funding for the ongoing operations of CHM (together, the “CMH
Loans”). The CMH Loans bore interest at a rate of 15% per annum and compounded quarterly
to the extent not paid in cash. The CMH Loans had a maturity date of June 30, 2013 and were
secured by a pledge on all of the assets of CMH.

     The 15% interest on the $230 million term loan was subsumed within the 20% minimum
return guaranteed to Cerberus as holder of the Class A Senior Preferred Shares. As specified
in the amended and restated limited liability company agreement of CMH between GMAC
MHF and Cerberus (the “CMH LLC Agreement”):2234

                 “Class A Senior Unreturned Preferred Capital” means, with
                 respect to the outstanding Class A Senior Preferred Units, an
                 aggregate amount initially equal to the sum of (i) 10,000 and
                 (ii) all amounts contributed to [CMH] by the Class A Senior
                 Preferred Members on or after the Closing to fund expenses
                 associated with the Transferred Assets and their operation,
                 maintenance, development or disposition, and increased by a
                 preferred return equal to the difference between (A) the greater
                 of (I) 20% of the Cash Amount [i.e., $230 million * 20% = $46
                 million] and (II) a 20% per annum return (calculated on a daily
                 basis) on the aggregate amount of the Cash Amount and the



2231 Draft Cerberus Real Estate Capital Management, LLC Presentation, dated June 2008, at CERB033087–88

    [CERB033086]; Memorandum, Divestiture of Model Home Assets to Cerberus, dated June 10, 2009, at
    ALLY_0237920 [ALLY_0237920].
2232 DraftCerberus Real Estate Capital Management, LLC Presentation, dated June 2008, at CERB033087
    [CERB033086]. As discussed further below, ResCap had accrued a valuation reserve of approximately $50.9
    million against the book value of these model homes.
2233 Amended and Restated Limited Liability Company Agreement of CMH, dated June 6, 2008 [CERB000423].

2234 Id.



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                      amounts specified in the foregoing clauses (i) and (ii) (provided,
                      that, solely for the purposes of this clause (II), the Cash Amount
                      shall be adjusted, subject to Section 6.02(b)(iii), from time to time,
                      such that any repayment of principal of any [CMH] Loan shall be
                      deemed to reduce the Cash Amount effective as of the date of such
                      repayment and any additional borrowings under the Loan
                      Agreement shall be deemed to increase the Cash Amount effective
                      as of the date of such borrowing), compounded annually, and
                      (B) the aggregate amount of interest paid by [CMH] to the Lender
                      in respect of the [CMH] Loans (it being understood that any
                      amounts distributed pursuant to Section 5.02(a)(i) with respect to
                      such Class A Senior Preferred Units decreases the amount of
                      Class A Senior Unreturned Preferred Capital by a corresponding
                      amount).2235

     The CMH LLC Agreement identified CRAI, a wholly owned subsidiary of Cerberus, as the
Class A Senior Preferred Member,2236 GMAC MHF as the Class B Junior Preferred Member,2237
and Cerberus as the manager. CRAI was also identified as the sole holder of Common Unit
Shares in CMH.

      The purpose of CMH, according to the CMH LLC Agreement, was to acquire the model
home assets pursuant to the June 2008 Model Home Purchase Agreement, dispose of them, and
distribute and reinvest distributable cash in accordance with the CMH LLC Agreement.2238 In
furtherance of this purpose, the CMH LLC Agreement states:

                      [CMH] shall use commercially reasonable efforts to conduct an
                      orderly sale of the Transferred Assets in arm’s-length transactions
                      through nationally recognized brokers to be retained by [CMH]. The
                      sale of the Transferred Assets shall be conducted through an auction
                      process or such other process as shall be recommended by such
                      nationally recognized brokers. . . . Notwithstanding anything to the
                      contrary in this Agreement, the terms and conditions of any sales of
                      the Transferred Assets shall be subject to the prior approval of the
                      Manager, which approval shall not be unreasonably withheld.2239




2235 Id. at § 1.01.

2236 Id.

2237 Id.

2238 Id. at § 2.05(a).

2239 Id. at § 2.05(b).



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     After repayment of the CMH Loans to Cerberus, distributions of distributable cash were
to be made as follows:

                    [F]irst, 100% to the Class A Senior Preferred Members, pro rata
                    to each Class A Senior Preferred Member in accordance with
                    the percentage of Class A Senior Preferred Units held by each
                    Class A Senior Preferred Member, until the Class A Senior
                    Unreturned Preferred Capital of each such Class A Senior
                    Preferred Member is zero;

                    [S]econd, 100% to the Class B Junior Preferred Members, pro
                    rata to each Class B Junior Preferred Member in accordance
                    with the percentage of Class B Junior Preferred Units held by
                    each Class B Junior Preferred Member, until the Class B Junior
                    Unreturned Preferred Capital of each such Class B Junior
                    Preferred Member is zero;

                    [T]hird, subject to Section 5.02(e), 100% to the Class B Junior
                    Preferred Members, pro rata to each Class B Junior Preferred
                    Member in accordance with the percentage of Class B Junior
                    Preferred Units held by each such Class B Junior Preferred
                    Member, until the Class B Junior Preferred Member
                    Reimbursable Costs is zero; and

                    [F]ourth, 100% to the Common Unit Members, pro rata to each
                    Common Unit Member in accordance with the percentage of
                    Common Units held by each such Common Unit Member.2240




2240 Id. at § 5.02(a).



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     The following diagram summarizes the value exchanged between RFC and GMAC CF in
the June 2008 Model Home Sale.




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      Cerberus viewed the transaction as offering an attractive risk/reward profile, with
downside risk mitigated because Cerberus’s basis of $230 million represented a substantial
discount to its assessment of the underwritten, fair market, and book value of the assets.2241
Cerberus analyzed over a thousand recent closings, pending contracts, offers, and third-party
listings related to the model home portfolio to verify market pricing. Cerberus had also been
monitoring and valuing AFI’s entire model home portfolio on a monthly basis as part of its
normal asset management practices.2242 The model home assets were to be sold on an orderly
basis in arm’s-length transactions through an auction process following the sale to CMH.2243

     The transaction was approved by the ResCap Board on June 1, 2008,2244 subject to the
receipt, review, and approval of, ResCap’s executive committee of final versions of the
underlying commitment letter and term sheet that were presented to the ResCap Board. On
June 9, 2008,2245 the ResCap Board subsequently resolved that the transaction was completed
on terms not materially less favorable to ResCap and its relevant subsidiaries (i.e., RFC and
GMAC MHF) than those that could reasonably have been obtained in a comparable arm’s-
length transaction by ResCap or such subsidiaries with an unaffiliated party.

     Pursuant to the 2006 Amended Operating Agreement, ResCap was required to have at
least two Independent Directors at all times and AFI was obligated to fill any vacancy as
promptly as practical.2246 At the time that ResCap approved the transaction there was only one
Independent Director on the ResCap Board.2247

     The transaction appears to have moved quickly with only four business days elapsing
between the execution of Cerberus’s underlying commitment letter on June 2, 20082248 and the
consummation of the transaction on June 9, 2008. The commitment letter stated that Cerberus
had not completed its diligence on the proposed assets as of June 2, 2008.2249




2241 See Draft Cerberus Investment Overview, CMH, dated June 6, 2008 [CERB032933].

2242 Draft Cerberus Real Estate Capital Management, LLC Presentation, dated June 2008 [CERB033086].

2243 Residential Capital, LLC, Current Report (Form 8-K) (June 3, 2008), at 4.

2244 Minutes of a Meeting of the Board of Directors of Residential Capital, LLC, June 1, 2008, at RC40005749–

    60 [RC40005652].
2245 Unanimous Written Consent of the Board of Directors of Residential Capital, LLC, dated June 9, 2008, at

    RC40005772–80 [RC40005652].
2246 See 2006 Amended Operating Agreement, § 2(f).

2247 The only Independent Director at the time of approval was Edward Smith, who had been appointed earlier in

    May. Karin Hirtler-Garvey was added as an additional Independent Director on June 13, 2008. See Section
    IV.A.
2248 Letter from Cerberus to ResCap (June 2, 2008), at EXAM31326394–98 [EXAM31326384].

2249 Id.



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     The ResCap Board authorized and approved the issuance of a waiver on June 13, 2008,
retroactively to have effect on and as of June 9, 2008, of the “Investment in Affiliates
Covenants” contained in the 2006 Amended Operating Agreement in respect of ResCap’s
investment in CMH as a material component of the transaction.2250 The covenant prohibited
ResCap from making an investment in any AFI affiliate.2251 Separate Independent Director
approval was not needed to waive this covenant.2252

      ResCap accounted for the transaction as a financing and consolidated CMH into ResCap
with a minority interest recognized on the balance sheet, although the transaction was structured
as a sale in form.2253

     In connection with the transaction, ResCap entered into a servicing agreement with CMH
pursuant to which ResCap agreed to provide, at CMH’s request, all services provided by ResCap
and its subsidiaries with respect to the subject assets prior to CMH’s acquisition of such assets
(including ownership, operation, maintenance and disposition-related services).

                       (3) Lack Of Third-Party Conclusion Of Value Or Fairness Opinion

     Neither of the parties appears to have engaged independent financial advisors to perform
valuations or opine on the fairness of the transaction.

                       (4) Reasonably Equivalent Value Analysis

     The primary issue for REV purposes is the Fair Market Value of the Class B Junior
Preferred Shares, which is directly affected by the 20% minimum preferred return guaranteed to
Cerberus as holder of the Class A Senior Preferred Shares.

     The Class A Senior Unreturned Preferred Capital, as defined in the CMH LLC Agreement,
included a 20% per annum preferred return on its $230 million basis plus any subsequent capital
contributions, with a minimum guaranteed payment of $46 million.2254 The Class B Junior
Unreturned Preferred Capital, as defined in the CMH LLC Agreement,2255 also included a




2250 Minutes
           of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 13, 2008, at
    RC40005781–86 [RC40005652].
2251 See 2006 Amended Operating Agreement, § 2(a).

2252 See id. at § 2.

2253 Minutes
           of a Meeting of the Audit Committee of Residential Capital, LLC, July 28, 2008, at
    RC40015179–210 [RC40015158].
2254 Amendedand Restated Limited Liability Company Agreement of CMH, dated June 6, 2008, § 1.01
    [CERB000423].
2255 Id.



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20% per annum preferred return on its $227.8 million basis. However, based upon the priority
of distributions, the value of the Class B Junior Unreturned Preferred Capital was contingent
upon the proceeds from the sales of model home assets by CMH first satisfying the CMH
Loans from Cerberus and the 20% preferred return on the Class A Senior Preferred Units, as
defined in the CMH LLC Agreement,2256 also held by Cerberus.2257

      Assuming a one-year time frame to dispose of the model homes (for demonstrative
purposes), the Class B Junior Preferred Members2258 would not receive a distribution until
Cerberus had been repaid the $230 million term loan and any amount outstanding on the $10
million facility and, as the Class A Senior Preferred Member,2259 had been paid the greater of
its 20% preferred return, or $46 million (i.e., $230 million * 20%). The one-year time-frame to
dispose of the model homes implies a monthly run rate of approximately $33.9 million in sales
based on estimated proceeds of $406.9 million.2260 This assumption is corroborated by the
actual sales of model homes reported by CMH over the five-month period following the
transaction, in which $38.5 million in sales proceeds were generated on average each month,
plus an additional $1.5 million on average in monthly proceeds from lease payments.2261
Further, by December 31, 2008, CMH had sold 1,022 model homes generating aggregate
proceeds of $234 million and had another 158 homes under contract to be sold.2262 By
March 31, 2009, CMH had sold a total of 1,228 model homes (or 76% of the total), an
additional 53 were under contract to be sold, and Cerberus had received a full return of its
capital plus interest and its preferred return totaling approximately $276 million (i.e., $230
million loan plus $46 million interest and preferred return).2263 CMH repaid the $230 million
principal by February 2, 2009,2264 which, together with the $46 million preferred return,
equates to an annualized return of 32% on Cerberus’s investment of $230 million.2265



2256 Id.

2257 Memorandum, Divestiture of Model Home Assets to Cerberus, dated June 10, 2009, at ALLY_0237920

     [ALLY_0237920].
2258 Amendedand Restated Limited Liability Company Agreement of CMH, dated June 6, 2008, § 1.01
    [CERB000423].
2259 Id.

2260 See Ex. V.F.4(b)(4)–1.

2261 See GMAC Model Home I Funding and Proceeds from Sale, dated Nov. 17, 2008 [CERB024371].

2262 Draft Investor Letter from Cerberus Institutional Real Estate Partners, L.P. (Feb. 2009), at CCM00214549

    [CCM00214545].
2263 Investor Letter from Cerberus Institutional Real Estate Partners, L.P. (Mar. 31, 2009), at CCM00215547

    [CCM00215539]; CMH Consolidating GAAP Balance Sheet as of March 31, 2009 [CERB041100] (showing
    that the balance remaining on the $230 million loan and $46 million interest due to Cerberus is zero).
2264 CMH Loan Repayment Schedule [EXAM00345879].

2265 Draft Cerberus Investment Overview, CMH, dated June 6, 2008, at CERB032935 [CERB032933] (projecting

    an IRR of 25.6% on Cerberus’s investment in CMH).

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     By June 2008, the housing and capital markets were experiencing the impact of the
subprime mortgage crisis, which resulted in a general and prolonged depreciation of home values
across the country. As discussed in further detail below, at the time of this transaction with
Cerberus, RFC had already accrued a $50.9 million valuation reserve associated with the $457.8
million model home net assets (approximately $22 million of which related to the model homes
comprising the $227.8 million basis of Class B Junior Preferred Shares). Although RFC released
the valuation reserve as a result of the transaction, it reflects RFC’s belief that the full $457.8
million was unlikely to be recovered. An internal forecast prepared by RFC as of June 19,
20082266 projected declining home prices through the remainder of 2008 and 2009, with only
modest recovery beginning in 2010,2267 the period over which CMH planned to dispose of the
model home assets. Similarly, a contemporaneous analysis prepared by Cerberus as of June 11,
2008 projected weighted-average annual home declines for the portfolio of model home assets
acquired by CMH of 17.5%, 9.8%, and 3.8% in 2008, 2009, and 2010, respectively.2268

     For demonstrative purposes, assuming RFC’s net carrying value of model home assets less
valuation reserves (i.e., $406.9 million) was a reasonable estimate of the Fair Market Value of
the assets at the closing date, the proceeds to the Class B Junior Preferred Members after a one-
year disposal period would be limited to approximately $130.9 million, as summarized in the
table below.




2266 See E-mail from J. Morris (June 21, 2008) [CERB026886].

2267 See Model Home Portfolio Financial Model, dated May 31, 2008 [CERB026887].

2268 Draft Cerberus Investment Overview, CMH, dated June 6, 2008, at CERB032935 [CERB032933].



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     Over the same period, the Class B Junior Unreturned Preferred Capital account would have
appreciated by 20% from $227.8 million to $273.4 million; however, the proceeds from the asset
disposals would fall short of satisfying this full amount by approximately $142.5 million, as
summarized in the table below.




     Under the above scenario, the Class B Junior Preferred Members would receive proceeds of
$130.9 million, which is nearly $100 million less than the beginning basis in CMH of $227.8
million. This result is attributable in roughly equal parts to the assumed reduction in market
values versus the original transaction value (i.e., $50.9 million) and the 20% preferred return to
Cerberus (i.e., $46 million). This demonstrative analysis is corroborated by the cash flow
forecast prepared by Cerberus as of June 11, 2008, in which Cerberus estimated that nominal
proceeds from the sale of model homes and lot options, net of transaction costs, plus rental
income, would be $436.7 million.2269 After repayment of the $230.0 million loan and $46.0
million preferred return to the Class A Senior Preferred Units, Cerberus estimated residual
proceeds available to the Class B Junior Preferred Units would be $160.7 million (i.e., $436.7
million less $276.0 million total return to Cerberus) before discounting to present value.

     Hindsight further corroborates the above scenario. CMH’s remaining assets as of March 31,
2009, the point by which Cerberus had received its $276 million, totaled $131.3 million,
comprised of $120 million in CMH’s portfolio of model homes and $10.8 million in cash.2270
RFC would receive nearly $100 million less than its beginning basis in CMH assuming a 100%
recovery of these remaining assets, which was unlikely given forecasted market conditions.

     The relevant comparison, however, is the value of the proceeds RFC would have received
had it disposed of the model home assets itself compared to the value of the $230 million cash at
closing and interest in Class B Junior Preferred Shares of CMH. With the assumption that




2269 Id.

2270 CMH Consolidating GAAP Balance Sheet as of March 31, 2009, at CERB041100–104 [CERB041100].



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GMAC MHF and CMH could dispose of the assets equally2271 and that RFC and ResCap did
not need an immediate cash infusion, the primary valuation issue under these disposal
scenarios is the 20% preferred return to Cerberus in exchange for $230 million in cash at
closing. Holding all else equal in the above disposal scenario, had GMAC MHF liquidated the
assets itself, the proceeds to RFC would have been approximately $46 million higher on an
undiscounted basis—or the amount of the preferred return to the Class A Senior Preferred
Members.

      This $46 million difference alone is insufficient in analyzing whether RFC received
REV. An immediate cash need was, in fact, a key driver of this transaction given ResCap’s
liquidity position in mid-2008, as described in Section VI. Inasmuch as this sale was
accounted for by RFC as a financing transaction, rather than a true sale, the primary issue
becomes whether the 20% minimum preferred return to Cerberus was comparable to the cost
of financing ResCap may have otherwise been able to obtain on a $230 million loan as of June
2008.

     The CMH Loans bore interest at 15% per annum compounded quarterly. Holding all else
equal in the above scenario in which all model home assets are sold ratably over one year,
CMH would have repaid the $230 million term loan to CRF in approximately seven months
and paid a total of approximately $11.9 million in interest. However, CMH would still owe
CRAI an additional $34.1 million to satisfy the 20%, or $46 million, minimum preferred
return to the Class A Senior Preferred Members. In other words, CMH’s financing costs
would have been $34.1 million less, and its proceeds from the disposition of model home
assets $34.1 million greater, had CMH only been obligated to pay the 15% interest per the
terms of the $230 million term loan from CRF.

    During the June 1, 2008 ResCap Board meeting, Marano commented that the 20% return
was comparable to DIP financing rates.2272 No basis or analysis was discussed during the
meeting or provided in Marano’s interview, however, to substantiate this position. While a
comparison to DIP financing rates is of questionable relevance, in a presentation to the
Independent Directors dated December 19, 2008 (related to a separate transaction), Goldin
Associates reported that “[DIP] loans originated since June 2008 had mean pricing of LIBOR




2271 One could argue either that Cerberus and its affiliates, as over-secured lenders and underwater common

   equity holders of CMH, could have had the incentive to liquidate these properties quickly at discounted
   prices, or that the additional liquidity provided by the $230 million CMH Loans and the involvement of
   Cerberus as an investor could have allowed a more orderly and thorough marketing process to maximize the
   value of the model home assets. Regardless, no direct evidence of either has been identified in the
   Investigation, and ResCap continued to provide ownership, operation, maintenance and disposition-related
   services. Thus, an assumption that there would have been no difference in disposition results is appropriate.
2272 Minutes of a Meeting of Board of Directors of Residential Capital, LLC, June 1, 2008, at RC40005752

   [RC40005652].

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plus 498 bps and additional fees.”2273 The 22 DIP loans reflected in Goldin Associates’
analysis ranged in amount from $30 million to $1.185 billion (with an average of $260
million), with spreads over LIBOR ranging from 150 bps to 750 bps, and fees ranging from 25
bps to 275 bps. The Examiner’s Financial Advisors’ review of market DIP rates during this
time corroborates Goldin Associates’ analysis.

     During 2008, the 12-month LIBOR ranged from approximately 2.0% to 4.2% with an
average of approximately 3.1%.2274 Utilizing the 2008 average 12-month LIBOR and the
ranges reflected in Goldin Associates’ DIP analysis implies a range of DIP financing rates
(including fees) of 4.85%2275 to 13.35%2276 with an average of 9.58%.2277 By comparison,
ResCap’s short-term and long-term borrowings from AFI for the year ended December 31,
2008 each bore interest at 4.2%.2278

     Assuming, arguendo, that comparison to DIP financing is relevant and that CMH could
have obtained financing at a rate of 10% (comparable to the average DIP rate over the relevant
period), CMH would have repaid the $230 million within approximately seven months and
paid approximately $7.7 million in financing costs, or $38.3 million less than the 20%, or
$46.0 million guaranteed minimum return to Cerberus and its affiliates (assuming a one-year
disposal period and holding all else equal in the above scenario). In other words, had CMH
obtained a DIP financing-based interest rate on the $230 million loan, the undiscounted
consideration CMH received could have been approximately $38.3 million greater.

     Had CMH been able to obtain $230 million in financing at 4.2% (i.e., ResCap’s rate for
AFI borrowings over this period), CMH would have paid only $3.2 million in financing costs
in the above scenario, or $42.8 million less than the $46.0 million.

     Actual subsequent financial results indicate that CMH paid Cerberus and its affiliates
approximately $11.2 million in interest on the $230 million term loan, or $34.8 million less
than it otherwise would have had to pay, but for the $46 million, 20% preferred return
guaranteed to Cerberus.2279 Had CMH even paid 20% interest per annum compounded
quarterly on the $230 million term loan, rather than the 20% minimum preferred return of
$46 million, CMH’s financing costs would have been $30 million less.
2273 Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of

   Residential Capital Regarding Proposed Amendment to the Secured Line of Credit with GMAC, LLC, dated
   Dec. 19, 2008, at 17 [GOLDIN00127127].
2274 US DOLLAR      LIBOR     RATES    2008,   http://www.global-rates.com/interest-rates/libor/american-dollar/
   2008.aspx.
2275 3.1% LIBOR plus 150 bps spread and 25 bps fees.

2276 3.1% LIBOR plus 750 bps spread and 150 bps fees.

2277 3.1% LIBOR plus 498 bps spread and 275 bps fees.

2278 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 154.

2279 CMH Loan Repayment Schedule [EXAM00345879].



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     This transaction was in form a sale and in substance a financing. However, Cerberus
expected to earn not only a financing rate of return but a significant preferred return despite
investing only $10,000 in equity above the $230 million CMH Loans. In an investment
summary prepared as of June 11, 2008, immediately following the closing of the transaction,
Cerberus projected an IRR on its investment in CMH of 25.6%.2280 However, according to
Cerberus’s analysis:

                 Cerberus’[s] expected IRR is greater than 20% due to assumed
                 sales pace in the Cerberus projection, which is much slower than
                 the historical sales pace. Therefore, Cerberus’[s] IRR may
                 actually be much higher if the sales pace exceeds the forecasted
                 sales pace in the Cerberus’[s] analysis.2281

     The September 2008 Model Home Sale process could be considered an indicator of
required returns from investors on model home assets. On July 10, 2008 (approximately one
month after the June 2008 Model Home Sale), Young asked Brian Murray, managing director
at ResCap, for his view of the IRR implied by Cerberus’s bid, to which Murray responded, “I
do not believe we would be able to get bids with an IRR much lower than 20%.”2282 Murray’s
assessment apparently was premised on “two large bids in process in which Lennar will be
buying back their models (in the CMH) at an IRR in 20% range, and Jack Buck . . . looking to
buy us out (ResCap) in the same 20% IRR range.”2283 Young responded, “[t]his would leave
me to believe that their bid is in the fair value range for a bulk sale. Then our decision is do we
take the cash now or run it out over two years, or some combination of both, if possible.”2284
Young forwarded Murray’s analysis to Marano and Weintraub on the same day, commenting:

                 Bottom line, this analysis indicates it would take us around 2
                 years to sell off the model homes at a cash npv of approx. 15%
                 higher than [Cerberus’s] bid. However, the NPV is discounted at
                 10% which is low to me. I’ve asked the team to run at a yield to
                 [Cerberus]—it looks like will be around 20% which doesn’t
                 seem out of line.2285




2280 Draft Cerberus Investment Overview, CMH, dated June 6, 2008, at CERB032941 [CERB032933].

2281 Id. at CERB032936.

2282 E-mail from B. Murray to J. Young (July 10, 2008) [EXAM10399483].

2283 Id.

2284 E-mail from J. Young to B. Murray (July 10, 2008) [EXAM10399483].

2285 E-mail from J. Young to T. Marano and J. Weintraub (July 10, 2008) [EXAM12115217].



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     However, these transactions required potential investors to commit funds to purchasing the
model homes at their Fair Market Value and assume the full risk of subsequent changes in value.
By comparison, Cerberus advanced only 50% of the net book value of the model home assets
(before valuation reserves) in the form of $230 million in secured CMH Loans, on which it was
guaranteed a minimum 20% return. As such, the 20% IRR described in Young’s e-mails is not
consistent with the economics of the transaction structure in the June 2008 Model Home Sale.

     An inquiry into REV should also consider other intangible or nonfinancial consideration
received by the transferor in evaluating the import of any potential deficiency in Fair Market
Value identified. As discussed in Section V.E, RFC’s parent, ResCap, was experiencing reduced
availability in third-party financing at the time of the June 2008 Model Home Sale. Further,
ResCap’s worsening liquidity, as described in Section VI, was a key driver of this transaction.

                 (5) Conclusion Regarding Reasonably Equivalent Value

     With respect to the June 2008 Model Home Sales, the Examiner’s Financial Advisors
conclude that RFC received at least $30.0 million less than Fair Market Value, considering the
differential between the cost of financing CMH may have been able to obtain under different
financing scenarios (i.e., between 4.2% and 20% per annum) and the $46 million return
guaranteed to Cerberus.

     However, based on the above discussion and analysis and the totality of the circumstances,
while a close question, the Examiner concludes it is more likely than not that a court would find
the value received by RFC, constitute reasonably equivalent value. Relevant considerations
include but are not limited to the degree of the deficiency relative to the total transaction value of
$406.9 million (net of valuation reserves), the prevailing market conditions for sales and
financings of assets of this nature, and the intangible benefits derived by RFC and ResCap from
the immediate liquidity infusion as a result of the sale.

             c. Resort Finance Sale By RFC And GMAC Canada To GMAC CF In July 2008

     Pursuant to an Asset Purchase Agreement dated July 2, 20082286 (the “RF Asset Purchase
Agreement”) on July 31, 2008, RFC and GMAC Canada, each an indirect wholly owned
subsidiary of ResCap, sold substantially all of Resort Finance, including the equity of RFC
Resort Funding, LLC, to GMAC CF for cash consideration of $96.1 million plus the assumption
of $1.125 billion of debt. GMAC FS paid RFC a deposit of $250 million on June 3, 2008 before
GMAC CF had entered into any binding obligation to buy the Resort Finance assets2287 RFC
returned $153.9 million of the deposit to GMAC FS upon closing.2288
2286 Asset
         Purchase Agreement between RFC, LLC, GMAC Canada, and GMAC CF, dated July 2, 2008
    [RC00024026].
2287 Letter from R. Hull to T. Marshall (June 3, 2008) [ALLY_0100979].

2288 GMAC Canada’s audited financial statements disclose that GMAC Canada sold construction finance loans in

    the Resort Finance Sale for $24.6 million and recorded no gain or loss on the sale. See GMAC Residential
    Funding of Canada, Limited Non-Consolidated Financial Statements, dated Dec. 31, 2008, at EXAM00233417
    [EXAM00233396]; see also First Amendment to APA [ALLY_0130062].

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      Houlihan Lokey was engaged to value Resort Finance and, on July 24, 2008, submitted its
valuation conclusion of $74.6 million, the mid-point of its concluded range of value between $50.7
million and $98.6 million.2289 The RF Asset Purchase Agreement was amended by the First
Amendment dated as of July 26, 2008 (the “First Amendment”), which set the purchase price at
$96.1 million, near the high end of the Houlihan Lokey range.2290 The First Amendment further
provided that, in the event that Resort Finance was resold within three years of the closing, the sellers
would receive a portion of any profit on the sale.2291 ResCap unsuccessfully marketed Resort Finance
to potential buyers during the fourth quarter of 2007 and the first two quarters of 2008. Immediately
following the Resort Finance Sale, GMAC CF continued the effort to market and sell Resort Finance
to a third party,2292 which it was finally able to do during the third quarter of 2010, albeit at a loss.2293

     As set forth in the discussion and analysis below and based on the totality of the
circumstances, the Examiner concludes that the evidence supports the proposition that RFC
and GMAC Canada received reasonably equivalent value in the Resort Finance Sale. The
Resort Finance Sale purchase price was later increased by $15 million from $96.1 million to
$111.1 million, according to ResCap’s Form 10-K for 2008.

                  (1) Overview Of Resort Finance

     Resort Finance was one of five business units consolidated within RFC’s BCG division and
provided real estate finance solutions to middle-market resort developers to, inter alia, finance
acquisitions, develop timeshare properties, and meet working capital needs to grow their business. “The
company’s capital solutions ranged from acquisition, development, and construction loans (‘AD&C
Loans’) to working capital lines of credit secured by timeshare receivables (‘Receivables Loans’).”2294




2289 See Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at 3

    [ALLY_0102229].
2290 See id.

2291 First Amendment to APA [ALLY_0130062].

2292 See, e.g., E-mail from B. Hall to S. Ramsey (June 24, 2008) [ALLY_0113803]; E-mail from D. Baker

    (July 20, 2008) [ALLY_0114077]; E-mail from L. Voss to B. Hall (June 6, 2008) [ALLY_0112625]; Int. of
    L. Voss, Dec. 13, 2012, at 76:7–20.
2293 Int. of L. Voss, Dec. 13, 2012 at 77:5–78:17.

2294 Houlihan
           Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at 8
    [ALLY_0102229].


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     Appendix V.F.4.c(1) provides Resort Finance’s historical financial statements. Resort
Finance experienced strong organic growth in commitments and loans outstanding since its
inception in 2002, as summarized in the following table.2295




     Resort Finance grew its pre-tax income from $0.3 million to $36.6 million, and its pre-tax
return on average earning assets grew from 0.2% to 3.9%, from 2003 (its first full year of
operations) through September 2007.

                 (2) Summary Of Transaction And Process

      ResCap began marketing Resort Finance to potential third-party buyers beginning in the
fourth quarter of 2007 and engaged Bear Stearns to handle the process.2296 Bear Stearns reported
to ResCap in a January 13, 2008 presentation that marketing efforts began in mid-November
2007, forty-four teaser letters were sent out, eleven confidentiality agreements were executed
and confidential information memoranda disseminated, and six initial proposal letters were
received, all from strategic buyers.2297 The initial proposals ranged from 87.00% to 99.75% of
the outstanding unpaid balance (“UPB”) of Resort Finance’s portfolio of loans.2298 On
February 21, 2008, RFC entered into the $750 million Resort Finance Facility with AFI to obtain
bridge financing while ResCap searched for a third party to purchase Resort Finance, as
discussed in Section V.E.1. ResCap Board minutes from early 2008 indicate that ResCap was
still expecting to close a sale in the second quarter of 2008,2299 although no agreement with any
third party was ever reached.

     Thereafter, the concept of selling Resort Finance to an affiliate seemed to move quickly.
Young noted in an e-mail to Marano and Jones on May 23, 2008 that, “with the fading asset
sales and other situations” there is a need for ResCap to raise $650 million to $1 billion in short



2295 Id. at HL2937. Memorandum, GMAC Resort Finance, prepared by Bear Stearns, dated Dec. 2007, at HL2935

    [HL2929].
2296 Engagement Letter from Bear Stearns to ResCap (Jan. 22, 2008) [ALLY_0113551].

2297 Bear Stearns Presentation Regarding Project Time Off Preliminary Indications of Interest, dated Jan. 13, 2008,

    at 1 [ALLY_0030327].
2298 Id. at 2.

2299 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Mar. 17, 2008, at

    RC40005667 [RC40005652].

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term cash to be comfortable with its cash situation and have the option to hold certain assets to
increase value realization over time.2300 Young noted that ResCap and AFI needed to decide
quickly on actions.2301 One of the items proposed was to sell Resort Finance to a related party
for $250 million before a “haircut.”2302

     GMAC FS paid RFC a deposit of $250 million on June 3, 2008, before GMAC CF had
entered any binding obligation to purchase Resort Finance.2303 The RF Asset Purchase
Agreement established that the purchase price was to be based on the Fair Market Value of the
assets as of June 30, 2008, as determined by an independent valuation.2304

      The ResCap Board approved, on June 1, 2008, the company or its subsidiaries entering
into a sale transaction with affiliates, subject to subsequent executive committee approval or
ratification.2305 The executive committee approved and ratified, on June 2, 2008, the
resolutions adopted by the ResCap Board on June 1.2306 The Board of Directors of RFC, one
of the sellers,2307 authorized the transaction, along with other affiliate transactions, in a general
resolution on June 3, 2008.2308

     Pursuant to the 2006 Amended Operating Agreement, ResCap was required to have at
least two Independent Directors at all times and AFI was obligated to fill any vacancy as
promptly as practical.2309 At the time that ResCap approved the transaction there was only one




2300 E-mail from J. Young (May 23, 2008) [EXAM10175040].

2301 Id.

2302 Id.

2303 Letter from R. Hull to T. Marshall (June 3, 2008) [ALLY_0100979].

2304 See Asset Purchase Agreement between RFC, GMAC Canada, and GMAC CF, dated July 2, 2008, §
    2.6(b)(i) [RC00024026].
2305 Minutes of a Meeting of Board of Directors of Residential Capital, LLC, June 1, 2008, at RC40005755

    [RC40005652].
2306 Unanimous Written Consent of the Executive Committee of the Board of Directors of Residential Capital,

    LLC, dated June 2, 2008, at RC40006443–87 [RC40006437]. The Examiner’s Counsel notes that the version
    of this written consent review was signed by two of the three members of the executive committee, however,
    under the ResCap LLC Agreement in effect at the time, written consents of the ResCap Board were not
    required to be signed by all directors.
2307 Minutes, if they exist, approving the execution of the agreement by GMAC Canada, one of the two sellers,

    have not been produced for review.
2308 Action by Written Consent of the Board of Directors of Residential Funding Company, LLC, dated June 3,

    2008, at ALLY_01187968–34 [ALLY_0118759].
2309 See 2006 Amended Operating Agreement, § 2(f).



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Independent Director on the ResCap Board.2310 Independent Director approval of a transaction
like this sale was not required under the 2006 Amended Operating Agreement. However,
under the 2006 Amended Operating Agreement, any material affiliate transaction was required
to be “on terms and conditions that are consistent with those that parties at arm’s-length would
agree to and for fair value,”2311 absent a waiver by the Independent Directors.2312 Based on a
review of the RF Asset Purchase Agreement and the negotiations that took place, the terms
generally appear to be at arm’s-length; value is discussed below.

      The transaction was approved prior to the execution of the Junior Secured Notes
Indenture and the Senior Secured Notes Indenture, but the agreement was signed after
execution of those indentures. Thus, the affiliate transactions covenant in the June 2008
Indentures (section 4.11 thereof) was applicable to the sale. However, because the final
purchase price was under $500 million, no fairness opinion was required to be delivered to the
trustee for these indentures and, because the final purchase price was under $250 million, no
certification from an officer of ResCap was required to be delivered to the trustee pursuant to
this covenant. However, because the consideration was in excess of $10 million, the
transaction was still required to be on terms not materially less favorable than those that could
reasonably be obtained in a comparable arm’s-length transaction with an unaffiliated party.2313
The Morgan Stanley fairness opinion permitted a copy of the fairness opinion to be delivered
to the trustee under these Indentures.2314 The Quarterly Report on Form 10-Q for the quarterly
period ended June 30, 2008 filed by ResCap, noted “[t]he Resort Finance assets were not part
of the primary collateral securing the senior secured credit facility or the notes issued in the
Company’s private exchange offers.”2315

       The June 2, 2008 Current Report on Form 8-K filed by ResCap noted:

                 ResCap believes that each of the transactions described above
                 complies with the proposed indentures governing the new notes
                 being offered in ResCap’s private exchange offers as if such
                 indentures were in effect and governing such transactions. The
                 consummation of each of the transactions described above is



2310 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 13, 2008, at

    RC40005781–86 [RC40005652]. The only Independent Director at the time of approval was Edward Smith
    who had been appointed earlier in May. Karin Hirtler-Garvey was added as an additional Independent
    Director on June 13, 2008. See Section IV.A.
2311 2006 Amended Operating Agreement, § 2(b).

2312 Id. § 8.

2313 June 2008 Indentures, §4.11 [GOLDIN00000019; ALLY_0122066].

2314 Opinion Letter from Morgan Stanley to the Board of Directors of ResCap (July 30, 2008), at RC00028117

    [RC00028114].
2315 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2008), at 39.



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                  subject to a number of conditions; accordingly, there is no
                  assurance that all of the transactions will be consummated or
                  that they will be consummated within the timeframes described
                  above.2316

     The Board of Directors of GMAC CF, subsequently approved the transaction on June 23,
2008.2317 The GMAC CF board minutes refer to a May 31, 2008 meeting of the AFI Board,
and recite that “[AFI] has decided that [Resort Finance] should be acquired by [GMAC CF]
and has directed [GMAC CF] to enter into an asset purchase agreement with RFC for the
purchase of the Business.”2318

     The parties executed the RF Asset Purchase Agreement on July 2, 2008 and closed the
sale on July 31, 2008.2319

      The transaction appears to have been negotiated by both sides.2320 There were multiple
drafts of the RF Asset Purchase Agreement exchanged between counsel. The first draft
distributed by AFI did not contain a downward adjustment of the deposit, which would have
been consistent with the structure of the Health Capital Sale between the same parties
executed in August 2007.2321 The two-way adjustment was added later. Skadden, acting for the
sellers, tried to eliminate the downward adjustment on the deposit and to obtain better terms
for RFC on the post-closing indemnities.2322

    In response to a series of e-mails on the status of negotiations,2323 Richard Kent, in-house
counsel at AFI, wrote to persons at AFI, GMAC CF, and Mayer Brown (purchaser’s counsel):

                  I apologize if I seem to be picking on [Voss]. I’m not picking on
                  [Voss], she is only doing her job. Likewise the [sic] ResCap and


2316 Residential Capital, LLC, Current Report (Form 8-K) (June 3, 2008), at 5 (referencing the Resort Finance

    Sale).
2317 Minutes of a Special Meeting of Board of Directors of GMAC Commercial Finance LLC, June 23, 2008, at

    ALLY_PEO_0001822 [ALLY_PEO_0001813].
2318 The minutes for this meeting, if it did take place, have not been produced for review.

2319 AssetPurchase Agreement between RFC, GMAC Canada, and GMAC CF, dated July 2, 2008
    [RC00024026]; see also Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 90.
2320 See, e.g., E-mail from E. Raymond (June 1, 2008) [ALLY_0111575]; E-mail from L. Voss (June 16, 2008)

    [ALLY_0113450]; E-mail from R. Kent (June 16, 2008) [ALLY_0113453]; E-mail from A. Land (July 30,
    2008) [ALLY_0114354].
2321 See Draft Asset Purchase Agreement between RFC, GMAC Canada, and GMAC CF, dated June 9, 2008, at

    ALLY_0108962 [ALLY_0108960].
2322 See Draft Asset Purchase Agreement between RFC, GMAC Canada, and GMAC CF, dated June 9, 2008

    [ALLY_0108960].
2323 E-mail from R. Kent (June 16, 2008) [ALLY_0113453].



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                   their lawyers are only doing their jobs. Maybe my e-mail should
                   have been addressed to Melissa. I suggested that a list be
                   developed and Melissa and I would arbitrate. In any event [AFI]
                   needs to address these business issues. What I’m disappointed with
                   is ResCap renegotiating [sic] issues they have agreed too [sic] and
                   wasting money on lawyers negotiating a deal that was suppose
                   [sic] to be market driven. My response was to say that their
                   demands are not market. I instructed Mayer Brown to draft a
                   middle of the road agreement. We have already done this once
                   with Health Capital. It was done in record time with not all of this
                   difficulty. Sorry for the frustration.”

    In response to Kent’s e-mail, Robert Hull, the CFO of AFI noted “[t]he ResCap group is not
making this easy.”2324

     Even before the RF Asset Purchase Agreement was signed, GMAC CF was preparing to
resell the Resort Finance as soon as possible2325 and was evaluating financial advisors to assist in
the process.2326 In an e-mail dated June 6, 2008, Voss expressed the desire to retain Bear Stearns
(then under JP Morgan ownership) to continue marketing Resort Finance to third parties on
AFI’s behalf. She further commented that, “[a]t this point, the sale of [Resort Finance] will
continue to be pursued, but [AFI] doesn’t think it is likely that this will occur in the next 6 to 12
months.”2327 ResCap’s STM noted, “[a]s of the date of the transaction, the ultimate intention at
the corporate level is to sell the Resort Finance to a third party and, essentially, monetize the
business as quickly as possible. This directive was made at the AFI corporate level.”2328 Voss
confirmed in her interview that the intent of GMAC CF upon acquiring Resort Finance was
immediately to begin the process of selling it to a third party.2329 She explained that the only
reason GMAC CF purchased Resort Finance to immediately turn it around, rather than let
ResCap market and sell the business, was because ResCap needed cash.2330 Voss stated that
Resort Finance was completely different from GMAC CF’s business and that GMAC CF did
even less due diligence on Resort Finance than it did on Health Capital.2331




2324 E-mail from R. Hull (July 17, 2008) [ALLY_0113453].

2325 E-mail from B. Hall to S. Ramsey (June 24, 2008) [ALLY_0113803].

2326 E-mail from D. Baker (July 20, 2008) [ALLY_0114077].

2327 E-mail from L. Voss to B. Hall (June 6, 2008) [ALLY_0112625].

2328 ResCap STM, Resort Finance Sale to GMAC CF, at EXAM00220238 [EXAM00220235].

2329 Int. of L. Voss, Dec.13, 2012, at 76:7–20.

2330 Id. at 76:21–77:4.

2331 Id. at 60:8–19.



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     As noted above the RF Asset Purchase Agreement established the purchase price was to
be based on the Fair Market Value of the assets as of June 30, 2008 as determined by an
independent valuation.2332 The parties agreed to engage Houlihan Lokey as the valuation
expert on July 2, 2008.2333 On July 24, 2008, Houlihan Lokey submitted its valuation
conclusion of $74.6 million, the mid-point of its concluded range of value between $50.7
million, and $98.6 million.2334 However, rather than base the purchase price on Houlihan
Lokey’s conclusion, the parties executed the First Amendment, which set the purchase price at
$96.1 million, near the high end of the Houlihan Lokey range.2335 The First Amendment
further provided that in the event that Resort Finance was resold within three years of the
closing, the sellers would receive a portion of any profit on the sale.2336 This upside sharing
arrangement appears to have arisen as a compromise, with the parties agreeing not to use the
Houlihan Lokey valuation directly to establish the price and instead agreeing to a purchase
price of $96.1 million and the sharing arrangement.2337

      Hall stated in his interview that he was asked to support taking the higher end of the
range of the Houlihan Lokey valuation, which he did agree to do in the spirit of GMAC CF
trying to “do the right thing as much as we could for our sister company.”2338 Hall also noted
that they included the upside sharing arrangement but that they “laughed about it, because we
knew there wasn’t any chance of that manifesting itself.”2339

     Voss, CFO and COO of GMAC CF, stated in her interview that “[w]e spent several days
negotiating that [profit-sharing clause] into our agreement because the [ResCap] folks felt that
it was worth more than what it sold for.”2340 Voss continued:

                   And we’re—we said fine, “If you think it’s worth more, we’re
                   happy to put this in the agreement.” You know, I wasn’t real
                   thrilled spending the days negotiating that profit-sharing



2332 See Asset Purchase Agreement between RFC, GMAC Canada, and GMAC CF, dated July 2, 2008, §
    2.6(b)(i) [RC00024026].
2333 See Agreement with respect to Valuation Expert, dated July 2, 2008 [ALLY_0113933].

2334 See Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at 3

    [ALLY_0102229].
2335 See id.

2336 First Amendment to APA [ALLY_0130062].

2337 See E-mail from L. Voss (July 25, 2008) [ALLY_0114323] (discussing ResCap having objections to the

    valuation and then discussing the terms of the upside sharing arrangement, which terms were reflected in the
    terms of the First Amendment).
2338 Int. of B. Hall, Dec. 13, 2012, at 89:4–8.

2339 Id. at 89:15–17.

2340 Int. of L. Voss, Dec.13, 2012, at 77:15–18.



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